`Case '8-19-7‘2292-reg DOC 1 ;Filed 03/28/19 - Entered 03/28/19 17:38:44

Fiil in this information to identify the case:

 

United States Bankruptcy Court for the'. §

Eastern District Of New York
{Slale}

Case number (rrknown}: ' Chapler Z l § Check if this is an

l - amended filing

 

Oilicial Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy aims

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non~lndr'viduals, is available.

 

1- Debwf’$ name Petlanct Discounts, lnc.

 

 

 

2. All other names debtor used A" Pet Distrib“tors
in the last .B years

 

 

include any assumed names,
trade narneS, and doing business
as names

 

 

3. Debtor’s federal Emp|oyer _
identification Nurnber (ElN) "1_ “J““ l 4 ll "1" "4“ il

4. Debtor’S address Principaf place of business llliailing address, if different from principal place
of business

§§5 Crocked HHl Road

 

 

 

 

 

Number Street Number Slreet
P.O_ Bo><
Blentwood NY 11717
Cilv Sfafe ZlP Code ' city slate zlP code

Location of principal assets, if different from
principal place of business

 

 

 

SUFFOLK

Coumy See schedule attached mm
Number Street
City Slale Z|P Code

 

5' Debt°r’$ Website (URL) Det[anddiscnunls mm ailpet com
Corporation (including l_imitecl liability Company (i_l_C) and L_irnited l_iability Pa-rtnership (LLF'})
l:l Pa:'tnershi;) (excluding LE_P)
n Other. Specify:

s. Type of debtor

 

Olficia| Form 201 Volunlary Petiti<:)n for Non-|ndividua|s Fi|ing for Bankruptcy page t

 

Case 8-19-72292-reg 'Doc 1'l Filed 03/28/19 Entered`03/28/19 17`:38:44'

Debior Pe'f[al"l£f DiSCOLin'LS, il'lC. Case number rfrknowm

Name

 

A. Check one.'
7. Describe debtor’s business

i;l Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
a Sing|e Asset Ftea| Estate (as defined in 11 U.S.C. § 101(515))
i;l Ftaiiroad (as defined in 11 U.S.C. § 101(44))

El Stockbroker (as defined in 11 o.s.c_ § 101(53/>1})

m Commodity Broker (as defined in 11 U.S.C. § 101(6))

n Ciearing Bani< (as defined in 11 U.S.C. § 781 (3))

None of the above

 

B. Check ali that appiy:

§ Tax-exempt entity (as described in 26 U.S.C. § 501}

El investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ aoa~a)

i:l investment advisor (as defined in 15 U,S.C. § BOb-E(a)(11))

 

C. NA]CS (North Amencan industry Ctassltscatlon System) 4-dlg:t code that best describes debtor. See
http://\Anvw.usoourts.oov/foor~didit-nationaE-association-naics-codes .

A__5__3__9_

 

a. Under which chapter of the Che€k On€.'
Bankruptcy Code is the
debtor firing? Chap*er 7

l:.] Chapter 9

C] chapter 1 1. check air that appiyl

[;] Debtor's aggregate nonconfingent iiquidated debts (exciuding debts owed to
insiders or affiliates) are less than $2,566,050 (arnount subject to adjustment on
4/01/19 and every 3 years after that}.

i:l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a smaii business debtor, attach the most recent balance sheet, statement
of operations, cash-flow Staternent. and federal income tax return or if ali of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(13)_

ij A plan is being fiied Witn this petition.

El Acceptances of the plan Were solicited prepetition from one or more classes of
creditorsl in accordance With ii U.S.C. § 1126(b).

n The debtor is required to file periodic reports (for examp|e, iOK and iGQ} With the
Securities and Excnange Comrnission according to § 13 or 15(d) ot the Securities
Exchange Act of 1934. Fiie the /ittachment to i/oiuntary Petition for Non~indr'vr'duais Fiiing
for Bankruptcy under Chapter 1 1 {Officiai Form 201 A) with this iorrn.

n 'i'he debtor is a sheii company as defined in the Seoorities Exchange Act of 1934 Fiuie
12b-2.

El Chapter 12

9. Were prior bankruptcy cases iii NO
filed by or against the debtor ,
Within the last 8 years'_) n YeS. Districi m___m_________ When Case number
MM/ DorYYYY

if more than 2 cases, attach a 4 4
Sepat‘afe |iSt. Di$mci ________ Wheti _W Case number _

|\'iivi/ DD f YYY¥

10. Are any bankruptcy cases w NO

 

 

 

pending or being filed by a

business partner or an 0 Y€S- D€bfor Fleiaiionship

affiliate of the debtor? Dismct When

List ali cases. if more than 1, MM /' DD /\'YYY
attach a separate iist. Case number, il known

 

 

Officia| Form 201 Voiuntary Petition for Non-individua|s Fiiing for Bankruptcy page 2

Case 8-19-72292-reg " Doc 1` Filed 03/28/19 'Entered 03/28/19 17:38:44

l“-’etiand D'lsooiints. |nc.

Namc

Debtor

Case number tillmon

 

11. Why is the case filed in this
district?

 

12. Does the debtor own or have
possession of any real
property or personai property
that needs immediate
attention?

Cneck all that appiy;

M Debtor has had its domici|e, principal place ot business or principal assets in this district for 180 days
immediately preceding the date of this petition ortor a longer part of such 180 days than in any other
district

El A bankruptcy case concerning debtor`s affiliate general partner, or partnership is pending in this district

 

l:.lNo

Yes. Answer below foir each property that needs immediate attention Aitacn additional sheets if needed.
Why does the property need immediate attention? (Gheol< all that apply.)

l;l lt poses or is alleged to pose a threat of imminent and identifiable hazard to public heaith or safety.
What is the hazard?

 

l:l it needs to be physically secured or protected from the Weather.
it includes perishable goods or assets that could quickly deteriorate or lose value without

attention (for exampie, iivestoci<, seasonal goods, meat, dain/, produce, or securities-related
assets or other options).

m Other

 

Where is the property?355 Crool<ecf l-ll|i Road

 

 

 

Number Street
Brentwood NY 11717
City State ZiP Code
is the property insured?
m No
Yes. insurance agency QOQK lVlBl’ai'i
Conlacl name _\lemon_EaiKenhan

 

Phone ‘l

 

- Statistical and administrative information

13, Debtor’s estimation of
available funds

creditors

Check one:

5'5` Funds will be available for distribution to unsecured creditors
El After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

_ Ei 1-49 El 1,000-5,000
14. Est:mated number of m 50_99 § 5 001_16 000
Ci 100-199 i._.l 10,001-25,000
200-999
Ei $0-$50,000 3 si,ooo,ooi~$io million

15. Estimated assets

Official Form 201

|;l sso,ooi-$loo,ooo
i;l sioo,ooi-ssoo,ooo
Cl ssoo,ooi-si million

|Zl sio,ooc,ooi ssc million
ill $50,000,001-$100 million
ill $100,000,001-25500 million

Vo|untary Petition tor Non-individoais Fiian for Bant<ruptcy

 

|Il 25,001-50,000
i;i 50,001-100.000
l;i iviore man 100,000

 

|Zl ssoo,ooo,ooi~$i billion

El s1 ,000,000.001-$10 billion
ft sio,oco,ooo,ooi-sso billion
Ei iviore than ssc billion

page 3

 

Case 8-19-7229'2-reg" DOC l Filed 03/28/19 ” Entered 03/28/19 1'7:38:44

Petland Dismlints inc

N ama

Debtor

Case number iiilmownl

 

 

|Zl so-sso,ooo

El $50,001-$100,000
El $100,001-$500,000
i;l ssoo,ooi-$i miilion

16. Estimated iiabiiities

$1,000,00?-$10 milton
|Zt sic,oco,ooi-$so milton
El sso,oco,ooi-$ioo million
L:i $100,000,001-$500 million

L._.l $500,000,001-$1 billion

lIl s1 ,000,000,001-$10 billion
El $10,000,000,001-$50 billion
i;i Nlore than $50 billion

 

- Request for Retie‘f, Dec§aration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Deciaration and signature of
authorized representative of
debtor

s The debtor requests retief in accordance with the chapter of title 11, United States Code, specified in this
petition.

s l have been authorized to file this petition on behalf of the debtor_

n | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

E declare under penalty of perjury that the foregoing is true and correct

Executed on
Nll\.'i ."DD ."YYYY

 

 

 

 

xs£liosellonsiglio_;mm__ Bose_ansiglio
Signature of authorized representative ot debtor F'rinted name
Tit|e Executice \Ace Presi_dent
18. Si nature of attorne
g y x stBoi;leit_t§Qtodnev Daio gaig§{zgj 9
Signature of attorney for debtor MM .'DD iYY\/‘i’
NY
Robert Kolodnev

 

Prinled name

Kane Kessler. P.C.

 

 

 

Firm name

666 Third Avenue

Number Street

New York NY 10017-4041
City Stale ZlP Code

i212i 541-6222

Contact phone

1337500

Bar number

rkolodney@kanekess|er.com
Emai| address

NY
state

 

Officia| Form 201

Votuntary Petition for Non-|ndividua|s Fiiing for Bankruptcy

page 4

 

CaSe 8-19-72292-reg DOC"J_ Filed 013/28/1_97 Enter`ed 03/28/19'-17238'.44

Official Form 201 - #4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STORE STREET ADDRESS TOWN STATE ZIP TELEPHONE
355 CROOKED HiL.i.. ROAD BRENTWOOD NY 11717 631 -273-6363
1 GL_EN OAKS 259-15 UNiON TURNP|KE GLEN OAKS NY 11004 718-343~6755
2 FORDHA|VE 150 EAST 188TH STREET BRONX NY 10468 718-364-1948
3 SUNSET PARK 5015 5TH AVENUE BROOKLYN NY 11220 718-871-7699
4' S'TE'ENWA'Y ' 30-28 STE{NWAY STREET ` ASTOREA NY 11103 718-278-6921
5 ELEZ_'ABETH 27 BROAD STREET EL[ZABETH NJ 07201 908-351»0"808
6 AUSTEN STREET 70-44 AUST|N STREET FOREST HILLS NY 11375 718-268¥1864
7 PATERSON 128 MA|N STREET PATERSON NJ 07505 973-279-1803
8 HYLAN 2712 HYLAN BLVD STATEN iSE_AND NY 10306 718-351»7811
12 R|DG'EWOOD 55-52 MYRTLE AVE ' R|DG EWOOD NY 11385 718~381-2556
15 NEW ROCHELLE 216 NORTH AVENUE NE\N ROCHELLE NY 10801 914-633-9514
18 HEWLETT 1340 PEN|NSUL.A BLVD HEWLET|` N\’ 11557 516~821~3194
20 F|RST AVENUE 332 FlRST AVENUE NEW YORK ' NY 10009 212~228-1363
22 BAYR|DGE 84-03 5Ti'i AVENUE BROOKLYN NY 1 1209 718-745-7673
23 PARK SLOPE » 510 5TH A\/ENUE BROOKE_YN NY 1 1215 718-369-1786
24 BROADWAY 2708 BROADWAY NEVV YORK NY 10025 212-222-8851
26 R|CHIVEOND 2795 RiCH|ViOND AVE STATEN ISLAND NY 10314 718~983-1917
27 KN|CKERBOCKER 365 KNiCKERBOCKER AVENUE BROOKLYN NY 11237 718~443-4785
28 SPRiNGFEELD GDNS 134~40A SPRENGFlELD BLVD SPR|NGFiEL.D GDNS NY 11413 718-525-1818
29 ASTOREA 21 ~11 BROADWAY ASTOR|A NY 1 1 106 347-472-5462
30 GRAHAN| AVE - 92 GRAHA|V| AVE ' `BROOKLYN NY- 11206 718~486-6570
33 BAY PARKVVAY 2205 86TH STREET BROOKL.YN NY 11214 718-837-77-80 -
34 OZONE PARK 91 -08 ATLANT|C AVE OZONE PARK ' NY 11416 718-843~3112
35 WEST NEW YORK 5812 BERGENLiNE AVE WEST NEW YORK N..i 07093 201-868-1985
36 E 98`E'H STREET 144 EAST 98TH STREET BROOKLYN N\’ 11212 718~363-0141
37 |V|EDFORD 2799 ROUTE 112 MEDFORD NY 11763 631-654-0599
43 SUTF’HIN BLVD 147-17 JANi/-\|CA AVE JAMA|CA NY 11435 718-262-8556
44 E. 170’£h STREET 62 EAST 170'th STR-EET BRONX NY 10452 718-293~3007
45 PELHAIV| 2175 WH|TE PLA¥NS RD BRONX NY 10462 718-792-9408
47 ORANGE 322 MA|N STREET ORANGE N..| 07050 973-266-7871
48 |V|iDDi..E VEL.LAGE 66-26 METROPOL|TAN AVE lV|EDDLE ViLLAC-`:E NY 11379 718-381-8021
52 LIBERTY AVENUE 119-08 LIBERTY AVE RiCHi\/JOND HlLi_ NY 11419 718-845-5933
53 BAY PLAZA 340 BAYCHESTER AVE, SUITE D BRONX NY 10475___£18»379-8385
55 D|TMARS 43-10 D|TMARS BLVD E_ONG iSt_AND CiTY N'Y' 11105" n '7'1'8162'6;3475
60 FLATBUSH 968 FLATBUSH AVENUE BROOKLYN NY 11226 718~284-8806
62 TH!RD AVENUE 2960 TH|RD AVENUE BRONX NY 10455 718-215-1942
65 PITK|N 1689 PiTK|N AVE BROOKLYN NY 1 1212 718-342~3507
69 JACKSON HEiGHTS 37~55 82ND STREET JACKSON HE|GHTS NY 11372 718-565-7171
71 JAi\/EAECA 171 -33 Hi LLS|DE AVENUE JAMA!CA NY 11432 718-657~7182
75 lRViNGTON 1054 SPR¥NGF]ELD AVE ERViNGTON NJ 07111 973-372-4'811
77 OCEANS{DE ' 3547 LONG BEACH ROAD OCEANS|DE NY 11572 516-678~0161
79 GLEN COVE 214-|\/1 GLEN COVE AVENUE GLEN COVE NY 11542 516-676-8518
81 PORT WASH|NGTON 55 OLD SHORE ROAD PORT WASHiNGTOl\ N¥ 11050 516~767-1306
82 WEST 72ND STREET 137 WEST 72ND STREET NEW YORK NY 10023 212-875-9785
85 E TREIVEONT 961 EAST 174 STREET BRONX NY 10460 718~991-1863
86 KESSEN'A BLVD 71-08 K|SSENA BLVD FLUSH|NG NY 11367 718-969-0588
87 KEVV GARDENS 85~17 126TH STREET KEW GARDENS NY n 11415 718-850-6569
88 PARKCH ESTER 1949 WESTCHESTER AVE BRONX NY 10457 718-792-2892
89 FLUSHING 37~20 MA|N STREET FLUSH|NG NY 11354 718-886-6061
92 FULTON STREET 1216 FULTON STREET BROOKLYN NY 11216 718-783-3700
93 GREENPOINT 846 MANHATTAN AVE GREENPO[NT NY 11222 ' 718-349-8370
95 REGO PARK 94-18 63RD DRlVE REGO PARK NY 11374 718-830-0957 - '
97 GREENVV|CH VELL. 389 AVE OF THE AMER|CA NEW YORK NY 10014 212-741-1913
98 NINTH AVENUE 734 N|NTH AVENUE NE\N YORK NY 10019 212-459-9562
99 EAST HARLEi\/| 1954 THIRD AVE NEW YORK NY 1002-9 212-987-6714
100 NEVVARK 778 BROAD STREET NEWARK NJ 07102 973-877-2014
101 RIVERDALE 5540 BROADWAY BRONX NY 10463 718-543-5932
103 ELMONT 1397-1415 HEIV|PSTEAD TPKE ELMONT NY 11003 516-326-4396

 

 

 

 

 

 

 

 

 

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Otficiai Form 201 - #4

 

 

 

 

 

 

 

 

 

 

 

STORE- STREET ADD_RESS TOWN STATE ZlP TELEPHONE
106 SOUTHBURY 775 MA|N STREET SOUTH SOUTHBURY C'i` ' 064'88- 203-267-7333
108 UNfON 'CETY 3133 KENNEDY BLVD NORTH BERGEN NJ 07047 201-866~8200
111 CONCOURSE PLAZA 220 EAST 161 ST STREET BRONX NY 10451 718-410-8888
1 12 117TH STREET 56 WEST 1 17TH STREET NEW VORK NY 10026 212-427-2700
113 CITYL|NE ' ' 1127 LiBERTY AVE - BROOKE_YN NY 11208 718»235-081`4 '
114 W|LLiAMSBRiDGE ' 3967 WH|TE PLAiNS ROAD BRONX NY 10466 718-944-7281
1 15 12'5"|`1'1 STREET 167 EAST 125TH STREET NEW YORK NY 10035 212-426~7193
1 16 SHEEPSHEAD BAY 3815 NOSTRAND AVE BROOKL.YN NY 11235 718~769~9582
117 DERBY 49 PERSH¥NG DR|VE DERBY ' CT 06418 203-732-4753

 

 

 

 

 

 

 

 

 

l'C<';tSe 8-19-72292-reg DOC 1 Filed 03/28/19 Entered 03/28/19 17238:44

Fii| in this information to identify the case:

Dehtor name Petland DiSCOuntS, lnc.

 

United Slates Bankrupicy Court for the:EaSte|'n District of NeW york

Case number (if known): .~ n ChBCi< 11 this 15 &i'i
amended thing

 

 

oiiioiol Form 206/vs
Schedule AIB: Assets _ Real and Personal Proper't:y ions

Disclose atl property, reai and persona|, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. include
ali property in which the debtor holds rights and powers exercisable for the debtor‘s own henetit. Also include assets and properties which-have
no book vaiue, such as fully depreciated assets or assets that were not capitalized in Schedu|e A!B, list any executory contracts or unexpired
leases. Aiso list them on Schedule G: Executory Contracts and Unexpired Leases (Otficial Form 206¢3).

Be as complete and accurate as possibie. lt more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number {if known). Also identify the form and fine number to which the additional information applies. lf an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

 

m Cash and am ocpzivoients

 

t

1'. Does the debtor have any cash or cash equivalents?

m No. Go to Pari2.
m Yes. Flil in the information below.

     

2. cash on hand $16,464.00

§ 3. Checking, savings, money market, or financial brokerage accounts (lderitify all')

 

z Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
5 3_1_ Bank of America See Attachrnerlt 1 1 l l L $285,34-4.00
§ 3_2 Bank ofAmerica See Attachment2 g 4 L 1 $0_00

 

- See Attachment 3: Additional Checking, Savings, Money Market, or Financia| Brokerage Accounts
§ 4. Other cash equivaierits (identr'iy aii)

 

 

 

 

4.1. $_
4.2. $

5. Toiai 07 Pat‘f 1 _ $3]233’75748
Add lines 2 through 4 (inciudirig amounts on any additional sheets). Copy the totai to line 80.

 

 

m Deposits and prepayments

 

6. Does the debtor have any deposits or prepayments?

m No. Go to Part 3.
121 Yes. Fi§l in the information below.
constr vaqu or
debtor’s interest
n 7. Deposits, including security deposits and utility deposits
7 Description, inciuding name of holder ot deposit
§ 7_1_ Lease Security Deposit----Park Tysen 7 $:|_4;3~50_00
7_2_i_ease Security Deposit---Gotham Capital Rea|ty $3,000_00

Official Form 206A/B Schedule Ale Assets -- Fteal and Personai Property page 1

 

1`Case 8-19-72292‘-reg D'oc 1 Filed 03/28/19 En`tered 03/28/19 17:‘38:44 "

senior Pgtiand Discounts, lnc.

Name

. Case number urlmowm

§ B. Prepayrnents, including prepayments on executory contracts, leases, insurance, taxes, and rent
i
Description, including name of holder of prepayment

3_1_Real Estate Taxes---DCM Realty_

$26. 344.46

 

3.2.Real Estate ?axes---Cenler Continental Properties

9_ Tota| of pan 2_ See Attachn'lent 5: Additlonat Prepayments

Add lines 7 through 8. Copy the total to line 81.

Accounts receivable

$16,501.92

 

 

$400 , 390.62 ___

 

 

 

10. Does the debtor have any accounts receivable?
Cl No. Go to Parl 4_

w Yes. Fit| in the information below.

11. Accounts receivable

 

 

_Curr`ent uatue of debtor’_s
interest ' . '1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11a. 90 days old or iess: $6,145-25 - $0-90 = ........ 9 $5;145-25

face amount doubtful or uncollectible accounts

§ 11b. Over 90 days o|d: $336.08 - $0.00 = ________ 9 $336.08 j
: face amount doubtful or uncollectible accounts §
12. TOtal Of Pal‘f 3 $6’481_34

j Current value on lines 11a +11b = line 12. COpy the total to tine 82.

investments

13. Does the debtor own any investments?

No. eo to Parl 5.

m Yes. Fili in the iniormation betow. _ l
valuation medina current value of debtors 31
used for current value interest `

- 14. lll|utuat funds or publicly traded stocks not included in Part 1
Name of fund or stock: l
14.?. $
14.2. $
t
f 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
inciuding any interest in an LLCl partnership, or joint venture ,
Name ot entity: % ot ownershi;): i,
15.1. % $
15.2. % $
16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
is.l. $
§6.2. $
17. Totai of Part 4 $
Adu lines 14 through ze. copy the total lo llne 53. "
Olfic`la| Form 206A/B Schedule A/B: Assets- Rea| and Personat Property page 2

 

"rCaSe 8-19-`72292'-reg DOC 1 Filed`03/28/19 Entered 03/28/19 17‘:'38:44 "

l.')ebtolr Pefland DiSCOUl‘ltS, ll"lC. Case numberiirmlownl

Name

M lnventory, excluding agriculture assets

 

\

18. Does the debtor own any inventory (exc|uding agriculture assets)?
n No. Go to Part 6.
Yes. Flll in the information below

 
 
 

"‘-*ltm¢_ill¢l¢ md emanuel

-§G_e'nerel description ' ' Date of the tast_i `
" ' - estrada ' llei>iwslnreresc

physical inventory

19. Ftaw materials

 

lull/l l oo""}“vwv

§ 20. Work in progress

 

tVlM /BD.'YYYY

§ 21. Finished goods, including goods held for resale

§ ' ________ 2, 7, 1 . c
Pet food and supplies MM m /YYW $2,397,310.00 sw

 

 

22. Other inventory or supplies

 

 

MM l' DD l \’YYY

 

23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

$2!397,310.00

 

 

 

24. ls any of the properly listed in Part 5 perishab|e?

l;l No
Yes

25. l-las any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was fited?
i\|o

m Yes. Book value Va|uation method Current value

1 26. Has any of the property listed irl Part 5 been appraised by a professional within the last year?

w No
n Yes

m Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
No. Go to Part 7,

D Yes. F§|i in the information below.

Genem; description Net book value of t!afuation method used Current vaiue of debtor's
debtors interest for current value interest '

(Whele avaitable)

28. Crops_either pianted or harvested

 

 

 

 

 

 

 

$ $
29. Farm animals Examples; Livestock, poultry, farm-raised fish

$ $
30. Farm machinery and equipment (Other than titled motor vehicles)

$ $
31. Farrn and fishing Supp|ies, chemica|s, and feed

$ $
32. Other farming and fishing-related property not already listed in Part 6 §

$ $

 

 

Ofticia| Form ZOBA/B Schedule Al'B: Assets_ Real and Personal Property page 3

Case 8-19`-72292-reg lDOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44"

oebior Petland Discounts, lnc. ease number iirrnowni

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33. Toiai or Part 6. $
Add lines 28 through 32. Copy the total to line 85.
1 34. ls the debtor a member of an agricultural cooperative?
§ m No
a Yes, is any of the debtors property stored at the oooperative? §
7 m No § §
§ m Yes 5
35_ Has any of the property iisted in Part 6 been purchased within 20 days before the bankruptcy was filed?
m No
n Yes. Booi< value $ Valuation method Current value $
36. ls a depreciation schedule available for any of the property listed in Part 6? §
i:i No
: n Yes “
37. Has any of the property listed in Part 6 been appraised by a professionai within the last year?
m No
Ei Yes
: Part 7: effice furniture, fixtures, and equipment; and eoiiectibles
38. Does the debtor own or lease any office furniture, fixtures, equipmentl or cofiectibies?
ii No_ so to Part 3.
gi Yos. Fi|| in the information below.
.Qene¢.a; descr;mim' - .' _- w :` -5 _:`- jf:j: `-§j"::. §:"f -i"siet bookvaiueof Va!uation method Currentvaleeofdehtot’;s:§
' ' ' ' debtors interest used for current iraqu interest
'{the`re avaiiahia)
39. Office furniture
Misceilaneous office furniture $ $2,500,00
§ 40. Office fixtures
Cabinets, bar, floating shelves $ $500.00
41. Office equipment, including ai| computer equipment and
communication systems equipment and software
See Attachment 6 $ $5,000.00
§ 42. Col[ectibies Exempi'es: Antiques and figurines; paintings, prinis, Or other
artwork; books, pictures1 or other art objects; china and crysta|; stamp, Coin,
or baseball card coliections; other coilections, memorabilia, or coltectib[es
42.1 $ $
422 $
42.3 $ $
5 43. Total of Part 7.
z l _ $8,000.00
_ Adc| lines 39 through 42. Copy the totat to line 86.

 

 

 

§ 44. ls a depreciation schedule available for any of the property listed in Part 7?
No
m Yes
‘ 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

m No
i;i Yes

Oificiai Form QOBA/B Schedule NB: Assets_ Fieai and Personal Property page 4

Case 8-1`9-72292-reg " DOC 1 Filed 03/28/19 llEntered 03/28/19 17:38:44

Debtor Petial'!d DiSCOl.II'\tS, lI‘\C. Case number iiiimowni

Name

Machinery, equipment, and vehicles

 

` 46. Does the debtor own or lease any machinery, equipment or vehicles?

i;.i No. Go to Part 9.

i E Yes», Fi|i iri the information below.

GME¢§;_§§§,-.¢:g;`pr§§n `: Net book value of Vaiuati~on method used Current value of z

. - _ _. __ _ _ _ . debtors interest ior current value debtors interest ` - `
include yeah maker mdet, end ideniit_ication numbers (i.e.. ViN, Wh wm ' .
l-ilN, or i\i~nuinbe-rj` ` j . " ( are even 33

1 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

 

 

 

47_120’¥2 Ford Van $ $4,800.00
47_2Leased 2015 |suzu $ $0.00
47_3Leased 2015 lsuzu $ $0.00
47_4Leased 2015 izuzu $ $0.00

 

 

See Attachrnent 7: Additional Automobiies, Vans, Trucics,

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
traiiers, motors, floating homes, personal watercraft, and fishing vessels

4a1 $ $
48.2 $ $

 

 

49. Aircratt and accessories
49.1 $ $

§ 492 $ $

50. Other machinery, fixtures, and equipment (exc|uding farm
machinery and equipment)

 

 

3 i-iiio surmise § $2,500.00
z See Attachment 8: Additional Machinery,

 

f 51 . Total of Part 8. $11 300_00
Add lines 47 through 50. Copy the totai to line 87.

 

 

 

 

52. is a depreciation schedule available for any of the property listed in Part 8?

w No
i:i Yes

_r 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
l No

a Yes

Officia| |'-“orni ZOGA/B Schedule A/B: Assets m Fieal and Personal Property page 5

Case 8-`19-72292-reg" DOC 1 Filed 03/28/19 " Entered 03/28/19''17:38:4`4f

Demor Pet|and Discountsl lnc. case number umwa

Name

m Real property

3 54. Does the debtor own or iease any real property?
i NO. Go to Parl ‘lO.
U Yos. Firi in mo information below

 

f 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

 

 

De$.¢l"ipti_on and :w¢aiion of property Nawr-e andextem .N?t- -b¢,°k vm;“¢- °-f - n
rnpiuefe_`snteei_a_ddrees or other description seen as _°f debt°_r'$ -mte?-'e$t dew°' 3 ‘m¢i'-e$-t. :-
Asees$_or F_*aroei N-uf¥¢`er fAFN},`and type of property m progeny '_ - {i}_\_l_he;¢ availat;l[ej ` `.

 

re earnest assess seem waives same
or attica building), il available

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

55.1 $ $
55.2 $ $
55.3 $ 3
55.4 $ $
55.5 $ $
55.6 $ $
56_ 'rotol or Part 9_ $
Add the current vaiue on lines 55.1 through 55.6 and entries from any additionai sheets Copy the total to line 88.
57. is a depreciation schedule available for any of the property listed in Part 9?
' No
1 E Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the fast year?
c El No
5 m Yes
g intangibles and intellectual Property
59. Does the debtor have any interests in intangibles or intellectual property?
Cl No. soto Part 11.
|Xl Yes. Fiil in the information below.
General description Net book value ol Valuation method Current value of
debtors interest used lot current vaiu_e debst interest
{Wbere available}
7 60. Patents, copyrights, trademarks, and trade secrets
Petland Discounts copyright $ $'0.00
1 61. |nternet domain names and websites
petlancidiscounts.com $ $0.00
‘ 62_ Licenses, franchises’ and royames See Attachment 9: Additional |nternet Domain Names and Websites
` $ $
63. Cuslomer |ists, mailing lists, or other compilations
$ $
§ 64. Other intangibles, or intellectual property
1 $ $
65. Goodwill
$ s
66. Tota| of Part lO_
$0.00
Add lines 60 through 65. Copy the iotai to line 89.

 

 

 

Oiiicial Form QOEA/B Schedule NB: Assets - Real and Personal Property page 6

 

Case 8-`19-72292-reg` DOC 1 F`i|ed 03/28/19" Entered 03/28/19'17:38:`44

Debror Peflat'ld DiSCOUl‘if$, ll"lC. Case number rrrkoowm

Nam E

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A} and 107)?
No
i;i Yes
68. ls there an amortization or other similar schedule available for any of the property listed in Part 107
12 No l
a Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
f No
z m Yes

 

m All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?

lnclude all interests in executory contracts and unexpired leases not previously reported on this form.
l¥l No_ co to Pan 12_

n Yes. Fill inthe information below.

71. Notes receivable
Description {include name ol obligor)

 

 

 

Cunem_valve_¢f *
debtor's` interest _

 

 

 

 

 

 

 

 

 

 

 

 

 

.... = 9 $
Total face amount doubllu| or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)
Description (for example federa|, staie. local)
: Ta>< year $
z Tax year $
Tax year m___ $_________m_________”__mmm
73. interests in insurance policies or annuities
$
74. Causes of action against third parties (whether or not a lawsuit
has been filed) '
$____________
Nature of claim
Amount requested $__”___~__
' 75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
s $
Natui'e of claim
Amount requested_ $
76. Trusts, equitable or future interests in property
$
77. Other property of any kind not already listed E)ramples: Season tickels,
country club membership
iimwmm_mm mm
$_____
78. Tota! of Part 11.
Add lines 7l through 77. Copy the total to iine 90. $

 

 

 

79. Has any of the properly listed in Part 11 been appraised by a professional within the last year?

El No
m Yes

Official Form QOBA/B Schedule NB: Assets _ Real and Persona| Property

page 7

Case 8-19-72292-reg DOC 1 Filed 03/28/19` Entered 03/28/19 17:38:`44

Debtor Petland DiSCOUntS, lnc. Case number nrr¢nnwn)

Name

|n Part 12 copy ali of the totais from the earlier parts of the form.

 

'fypeotproperty `: ii ;--;:-j _ff " .. " _ _ Currenivai_uefot: :. `;: Currentvawe _ §"E
' _ _' _ -f_ '; . . . ' personaip`toperiy- . oftea!pi€opert_yf`.§
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. 53 233 757'48
$400 390.62

 

81. Deposits and prepayments Copy line 9, Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

82. Accounts receivable. Copy line 12, Part 3. $§MHWMW
83. lnvestments. Copylr`ne 17, Part 4. $0-00
84. inventory. Copy line 23, Part 5. $gz§?_? 316'30
: 35. Farming and fishing-related assets Copy line 33, Part 6. $?‘Go
; 88. Office furniture, fixtures, and equipment, and coilectibles. $8 engine
: Copy line 43, Part 7. '
87. Machinery, equipment and vehicles. Copy fine 51, Part 8. $1li 360-00
88. Fiea| property. Copy line 56, Part 9. . -) $0-00
` 89. |ntangibies and intellectual property. Copyline 66, Part 10. $mem
90. Ali other assets. Copy line 78, Part 11. + $_§.60
91. Total. Adci lines 80 through 90 for each column. ........................... 91a. $M + gm $&L~
92. Tota| of ali property on Schedule AIB. i_ines 91 a + 91b = 92. ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, $6!057,239.44

 

 

 

Officia| Form ZOGAJ'B Schedule A/B: Assets_ Fleai and Persona| Property page 8

Case`8-19-72292-reg DOC 1 `Filed'03/28/19 Entered 03/28/'19 17:38:44

Attachment 1/4
Debtor: Petland Discounts, lnc. Case No:

Atl;achment 1
All Pet Distrit)utors Checking Account (Concentration) for Deposits
Attachment 2
All Pet Distributors Control|ed Disbursement Account
Atlachment 3: Additional Checking, Savings, Money Market, or Financia| Brokerage Accounts
Institution: Bank of America
Account Type: Petland Discounts Checking Accounts Concentration
Lasf 4 Digits of Account Number: 5199
varue: $2,730,403.85

Institution: Bank of America

Account Type: Petland Discounts Contro|led Dishursement
Last 4 Digits of Account Number: 3443

Value: $0.00

lnsiitution: Bank of America
Account Type: payroll Account Checking Account
Last 4 Digits of Account Number: 7710

7 Value: $113,752.83

institution: Chase Bank

Account Type: Deposit only Account Commercia| Checl<ir\g
Last 4 Digits of Account Number: 5605

Vaiue: $87,792.80

Attachment 4: Additional Security or Utiiity Deposits
Description: Lease Security Deposit-BPP St Owner LLC
Value: $13,095.96

Description: Utility Deposit-Con Edison
Value: $295.00

Description: Utiiity Deposit-Con Edison
Value: $505.00

Description: Uti|ity Deposit-Corl Edison
Vaiue: $1,045.00

Description: l_ease Security Deposit-Oster Yorktown Properties
Va|ue: $11,966.66

Description: Lease Security Deposit--»Country Leasing LP
Value: $12,321.50

Attachment'$: Additional Prepayments
Description: Rea| Estate Taxes--Dr. Barry Kahan
Value: $24,430.20

Description: Real Estate Taxes-Gotham Capital Rea|ty
Value: $7,719.89

Description: Rea| Estate Taxes-NYC Dept. of Finance

Case 8-19#72292¥|*€9 DOC 1 ' Filed'OS/ZS/J'_Q Entered'OS/ZS'/J_Q 17238:44

Attachment 2I4
Debtor: Petland Discounts, lnc. Case No:

Value: 527,919.40

Description: Real Estate Taxes-416 BBA LLC
Vaiue: $2,452.94

Description: Reai Estate Taxes--K.J.L.Realty
Value: $4,524.28

Description: Rea| Estate Taxes-Arnold P|ains
Va|ue: $23,848.1 6

Description: Reai Estate Taxes-ZBSB Third Avenue Mgmt.
Va|ue: $4,760.72

Description: Reai Estate Taxes-Pitrock Realty
Value: $14,979.12

Description: Real Estate Taxes-Che!sea London Co.
Value: $12,092.47

Description: Rea| Estate Taxes-Bawaheh Brothers LLC
Value: $35,697.48

Description: Rea| Estate Taxes--Wa|sam Sixth Ave.
Value: $14,462,48

Description: Real Estate `l'axes--M.J. Martin & Son
Vaiue: $28,376.83

Description: Real Estate Taxes--Francemen Reaity
Vaiue: $24,688_42

Description: Rea| Estate Taxes--White Plains Road Realty
Va|ue: $7,039.32

Description: Reai estate Taxes--»-Nostrand Property Owner LLC
Value: $6,028.00

Description: Boi|er--U|timate Power
Value: $4,195.1 0

Description: Maii Niachine-Pitney Bowes
Value: $550.73

Description: Printer--Peak-Ryzek
Vaiue: $1,393.79

Description: A!arm Systern-Johnson Controls!Tyco
Value: $1,41 5.87

Description: Urnbrella lnsurance Policy-GreatAmerican lnsurance Company
Va|ue: $34,736.00

Case 8-19'-72292`-`reg DOC 1` Filed 03/28/`19 Entered 03/28/19 17`:38:44

Attachrnent 3l4
Debtor: Petland Discounts, lnc. Case No:

Description: Crirne lnsurance Po|icy--~Continental Casualty Company
Value: $3,551.00

Description: En‘lp|oyee Practice Liabi|ity lnsurance Po|icy-Hartford insurance Company
Value: $15,694.09

Atiachment 6
Computer equipmentl printers, scales, tax machines camera systems .
Attachment 7: Additional Automobiles, Vans, Trucksl Motorcycles, Trai|ers, and Titled Farrn Vehicles
Description: l_eased 2015 lsuzu
Book Value:
Vaiuation method: :
Value: $0.00

Description: Leaseci lnternational tractor
Book Value:

Vaiuation method: :

Value: $0.00

Description: Leased |ntemationa| tractor
Book Value:

Valuation method: :

Value: $0.00

Description: l_eased international tractor
Book Value:

Valt_iat_ion method: :

Value: $9.00

Description: l_eased |ntemational tractor
Book Value:

Valuation method: :

Value: $0.00

Description: Leasecl Great Dane traiier
Book Value:

Vaiuation method: :

Vaiue: $0.00

Description: Leased Great Dane trailer
Book Vaiue:

Valuation method: :

Value: $0.60

Description: l_eased Great Dane trailer
Book Value:

Valuation method: :

Value: $9.00

Description: Leasecl Great Dane trailer
Book Value:

Case 8-19-72292`-reg DOC 1 Fi|e'd 03/28/19 Entere`d 03/28/19 17':38:44

Attachment 4/4
Debtor: Petland Discounts, lnc. Case No:

Valuation method: :
Value: $0.00

Attachment B: Additional i'\l'lachinery, Fixtures, and Equipment
Description: 12 Electric Pump Jacks
Book Value:
Valuation method: :
Value: $2,900.00

Description: 14 Pump Jacks
Book Value:

Vaiuation method: :

Value: $1,0{)0.00

Description: 3 Dog Wash Stations
Book Value:

Valuation method: :

Value: $50{).00

Description: 26 Skids
Book Value:
Va|uation method: :
Value: $500.60

Attachment 9: Additional internat Domain Names and Websites
Description: a|lpet.com
Book Value:
Va|uation method: :
Value: $0.00

Case 8-19-7229`2-reg DOC 1 Fi|'ed 03/28/19 Entered 03/28/19 17:38:44

Fill in this information to identify the case:

oebigrname Petland Discounts, lnc.

 

United Slales Banl<ruptcy Court for the: Eastem District Of NEW York

 

Case number (ll known):

 

 

Official Form 206D

 

Schedule D: Creditors Who Have Claims Securecl by Property

Ei Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
No. Check this box and submit page t of this form to the court with debtors other schedules Debtor has nothing else to report on this form.

n Yes. Fill in ali ot tile information beiow.

 

List creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. i_ist in alphabetical order ali creditors who have secured claims. lt a creditor has more than one com '1 M¥ § , zofru”m? n l
secured claim, list the creditor separately for each claim. ’§n;‘°m'_“ 9 c am a ne ° °° aim
D_o' nqjdeduci the value that SHF'P°"»S this
of ooitateral. ctaim
Creditor’s name Describe debtor’s property that is subject to a lien
$ $
Creclitor’s mailing address
Describe the lien
Creditor’s small address, if known ls the creditor an insider or related party?
ij No
l;l Yes
mate dam was incurred ls anyone else liable on this ciaim?
Last 4 di 'ts of t mm __m~~ m N°
91 accoun n Yes. Fill out Schedule H: Codebtors (Glliciat Form ZUBH}.
number j j j j
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
Same property? Checl< all that apply.
§ N° _ _ _ _ _ _ m Conlingenl
ves. Specrly each creditor, including this creditor, m Un|iquidaied
and zls relative pnonty. ij Dispu,[ed
M Creditor’s name Descrlbe debtor’s property that is subject to a lien
$ $
Creditcr’s mailing address
Describe the lien
Creditor’s emaii address, if known ls the creditor an insider or retated party?
n No
m Yes
pate debt Was incurred ls anyone else liable on this claim?
Lasr 4 di it f t m N°
9 3 ° a°°°““ ill Yes. Fm our schedule H_-codemors{orfzcial Form zoen).
number w du mm j
Do multiple creditors have an interest in the A$ °f the petiti°"' filing date’ the °|aim is:
Same proper;y? Checl< all that apply.
E] NO l;l Contingent
m Yes. Have you already specified the relative m Un"€iuidated
primay? l;l oispuled
No_ Speoily each creditor, including this
creditor, and its relative priorily.
m ves. Tne relative priority or creditors is
cccccc ,..,,m.,,,,,,,,,,,,,§ne§ifie§iQaiinee,,,.ea,~,,,,, ,m _,~ o …WW
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $O_OO
......... '.°.?,Sl?“».§.f. QF.W- Y,. m_m,
Olficial Form 206D Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of 1_

Case 8-'19-72292-reg Doc`l Filed 03/28/19 Entered 03/28/19 1`7:38:44

Fill in this information to identify the case:

Debtor Petland Discounts, lnc.

 

united states eatikttipicy court ior ihe: Ea$t€m DiSfFiCt Of NEW YOFk

 

Case number
[|l known}

 

 

Cl check it this is an
amended thing

 

Oliiciai Form 206E/F
Schedule EIF: Creditors Who Have Unsecured Ctaims

Be as complete and accurate as possib|e. Use Farti for creditors with PFthRlTY unsecured claims and Part 2 for creditors with NONPR|OR!TY
unsecured ciaims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Fleal' and Personai Property (Official Form 206A/B) and oh Schedule G: Executory Contracts and Unexpired Leases
(Official Form 2066). Number the entries in Parts 1 and 2 in the boxes on the ielt. lt more space is needed for Part 1 or Part 2, fiil out and attach
the Additional Page of that Part included in this form_

 

12/‘{5

m Lisf Ai! Cl'edifors with PR|ORITY Unsecu!ed Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oificial Form 206E/F

 

 

 

 

 

 

Schedule Ele Creditors Who Have Unsecured Claims

page 1 ot §§

l
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507}. ‘
la No. Go to Part 2.
E! Yes. Go to §ine 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. |f the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
?otat claim Pi’xority amount
m Priority creditor's name and mailing address As of the petition filing date, the claim is: $169,98 $169.98
Citv Gf Newark Cheok all that apply
P.O. sex 70501 g COnii"QBm
Unli uidated
Newstk, New Jersey 07101 g msde
Date or dates debt was incurred Basis for the claim:
Newads£aytolllaxes___
Last 4 digits of account ls the claim subject to ottset?
number ii X] No
. . l;\ `i’es
Specify Code subsection of PRIORlTY unsecured
claim: 11 u.s.c. § series (8 }
a Priority creditors name and mailing address As of the petition firing date, the claim is 5,'3,023.$3¢[3 $3,023.90
New Liersey UEZ Ta)c check air that appty. ;
P.o. sex 270 § Confiris@ni l
Unli uidated
Trenton, New dorsey 08646-0270 ij Diquuted §
Date or dates debt was incurred Basis for the claim:
Nd.Sales~BcUse_Taxes_
Last 4 digits of account ls the claim subject to offset?
number _ _ _ m ND
. . l:l Yes
Specify Cocte subsection of PHIOR|T¥ unsecured
ciaim: 11 u.s.c. § sorra) (§m_)
w Priority creditor’s name and mailing address As of the petition filing date, the claim is: $25,340.80 325,340.80
igng XQ];|; Sfafg 33 55 f ag Check all that appi[ir.
E 0 E: jSDB m S| Sf I-C l;l Contingent
n"""_'~` l:l Un|iquidated
New Yori<, i\lew York 10008-1506 n Disputed t_
Date or dates debt Was incurred Basis for the claim: §
NY State Sa|es Taxes z
Last 4 digits of account is the claim subject to ottset? :
number j j K] No Y
. . il `i'es i
Specify Code subsection of PFliOl'-t|T\’ unsecured t
claim: it U,S.C. § 507(a) (B i g

Case 8'-'19-72292-reg DOC 1 Filed 03/28/19 Ente`red 03'/28/19"17:38:44

Debtor Petland DiSCOUHtSi lnc- Case number lrrlttinwni

Name

List A}| Cre<ditors with NONPR|OR|T¥ Unsecured Ciaims

 

3. List in atphabetica| order all of the creditors with nonpriority unsecured claims. it the debtor has more than 4 creditors with nonpriority
unsecured claims, fiil out and attach the Additional Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Harrison, l\iew York 10528

 

assistance craim: SBWEC@S

ls the claim subject to offset'?

m xJNo

Last 4 digits of account number _ _ _ _ C.\ Yes

Date GI’ dates debt Was inEl..|l‘l'et`.l

Amount cit claim
§| Nonpriority creditors name and mailing address As of the petition filing date, the claim is:
- - - Check all that apply $41’472‘54
126-iii Hlilside Ave Assoclates . '
§ Contingent
Uniiquidated
35-1 1 35th Ave l;l Dlspuled
Lclnq lsiarlcl Ci , New York 11106
ry Basis for the ciaim: R@nt
Date or dates debt was incurred lime claim S“b]e°t !° °"Set?
' NO
Last 4 digits of account number j j j j ft Yes
il Nonpriority creditor’s name and mailing address AS of the petition filing date’ the clalm is: 64 260'00
137-9 west 72tid LLC Che°“ all mm EPP’F~ $
El Contin nl
m 99
Unli ul`dated
135 West 72nd Street g Dlquljled
New York, New York 10023
Basis for the ciairn: Rent ___
Date or dates debt was incurred mmwm Ethe claim subiect to °ffset?
No
Last 4 digits of account number _ _ _ _ L:i Yes
§§ Nonpriority creditor’s name and mailing address A$ of the petlgloll filing dates the claim is: ,E 185 85
1_800 NY Bulbs Check all that apply. $ ’ `
n Contingent
47 l-lalstead Ave m U“'iquidated
n Disputed

 

 

As oi the petition filing date, the claim is: $33,274_61

3.4 Nonpriority creditor’s name and mailing address

 

 

 

255 MB|| LLC, Cht’-.‘Ck all that apply
l;l Contingent

P.O. Box 303 El unliquidated
ill Dlsputed

 

Emerson, New dorsey 07630
Rent

 

Basis for the ciairn:

ls the claim subject to offset?

X]No

Last 4 digits ot account number k k j * l;l Yes

Date or dates debt was incurred

§ Nonpriority creditor’s name and mailing address AS of the gentian filing dale, the claim is: $37'940_3[)

 

 

2960 Thll‘d AVE ngmt LLC Check all that apply.
g Contingent

1430 Broadway l;l Unliquidaled
iii olsptiiec

 

New York, i\iew York 'lOO’lS

 

Basis tor the clairri:Rent

Date or dates debt was incurred 15 the C:aim S“bie°t t° °USE*?

 

 

 

 

Flora| Park, New Vork 11004
Rent

 

Basis for the ciaim:

ls the claim subject to offset?
XJ No
j ij Yes

Date or dates debt was incurred

 

Last 4 digits of account number

 

 

m No
Last 4 digits of account number m m__ m m E| Yes
§ Nonpriority creditor’s name and mailing address AS of the petition filing dage, the claim is: 46 474_20
365 Knickerbocker Clieck arliliatappry. $ ’
l:l Contingent
258-01 l-ii|iside Avenue Cl Unliqtiidated
Cl Disputed

 

Oificial Form ZQBE/F Schedule Ele Creditors Who Have Unsecurecl Claims pace 2 of 36

Debror

Case 8'-19-72`2`92-reg DOC 1 Filed 03/28/19 Entered 03/28/19`17:38:44

Petiand Discounts, lnc.

Case number llllmnwm

 

Name

Additional Page

_Miovni¢f`daim

 

49 Pershing Drive LLC

PO Box416241

S.Zm Nonpriority creditor’s name and mailing address

 

Boston, i\/|assachusetts 02241

 

Date or dates debt was incurred

Last 4 digits of account number

As of tire petition filing date, the claim is:

Check all that apply.

1:| Contingent

E| unliquidated

1:| Disputed

1.:\ Liquidated and neither contingent nor
disputed

Basis for the claim: Bebi_____mw

is the claim subject to offset?

i] No
1;| Yes

$24,975.39

 

 

 

 

 

7102 Kissena Blvd A LLC

1 N_ Broadway

mm Nonpriority creditor’s name and mailing address

 

Whlte P|ains, New York 10601

 

Date or dates debt was incurred

Last 4 digits of account number

 

778 Broad LLC

3.§_ Nonpriority creditor’s name and mailing address

 

PO BOX 8685

 

Elizabeth, New Jersey 07208

 

Date or dates debt was incurred
Last 4 digits of account number

3.1_§ Nonpriority creditor’s name and mailing address

A Recknagel lnc.

 

28-27 Steinway Street

 

Long island Cityr New York 11103

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

3.§1 Nonpriority creditor's name and mailing address

A|| G|ass Aquariurn Co. lnc.

 

14278 Cciiectl'ons Cntr Dr

 

Chicago, i|iinois 60693

 

Date or dates debt was incurred

i_ast 4 digits of account number

As of the petition filing date, the claim is_:
Check all that apply

i;.\ Contingent

C] Un|iquidated

m Disputed

Basis for the claim: R€m

ts the claim subject to offset?

i]l\lo

1:| Yes

$30 ,467.68

 

 

As of the petition filing date, the claim is:
Check all that apply

m Contingent

l;l Uniiquidatec|

Cl Disputed

Basis for the ciaim: Re'i'ii

is the claim subject to oifset?
E No
il Yes

 

As of the petition filing date, the claim is:
Checlr all that apply.

1;| Coniirlgent

ill unliquidated

1;| Disputed

Basis for the claim: Rent m

is the claim subject to offset?
X] i\|o
n \’es

As ot the petition filing date, the ciaim is:
Gheck all that apply.

l;i Contingent

[;l Unliquidatad

El Disputsd

Basis for me claim; §9293

ls the claim subject to offset?
m No
El Yes

 

Officia| Form 206E/F

Schedule EIF: Creditors Who Have Unsecured Claims

$38,254. 08

 

 

$31,771.39

 

$189,736.74

 

 

DOD{OI’

|=|ln Additional Page

 

`Case'8-19-7`2`292-reg DOC 1 'Filed 03`/28/19 Entered 03/28/19` 17:38:44

Petland Discounts, lnc.

Case number (illiuuwul

 

Name

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amountoi claim .'
3.'1_2§ Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is:
Ar h 1 G Check all lhatapply. $Unknown
C HSUFBHC@ i'UijD a Comingem
§ unliquidated
Disputed
2345 Grand Bivd‘ EI Liquidated and neither contingent nor
Kansas City, i\l|issouri 64108 disputed
Basis for the claim:
Date or dates debt was incurred lis|the claim Sub§e°t to °“Set?
No
Last 4 digits of account number j g a _W |;| YQS
3.13 Non riorit creditor's name and maiiin address
j p y g As of the petition filing date, the claim is: $38'613_52
Amoid P|ains Corp Check all that apply.
m Contlngent
_ El unliquidated
1 Llnden Place El Disputed
Great Neck, New York 11021
Basis for the claim: REnt
Date or dates debt was incurred !x§}the claim S“bie°t f° °ffset?
No
Last 4 digits of account number _ __ ___ _ n Yes
§4 N _ _ .-.:_.,.’.W_ . _ _ ,,,,,,,
3.wm onpriorlty creditor s name and mailing address As of me petition filing date, the claim is: 30 523_33
B_zq l_;_C Clleck all mal apply. $ '
g Contingent
Unli uidated
118-35 Queens Bou|evard l;l Dis:uied
Forest i-|ii|s, New Yori< 11375
Basis for the claim: Ren'f
Date or dates debt was incurred firm ciaim S“biect m °ffsei?
No
Last 4 digits of account number _ _ __ ___ Cl Yes
3,1_ Nonpriority creditor's name and mailing address 7 _ , , f
As of the petition filing date, the claim is: 32,311_11
Bawabeh BrOihel'S LLC Check all thatapply. $
m Contingent
539 Eastern Pi<wy g gl;|;$s::ted
Brool<lyn, New York 11216
Basis for the claim: Re“t ___m
Date or dates debt was incurred _____ }xs:lthe Ciaim S"'bject t° °ffset?
No
Last 4 digits of account number j j j j El res
3 1§ Nonpriority creditor’s name and mailing address _ _ j _ _ j v m w M v
As of the petition filing date, the claim is: $43]749_99
__ BDG Gotbam Piaza LLC Ch€€k all mar appu-
i m Contingent
i 330 BOX 2004 n Ul'l|iQUi(iBted
i _ _ m Dlsputed
§ i-ilcksvlile, New Yor|< 11802
i Basis for the claim: R@nt um____
§ Date or dates debt was incurred g §‘]the C'aim sovie°t t° °ffset? g
l NO
§ Last 4 digits of account number _ _ _ _ |;l yes
l

 

Otlicial Form 206E)'F

Schedule EIF: Creditors Who Have Unsecured C|aims

pace 51 of §§

` Case 8-19-7`2292-reg DOC 1 " Filed`03/28/19 Entered'03/28/19 17:38:44 `

D@blor Petland Discounts, lnc.

Case number lilkuownl

 

Name

m manual age

 

 

 

 

 

 

 

3.1_7§ Nonpriority creditor’s name and mailing address

Beral<ha lll|anaqement

PO BOX 230805

 

Brookiyn, New York 11223

Date or dates debt was incurred

Last 4 digits of account number

 

3.'| Nonpriority creditor’s name and mailing address

 

 

Bergman & Schneider

680 Wiidwood Road

 

West l-lempstead, New York 11552

 

Date or dates debt was incurred

Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address

Berkowitz, Sieven & Brenda

 

502 Avenue .l

 

Brookiyn, New York 11230

 

Date or dates debt was incurred

Last 4 digits of account number

 

3,2 Nonpriority creditor’s name and mailing address

Best Pet Suppiiss |nc

 

104-20 Dunkirk Street

 

 

Jamaica, New York 11412

 

Date or dates debt was incurred

Last 4 digits of account number

3.§ Nonpriority creditor's name and mailing address
Blue Rl'bbon Pet Prcducts

 

 

1545 B Ocean Ave

 

Bohernia, New Yorl< 1 i716

 

Date or dates debt was incurred

Last 4 digits of account number

 

 
 

 

As ot the petition filing date, the claim is:

Checlr all that apply. $71,482-00

Amount of claim

 

a Contingent

ft unliquidated

ft Disputed

m Liquidated and neither contingent nor
disputed

Basis for the claim: grant

ls the claim subject to offset?

g Nc
n Yes

As of the petition fiiing date, the claim is: $24,000_00

 

Check all that apply.
cl Ccntingent
El Uniiquidated
cl Disputed

Basis for the claim: Renf

ls the claim subject to offset?
il No
g Yes

As of the petition filing date, the claim is: $18 644_25

 

Cllack all that apply.
[] Contingent
ill unliquidated
Cl Dls;;luled

Basis for the claim: Bellt

is the claim subject to offset‘?
Kl No
n Yes

As of the petition filing date, the claim is: $45’943_56

 

 

Cl'leclr all that apply.
m Contingent
n Unliquidated
El Disputed

Basis for the claim: GUOdS

ls the claim subject to otiset?

K] z\lo
n res

As of the petition filing date, the claim is: $13’952_99

 

Checlr all that apple
53 Contingent
E] Unliquidated
m Disputed

Basis for the claim: GOC‘dS

ls the claim subject to offset?

X]No
UYes

1

 

Otlicia| Form 206E)'F

Schedule ElF: Creditors Who Ha\l'e Unsecured Claims

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Case 8-19-"72292-reg `Doc 1" Filed `03/28/19 Entered 03/28`/`19 17:38:44`

D@mor Petland Discounts, lnc.

Case number (i.'i<nowni

 

Nam a

m Additional Fage

 

 

3.2_2 Ncmpriority creditor’s name and mailing address

BPP St Owner LLC

PO Box 371448

 
 

 

 

 

 

Amount of claim

As of the petition filing date, the claim is:
Gheclr all that apply.

El Contingent

E| Unliqulciated

m Dispuied

El Liquidated and neither contingent nor

$42,704.38

 

 

Pittsburgh, Pennsy|vania 15250

disputed

 

Date or dates debt Was incurred

Last 4 digits ot account number

 

 

 

Basis for the claim: Begt

ls the claim subject to ottset?

`t’es

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Center Continental

 

323 iii ' 'i d': ' d 'l' del
__ cmpriori y cre l or s name an mal ing a ress AS of the mention filing date' the craim is: $81974_78
Broadview Networks Check all.mat amy
n Corltlngent
cl Unliquidated
P.O. BOX 70263 El Disputed
Phi|ade|pbia, Pennsyivania 19176 _
Basis for the claim: S€WICE`»‘S
Date or dates debt was incurred Bthe ciaim Subiect m ohset?
No
Last 4 digits of account number _ _ _ _ ft Yes
24 ‘ ' ' ' ' '
S.Ww Nonprlority creditor s name and mailing address AS of the petition filing date’ me claim is: 42 922.62
C 8 Rea}ty Clieclr all that apple $ ’
g Conlingent
Un|iquidated
291 Broadway [:I Disputed
New York, New York 10007
Basis for the claim: R@m m_m
Date or dates debt was incurred Elth; Claim subjeci w offset?
0
Last 4 digits of account number m ___ ____ ___ [;l ves
3.; Nonpriority creditor’s name and mailing address _ _ , _ _ _
As of the petition filing date, the claim is: $3,532_03
Caroiina Prime check all mar apply.
§ Conlingent
Uniiquidaied
P.o. sex 733909 m D§Spmed
Dailas, Texas 75373
Basis for the ciaim: §QPdS mm
Date or dates debt Was incurred W”_________ lxsjthe ciaim Subiect to offset?
NO
Last 4 digits of account number m m nw f a EI Yes
3,§ Nonpriority creditor’s name and mailing address _ _ _ _ . _
As of the petition fillng date, the claim is: $53'335_29

 

Clieck all that apply.

 

71-25 Austin Street

E] Contingent
El Un|iquidated
m Dispuled

 

Forest Hii|s, i\lew York 11375

 

 

Date or dates debt was incurred

Last 4 digits of account number

Basis for the claim: R€Hf

ls the claim subject to offset?

X}No

 

 

 

Oi'iiciai Form ZGBElF

Schedule ElF: Creditors Who Have Unsecured C[aims

page § of §

Case 8-19-`72292-reg `Doc 1 Filed` 03/28/19 Entered 03/28`/19 17:38:44

Debmr Petland Discounts, lnc.

Case number lilli.-iuwui

 

Name

Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oificia[ Form 206E/F

Amountnr i-`;laim_
321 Nonpriority creditor’s name and mailing address As ot the petition filing date, the claim is:
C t § H [ Pi Clieclc all that apply. $32’922'94
en m ar em 323 l:l Contingent
§ unliquidated
Disputed
PO BOX 944164 L_..i Liquidated and neittler contingent nor
Cleveland, Ohio 44194 disputed
Basis for the claim: Re[itmm___
Date or dates debt was incurred lfslthe claim S"hiect to °"set?
No
Last il digits ot account number _ _ _ _ l;l Yes
28 Non riorit creditor’s name and mailin address M v
3 _ p y g As ot the petition filing date, the claim is: 17,011_31
Church & ijght Clieck all that apply_ $
l:l Contingent
_ |I| unliquidated
P.O. Box 95055 El Dispuled
Chicago, illinois 60694
Basis for the claim: GOOdS mm ____
Date or dates debt was incurred m ',x;:"]fhe claim Subje°t to °Hset?
No
Last 4 digits of account number _ _ _ __ i;l Yes
3.29 lion r' 'i d'i ‘ d 'l' dd mm wm
- p ion y cm f or s name an mal mg a regs As of the petition filing date, the claim is: 44’565_84
C|ocl<lower Plaza Shop C'ir mack all 'ha‘apl”i“- $
g Contingeni
Unliquidated
PO BOX 844-235 n Dispu;ed
Boston, Massachusetts 02284
' Basis for the claim: Rer\t
Date or dates debt was incurred ________ |S the ciaim Suhiect w °Hset?
NO
Last 4 digits of account number j j j j |;l -ves
31 Nonpriority creditor's name and mailing address _ _ n n _ ,
As of the petition filing date, the claim is: 301462_[)5
C|orox Sales Company Clieck all thai appu. 3
a Contingent
E;l Un|iquidated
P.O. BOX 951015 5 Disputed
Dallas, `i'exas 75395
Basis for tl'le claim: GOGdS
Date or dates debt was incurred §the claim Subject to °ffset?
No
Last 4 digits ot account number _ _ _ _ Cl res
3,§§ Nonpriority creditor’s name and mailing address 7 n 7 …r j fw . mmnm-mmmmmmmm" m n
As of the petition filing date, the claim is: $291720_43
Coasta| Pet Products Check all that implyl
El Contingent
P 0 BGX 90€304 El unliquidated
` ' El Disputed
C|eveiand, Ohio 44190
Basis for the claim: GOOdS
Date or dates debt was incurred §SJH"€ claim Subiect to offset?
No
Last 4 digits of account number m m__ _u am l;l Yes

 

 

 

 

Schedule Ech Creditors Who Have Unsecured Claims

page l of §§

Case 8-19-72292-|’€9 ' DOC'J_ Fi|éd 03/28/19 'Entel’e'd 03/2'8/19 17238244

Dabtor Petland Discountsi lnC- Case number (iiiiiwwiii

Nam e

Additiona¥ Page

Amount of claim

 

 

 

312 Ncinpriority creditor’s name and mailing address As of the petition filing date, the claim is:
C l b. P k R t .E LLC Check all that apply. §9'526'65
0 Ui't'l iE! Eti° B Eli m Commgem
g Un§iquidated
Disputed
PO BOX 75922 ij i_iquidated and neither contingent nor

 

Balt'imore, i\l|ary|and 21275 disputed
Basis for the ciaim: giant

ls the claim subject to offset?

END

iiii 3 Ves

 

Date or dates debt was incurred

Last 4 digits of account number

 

S.Y Nonpriority creditor's name and maiiing address

 

As of the petition filing date, the claim is: 1 294_54
Gheck all lhal‘apply. $ '

n Contingent

, , _ ill uniiquidated
Unemployment insurance Dlsvtsion 200 Foiiy Broo|< Bivd. C| Disputgd

Wethel‘sfteid, Connecticut 06109

 

 

Connecticut Department of Labor

 

 

Basis for ti'ie claim: B__ARBM

ls the claim subject to oftset?

il No
i*mmm i;l Yes

Date or dates debt was incurred

Last 4 digits of account number

 

.34 Non rio;it cred‘t r’ m d ` '
3__1 p y l o s na e an mallmg address As of the petition tiiing date, the claim is: $3 736_42

Cosmos Corporation Che¢k all met apply
‘ a Contingent

El unliquidated
P.O. BOX414 [:l Dispittect

Wentzviile, Niissouri 63385

 

 

 

Basis for the ciaim:QOOdS

ls the claim subject to otts'et?
NO
_ _ _ _ E:l Yes

Date or dates debt was incurred

Last 4 digits of account number

 

3.§§ Nonpriority creditor’s name and mailing address , , _ , _ .
As oi the petition tiiing date, the claim ts: $31|454_04

Cross Bronx Plaza LiC Gheci< ali that apply.
Et Contingent

i;l Un|iqtiidated
m Disputed

 

 

150 E SBth St
New York, New York 10155

 

 

seats for the eiaim: R€fit

is the claim sub§ect to oftset?
X] No
j j j j n Yes

Date or dates debt was incurred

Last 4 digits of account number

 

 

316 Nonpriority creditor‘s name and mailing-address _ _ _ _
As ot the petition fiiing date, the claim is: $36’822_33

 

 

DCM Realty LLC Gl'iaclr ali that apply.
L._.l Contingent

480 73rd Street C| unliquidated
L_..\ Dlsputed

 

Brooklyn, New Yori< ‘E1209

 

Basis for the claim: Rent

ls the claim subject to offset?

X]i\lo

Date or dates debt was incurred

 

 

Last 4 digits of account number __ _ _ _ l:l Yes

Ofiieial Form 2osE/i= schedule E/i=: creditors who i-lave unsecured claims made 3 di 33

Case 8-19-72292-reg` 'Doc'l Filed 03/28/19 ` Enter'ed 03/2`8/19 17:38:44

Det)tor Petland DlSCOleS» lnc' Case number (iiimewni

 

 

Name

Additional Page

Amount ct claim-

 

 

 

 

Y| Nonpriority creditor’s name and mailing address As ot the petition fiiing date, the claim is:
. 7 cheek all that apply. $661109-71
Decatur Associates LLC n Comingent
g Un|iquidated
Die uted
PO BOX 856 m Liq§idated and neither contingent nor
Rocl< l-ii|l, New York 12775 diSPUiefi

 

Basis for the claim: RQDI_

ls the ciaim subiect to offset?
il No
j j j j n Yes

Date or dates debt was incurred

Last 4 digits of account number

 

3.§§ Nonpriority creditor's name and mailing address

 

its of the petition filing date, the claim is: $35,315_95

 

 

Check all that apply
§ Contingent

_ ft uniiquidaied
414 Nlalrt St 3 Disputed

Port Jefferson, New Yorl< 11777

Deico Deve|opment

 

 

Basis for the claim: R€i'i’£

is the claim subiect to offset?
X_-l No
k k j j m Yes

Date or dates debt was incurred __________

LESt 4 digits Df account I‘lLllleBl‘

 

39 . _ . , .[. v
3. Nonpriorlty creditors name and mai ing address AS of the petition ming dates the claim is: $91450'00

 

Delco~l_evco Venture Che\°l‘ all mal apply-
i;l Contingent

|;l Unli uidated
Orte Wayrie Hii|s Ma|i Cl Dis:uteiz

Wayne, New Jersey 07470

 

 

 

Basis for the claim: R@Flt

is the claim subject to offset?

No
Last 4 digits of account number _ _ _ _ [;l Yes

Date Cll’ dates debt WBS incurred

 

3.4 Nonpi'icirity creditor’s name and maiiing address _ _ _ _ . _
As of the petition filing date, the claim is: $3,596_33

DMC Cl'iack all that apply.

 

 

al Contingent
§ Un§ic;uidated

P.O. BOX 505337 |;| Dispuiec|

St. Louis, i\liissouri 63150

 

 

Basis for the claim: GOOdS

§ Date or dates debt was incurred ls me claim Suble°t l° °lfset?

 

 

 

 

Da|las, Texas 75373

 

Basis for the claim: GOQGS

Date or dates debt was incurred ls the Clalm Sul’|'e°l to °llsel?

 

 

X} No
Last 4 digits ot account number _H j j g ft Yes
Ofliciai Form 206E/F Schedule ElF: Creditors Who Ha\ie Unsecured Claims

m No
Last 4 digits of account number i¥_¥ ij YES
3.‘£ Nonpriority creditor’s name and mailing address _ 1 . _ _ '- l _ l n n
As of the petition filing date, the claim is: $59]»| 90_95
Doskocii i\llfg. Co. lnc. Cheeli all thatappiy.
§ Contingeni
P.O. sex 733415 U“'iquidaled
El Dis;)uted

 

page il Oi §§

Case 8-19-72292-reg

Debm, Petiand Discounts lnc.

DOC 1 Fi‘|ed 03/28/19 ' Entel’ed 03]28/19 17:38:44

Case number (iii<nown)

 

N ama

lau Additional Page

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ethical-Spot Brand

- §
' ' . ; j - §
tim j'_`jmi¢iifm:». §
. . z :. . z . §
3.4__2* Nonpriority creditor’s name and mailing address As ot the P€iifiol‘\ filing daie, the C|aim is: 7 309 75
D B K h Check all that app.[ir. r$ ’ '
r' any a an \3 Contingent
3 unziquiciaied
Dispuled
157 East Greenway P|aza l;l Liquidated and neither contingent nor
Housion, Te><as 77046 dispude
Basis for the claim: Beg];__________________
Date or dates debt was incurred mmmm__m_mm____w |fslme °Eaim Subiect m °ffset?
NO
Last 4 digits of account number m m mg WH l;l yes
3 _ onpnomy cre l or s name an mal mg a regs As of the petition filing date, the claim is: $33`937_2[}
EBCO Deve|opment Co Check au.ma! appiy'
Cl Contingeni
El unliquidated
1630 E. 5th Sti'eet El Disputed
Brooklyn, New York 11230
Basis tor the ctaim: R€m
Date or dates debt was incurred !x-§lthe claim Subiect to °“Set?
NO
Last 4 digits of account number _ _ _ _ El Ves
44 . . . , . ,
3 m Noripriority creditor s name and mailing address AS of me petition filing dam me claim is: $31|936'14
Elmont Associates | LLC Chec"‘ 3"' iha’app’i"
§ Ccnt§ngenl
, Unli uidated
414 iiam Si g Diquuted
Poi‘t detferson, New York 117?7
Basis for the claim: Rei’it
Date or dates debt was incurred -thNE claim subject w offset?
G
Last 4 digits of account number __ ___ ___ ___ |;l Y@s
3.;4_ Nonpricrity creditor's name and mailing address _ . _ . . .
As of the petition filing date, the claim is: 13’905_03
Estes Company, Clifford W Che€f< ali fharappfy- $
g Conlingeni
Unl§quidated
P.O. BOX 11559 m Disputed
Newari<, New Jersey 07101
Basis for the claim: GGOGS HWW“ i__.“
Date or dates debt Was incurred mum_m___m__ ______ IXS]the C|aim Subiect to offset?
NO
Last 4 digits ot account number W ,q f ,i l;l YES
3.§_6 Nonpi'ioi‘ity creditor’s name and mailing address _ _ _ _ _ _
. As of the petition filing date, the claim is: $76’816_23

 

Cl'ieck all that apply.

 

27 Federal Plaza

[;l Coniingent
E] unziquidaied
l;l Disptited

 

BloomHeld, New Jersey 07003

 

Date or dates debt was incurred

Last 4 digits of account number

 

Olficia| Form 206E/F

Basis for the ciaim: §0___£1{_3!§_

ls the ctaim subject to otfset?
X] No
El Yes

Schedule Ele Creditors Who Have Unsecured Ciaims

 

page 19 of §§

Deblor

 

'CaSe 8'-'19-72292-l’eg DOC 1 Filed 03/28/19' Ent€l’ed 03/28/19 17238§44

Petland Discounts, lnc.

Nnmo

Additional Page

351 Nonpriority creditor’s name and maiting address

Fair interiors

71~03 8th Street

 

Gienciaie, New York t1385

 

Date or dates debt was incurred

Last 4 digits of account number

Case number illlcmwni

As of the petition filing date, the claim is:

Check all that apply.

Cl Contingent

Cl Unliquidated

a Disputed

cl quuldated and neither contingent nor
disputed

_ amount ot claim

$49,615.08

 

Basis for the claim: Belfil____________.__

ls the claim subject to offset?

fl No
l:l Yes

 

 

3.4_;§ Nclnpriority creditor’s name and mailing address

 

Fauna Food Corporailon

50»10 Kneeiand Street

 

E|mhul‘st, New York 11373

 

Date or dates debt was incurred

Last 4 digits of account number

3.49 Nonpriority creditcr’s name and mailing address

Four Paws Products, Ltcl.

 

62552 Coliectl`ons Ctr Dr

 

chicago, illinois 60693

 

Date or dates debt was incurred

i_ast 4 digits ot account number

As of the petition tiiing datel the claim is:
Checlr all that apply.

m Contingeni

l:l Unliquidated

m Disputed

Basis tor the ciaim: GOOdS

ls the claim subiect to oifset?

ill\lo

a Yes

$19’1,816.07

 

 

As of the petition filing date, the claim is:
C."leclc all that apply.

l:l Contingent

l:l Unligiiidated

l:l Disputed

Basis for the claim: GOOC|S

ls the claim subject to offsef?
m No
l;l Yes

 

Nonpriority creditor’s name and mailing address
Francmen 1127 LLC

 

141 Ayers Court

 

Teaneck, New dorsey 07666

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

Officia| Form 206El'F

Nonr;crlority creditor;s¢i:iame and mailing addressm
G & l_ Building Corp.

 

PO Box3110

 

Sag Harbor, New York 11963

 

Date or dates debt was incurred

Last 4 digits of account number

As of the petition tiiing date, the claim is:
Glieck all that apply.

i:l Contingent

Cl unliquidated

Cl Disputed

Basis for the claim: M

ls the claim sub§ect to oftset?
X] Nn
l:l Yes

As of the petition filing date, the claim is:
Check all that apply.

|;l Contingent

lZl snllqulclaleci

ij Dispi.lted

Basis for the ciaim: M__

ts the claim subject to oftset?
m No
l;l Yes

 

 

Schedule Ele Creditors Who Have Unsecured Ctaims

$256,442 .23

 

$25,785.49

 

$29,888.60

 

 

 

"Case 8`-19-72292-re`g DOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44

Debmr Petiand illiscounts1 lnc.

Case number (lilmdwni

 

Name

additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Hartz l\/lountaln Corp

 

14971 Coilection Centr Dr

 

Chicago, illinois 60693

 

Date or dates debt was incurred

Last 4 digits of account number

 

Otlicla| Form 2068/li

Cl)eck all that apply.
i;l Contingent
l:l Un|iquidaled
ft D§sputed

Basis for tire claim: GOOdS

ls the claim subject to offset?
m No
El Yes

Schedule EIF: Creditors Who Have Unsecured Claims

 

 

 

 

Amoi.mt ot claim
3.§2 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is:
G d T . f F. h Checli all that apply $16'492'6'E
El' €i'l i”ODlCB lS n Comingem
g unliquidated
. Dispuled
20 Seietar Wes§ F"-mway 2 cl Liquidated and neither contingent nor
Singapore, Repub|ic, 798099 disputed
Basis for the ciairn: figst
Date or dates debt was incurred lislthe claim Subiect to °HSEt?
NO
Last 4 digits of account number “_ g j j E| Yes
3,§ Nonpriority creditor’s name and mailing address _ . . . .
As of the petition filing date, the claim is: 8’993_36
Greenies Cl'leck all-that apply. $
m Contlngent
_ L_.l Unliquidated
1550 West iVlcEwen Dnve |;\ Disputed
Frarli<iirl, Terinessee 37067
Basis for the ciaim: GUOdS
Date or dates debt was incurred Bthe ciaim s“bie°t to °ffset?
' NO
Last 4 digits of account number j j j j l:l yes
.54 Non rioth creditor’s name and ma'l'n ddr W n v v m
3 _ 9 y l l g a ess As of the petition fiiing date, the ciaim is: $9 886_85
Hartz Mountain Corp ChECk all that apply
§ Coniingent
. Un|iquidated
14971 Coliectlon Centr Dr ij Disputed
Cbicago, |llinois 60693
Basis fortna claim: GOOdS
Date or dates debt was incurred lime claim 5"'!:'|"5’°t t° °ffset?
No
Last 4 digits of account number _ _ _ _ l;| YBS
§ Nonpriority creditor’s name and mailing address _ _ 7 7 7 7 jm~m"m
As of the petition fiiing date, the ciairn is: $20 033_95
Hal‘tz Mountairi Corp check all that apply_ ’
§ Contingent
. unliquidated
14971 Coi|ectlon Centr Dr 3 Disput€d
Cl'iicago, llilrlol's 60693
Basis for ttie claim: §9_9§5
Date or dates debt was incurred lxs]me C'aim Sublec" to °ffset?
No
Last 4 digits of account number m w w__ _m l;l Yes
3.§§| Nonpriority creditor’s name and mailing address _ n unum m imm mm l
As of the petition filing date, the claim is: $5 547 50 i
t ' l
l

pace 12 of ,,3§

" CaS€l 8-19-72292-l’€g

Petiand Discounts, lnc.

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m Additionai page

Deblor

 

 

 

 

Case number lirl¢mwni

 
 

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Hayward, Caiifornia 94545

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and mailing address

Hi|l's Pet Nutrition inc

 

P.O. BOX 842257

 

Daifas, Texas 75284

 

Date or dates debt was incurred

Last 4 digits of account number

3.6_§ Nonpriority creditor’s name and mailing address
!|ene Realty LLC

 

96 lndiana Place

 

erooi<lyn, New york 11234

 

Date or dates debt was incurred
Last 4 digits of account number
3.§ Nonpriority creditor’s name and mailing address

imperial Ster|irlg E..td

 

1040 Avenue of the Americas

 

New Yori<, New York 10018

 

 

Date or dates debt was incurred

t Last 4 digits of account number

rt _.._.._... . i…

Olficia| Form 206E/F

 

Basis for the claim: Goods

ls the claim subject to offset?

il No
El Yes

As of the petition filing date, the claim is:

$253,298.09

Amount ct claim
3.5_7 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is:
H k ~ & C check all mar apply 331.343-93
9 em|an O' l;l Contingent
lIl unliquidated
§ m Displ.lted
l p0 BOX 667 l:| Liquidatecl and neither contingent nor
Hackensack, New Jersey 07602 diSPLH€Cl
Basis for the claim: BEDI_ ________
Date or dates debt was incurred lime ciaim Subie°t to °ffset?
No
Last 4 digits ct account number _ _ _ _ l;| yes
3.§§ Nonpriority creditor’s name and mailing address , , , _ _ ,
As of the petition filing date, the claim is: $9,555.28
Hil<ari Saies Usa lnc. Check a”,ma’ apply
ij Contlngent
L:i Un|ic;uidate~d
2804 l\liccone Avenue l;f D§sputed

 

 

Check all that apple
El Contingent
El Uniiquidated
El oispuiec

Basis for the claim: Goods

is the claim subject to offset?
No

n Yes

As of the petition filing date, the claim is: $31’467_00

 

Clleclr all that apply.
l:l Contingent
m Un|iquidated
l;l Disptlted

Basis for the claim:RE_m_

ls the claim subject to oftset?

X] No
ft Yes

As of the petition filing date, the claim is:

$33,092.86

 

 

Check all that apply.
l;l Contingent
ct Un|iquidated
El Dlspl.lted

Basis for the claim: MH

ls the claim subject to ottset‘?
X] No
il Yes

Schedule E/F: Creditors Who Have Unsecured Claims

u...s .-»~HM......._.._.... .__.._____.____. .\.,. . `.., .l..“

pace 13 of §

Case 8-19-72292`-reg 'Doc 1 " Filed 03/28/19 Entered `03/28/19 17:`38:44"

Debior Petiand Discounts, lnc.

Case number iiiimuwni

 

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3.§2 Nonpriority creditor's name and mailing address

 

 

 

 

 

 

 

 

As of the petition fiiing date, the claim is:

mandates i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

K.J.i_. Rea|ty Co.

 

PO Box 350062'

 

Jamaica, i\iew York 11435

 

Date or dates debt was incurred

 

Last 4 digits of account number

 

 

J & S T n Check afl that appiy. 5538'850'00
e erman l;l Contingent
|;l Un|iquidated
1 1 C fl L n Disputed
cme uw@r ane El Liquidated and neither contingent nor
West Windsor, New Jersey 08550 disputed
Basis for the claim: Eer}f
Date or dates debt was incurred lime claim Sub§e°t to °"set?
No
Last 4 digits of account number _ _ _ _ El Yes
.63 Non r'or't c dtri;ameand ma'l'n address
3 _' p l l y re l 0 s 7 l l g As of the petition filing date, the claim is: $31'510_93
J.lVl. Srnucker Company Che°k 3”,”’3’ appjy'
Cl Contingent
E.\ unliquidated
39198 Treasury Center D gisputed
Chicago, iiiinois 60694
Basis for the claim: GOOdS
Date or dates debt was incurred lime claim Subie°t to °ifset?
No
_Last 4 digits of account number _ __ ___ __ m yes
64 .' . "`"`.`"`""‘,“ . . """"
3._ Nonprlorlty creditor s name and mailing address As of the petition ming dam the claim is: 55,120.25
Lieiirey Mariagement Co. C"'€Ck aff mm élil’P"J/~ $
g Contingent
Unliquidated
PO BOX 3096 n Dispmed
|-iicks\riiie, New York 11802
Basis for the ciaim: RB!’!'E
Date or dates debt was incurred is the dam Subiec" to °ffset?
NO
§ Last 4 digits of account number j j j j Cl Yes
3.6 Non¢ riorit creditor’s name and maiiinwaddress …mm mm m m n
"* p y g As of the petition iiiing date, the claim is: 13’134_36
Jerry S. Fisraman Trusi Check aii mar appiy_ $
§ Contingeni
Uniiquic|ated
8200 Narrows Avenue a D§Spmed
Brooi<iyn, New York 11209
Basis for the claim: Rem w
Date or dates debt was incurred lxs]me c¢aim Suhiect to offset?
No
Last 4 digits of account number _ _ _ _ El Yes
3.§§ Nonpriority creditor’s name and mailing address _ _ . . . .
As of the petition filing date, the claim is: $25,576_61

 

Check ali that appfy.
Cl Contingent
m Uniiquidateci
3 Disputed

Basis for the ciaim: R@m

ls the claim subiect to offset?
X] No
Cl Yes

 

Officia§ Form ZUGE/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Case 8-19-72292-reg " DOC 1` Filed 03/28/19 lEntered 03/28/19 17:38:44

Debmr Petland Discounts, lnc.

 

Name

  

Additional Page

 

PO Box 9020
Hioksviile, i\iew Yor|< 11802

Date or dates debt was incurred

Last 4 digits of account number

 

3.§1} Nonpriority creditor's name and mailing address
Kauiman i\/|anaqement Co.

 

Check ali that apply.
ij Contingent
lift unliquidated
El Disputed

disputed

Case number iiiitnownl

 

 

 

As of the petition iiiing date, the claim is:

El Liqui`dated and neither contingent nor

$26,102_33

 

Basis for the claim: M__

ls the claim subject to oftset'?

mm.__.m.._m"__~__m____ m NO
___ ___ ____ ____ n Yes

 

 

 

3.@ Nonpriority creditor’s name and mailing address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Kong Company

 

Check ali that apply.

 

161910 Tabie Mountain Pkw

i;l Coritingeni
i;l Unliquidated
[;l Dis;)uied

 

Go|den, Colorado 80403

 

Date or dates debt was incurred

Last 4 digits of account number

 

ls the claim subject to offset?
m No
____ ____ w we n Yes

Basis for the claim: M____m

 

As of the petition tiling date, the claim is: $61 1571_03
Kaytee Pmducts Check ail.ihai appiy.
n Contlngent
_ _ El unzlquldateti
7215 Coi|ectlon Drlve ill Dtsputed
Chicago, illinois 60693
Basis for the claim: GOOdS
Date or dates debt was incurred Ethe °Eaim S“bie°t t° °HS'H?
No
Last 4 digits of account number ____ ____ _m wm El Yes
3_69 Non riorit creditor's name and mailin address …M ''''''
_ p y g As of the petition filing date, the claim is: 16 133 76
Kem Pet Gmup Check all that apply $ ’ -
g Contingsnt
unliquidated
27452 Network Place E| Disputed
Chicago, i|iinois 60673 '
Basis tot the claim:GGOdS
Date or dates debt was incurred ___ is the dam Subje°t to onset?
No
Last 4 digits of account number j j j j Ei Yes
3.1 Nonpriority creditor’s name and mailing address _ . - . . -w .
l As of the petition filing date, the claim is: 6,394_33
K|Op Nlill BBSii'i l_P Check ali fhatapply. $
g Corttingeni
Un|iquidated
P.O. Box 6208 n Dis;wted
Hicksvi|ie, New Yori< 11802
Basis for the claim: Rem m_m_____
Date or dates debt was incurred Hm lxs]the claim gubje°t w °ifset?
No
Last 4 digits of account number _ _ _ _ i;i Yes
3,_7_1 Nonpriority creditor’s name and mailing address . . . . WWWW .W“ MM
As of the petition filing date, the claim is: $20’05(]_29

 

 

 

Oiiicial Form EGSE/F

Schedule EIF: Creditors Who Have Unsecured Claims

 

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Debmr Petland Discounts, lnc. case numbernitnuwn

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Case 8-19-72292-|’€9" DOC 1 Filed 03/28/19 " Entel"e'd 03/28/19 17238:4'4

 

Name

 

 

 

 

 
 

 

 

 

Amount oil claim

 

 

 

Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is:
. check ali inatapply. $75'534~49
La Guardla Ctr Rea|ty t_LC n Commgem
El Un|iquidated
El Disputed

43_02 Ditmars B|Vd m Li'guidated and neither contingent nor
Astoria, New York 1 1105 disputed

Basis tor the ciaim: BBDL________"W

ls the claim subject to offset‘?
il No '
_e ¥ _e 4 g \’es

 

 

'Date or dates debt was incurred

Last 4 digits ot account number

 

Non riorit creditor's name and mailin address
p y g As of the petition filing date, the claim is: $46,189_9[]

 

Check all that apply.
13 Contingertt

£3 un:lduidated
86-47 l\/larengo Street Et Disputed

Ho||iswood, New Yorl< 11423

Lawnside Realty Corp.

 

 

 

Basis for the claim: Rent

ls the claim subject to oitset?
x_-l No
j j j j n Yes

Date or dates debt was incurred _____________

Last 4 digits of account number

Nonpriority creditor’s name and mailing address . . . . . .
As ot the petition tiiing date, the claim is: $6,875_48

 

 

Leeis Aquarium Check allthatapply.
§ Contingent
Un|iquidated
P.O. BOX 186 El Disputed

 

San ivlarcos, California 92079

 

Basis for the claim: GOOCiS

Date or dates debt Was incurred is the claim S“bie°t t° °"Set?

 

 

 

 

 

 

 

No
Last 4 digits ot account number _ _ _ _ E| Yes
3._7__ Nonpriority creditcr’s name and mailing address _ _ _ _ , ,
As of the petition iliing date, the claim is: $23’300_00
Lenmort Realiy Corp Check all that apply-
El Contirtgent
. Un|iquidated
1950 Third Avenue m Disputed
New York, New York 10029
Basis for the claim: Rem m,_
Date Or dates debt was incurred |Xs]‘he claim subject to offsei?
NO
Last 4 digits of account number w _M “_ a Q Yes
3 76 Norlpriorit;r creditci"s name and mailing address

As of the petition filing date, the claim is: $62}900_00

 

 

Lori Zee Corp. Cnecit air mar appiy.
n Contingent
2270 Broadway g gg;:i;:;i§f@d

 

New York, New York 10024

 

Basis for the ciaim: M___._“

ls the claim subject to ottset?
X} No
j j j j 3 Yes

Date or dates debt was incurred

Last 4 digits of account number

Ofticial Form EOBE/F Schedule EIF: Creditors Who Have Unsecured C|aims

 

naue16 of 36

 

Case 8-19-72292-|’€`@ DOC'J_ Filed 03'/28/19' Entered 03/28/19'172382'44

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Ait.titi_-iii.<j>i`i:_tam'

 

 

 

 

 

 

 

 

 

 

 

3.7_7 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 1 100 7
M J M . l Check all that apply. $4 l ' 6
.. altiri&$on nc. m Commgem
§ uniiquidated
2910 Exierlor street D*Sp‘“ed

ft Liquidated and neither contingent nor
New Yori<, New Voik 10463 disputed

Basis for the claim: Eg[if

 

Date or dates debt was incurred '5 the °Eaim sub§e°t w °ffset?

 

 

 

 

m No
Last 4 digits of account number _ _ 4 ___ El Yes
73 Ncn r`or't cred'tor’s name and mailin address
3'"” p ' l y ' g ns of the petition filing date, the claim is: 6 170_72
MAJ Check all that apply. $ ’

n Contingent
v _ |Il unliquidated
303 Wlndlng Road El Dlepuied

Oid Betnpage, New York 11804

 

 

 

Basis for the claim: LQ_SWWWW

ls the claim subject to ottset?
il i\lo
j j j j m Yes

Date or dates debt was incurred

Last 4 digits ot account number

 

.79 iii ' 't ' ' 'l' dd
3 ““““ onprmn y creditor s name and mal mg a ress As of the petition filing date, the claim is: $48]943'88

i\ilattoiie Gioup Springnex Ch€€k aff that apply-
i;] Contingent

fl u t‘ 'd d
134-01 20th Avenue El Di;,;?nl:e:te

Co||ege Point, New Yol'k 11356

 

 

 

 

Basis for ti'ie claim: Reii’£

Date or dates debt was incurred is the °Eaim S"'biect m 0"991?

 

 

 

No
Last 4 digits of account number ____ ___ ___ ____ l:l Ves
3.8_ Nonpriority creditor’s name and mailing address _ _ _ _ _ _
As of the petition filing date, the claim is: 161295_43
lviedierd Equitiee chart al tier apply $
|:l Contingent
. l:l Un|iquidated
414 i\/!alrl St El olepuied

 

Pt Jeiferson, New Yor|< 11777

 

Basis for tiie claim: B§_"_‘I_

ls the claim subject to offset?

____.____.___.___.__.___._. m NO
__ __ ___ __ ill res

Date or dates debt was incurred

Last 4 digits of account number

3.8'1 Non riorit creditor’s name and mailin address
p y g As ot the petition tillng date, the claim is: $361103_42

 

 

i\/|l'ddie \H||age Associates wreck ali mar apply
ct Contlngent

95 l=roenilen i=erm and iii Unltciutciate<l
ij Disptited

 

Woodbury, New York 11797

 

Basis tot' the claim: B§E£

ls the claim subject to oftset?

m No
Last 4 digits of account number j j j j El Yes

Date or dates debt was incurred

 

 

t ..… _ _.__, .` _. .._......~..,.._d__ ._._.__..________._____,____ _ .~.._.__~..,,4.`_., ................. _.....

Oiiicial Form 206E/F schedule EIF: creditors who Have unsecured ciaims page 17 ot §

 

Case 8-19-72`292-re'g

Petland Discounts, lnc.

NamE

m meets ease

Debtor

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Case number iiiirnrlwnl

 

 
 

 

 

 

iitiieurn steam '

 

3_§2 Nonpriority creditor's name and mailing address
l\ilidyaii Gate Realty #2 LLC

 

15 Ocean Avenue
Brooi<lyn, New York 1 1225

 

Date or dates debt was incurred

Last 4 digits ot account number

As of the petition filing date, the claim is:

Clieck all that apply.

m Contingent

El unliquidated

L__i Dieputed

Ci Liqtiidated and neither contingent nor
disputed

Basis for the claim: Bent

ls the claim subject to ottset?

il No
l;l Yes

$18,494_16

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

New York Stale Department of Labor

.83N i‘t d‘t' ' d ‘l‘ rid
3 _ onpr on y ore f or s name an mal mg a mss As of the petition filing date, the claim is: 2 520_17
Mirac|ecorp gear aritneteppiy_ 3 '
Contingent
n Un|iquidated
P.O. BOX 18052 l;l Disputed
Fail'fl`eid, OhiO 45018
Basis for the claim: GOOdS
Date or dates debt was incurred :L§|the claim S“bie°! to °"Sei?
i\lo
Last 4 digits of account number _ _ _ _ E| yes
84 . . . , . .
3._‘ Nonpriorlty creditor s name and mailing address AS of the patmon wing date, the dam is: 16 891'75
NEPCO Check all that apply. $ ’
g Contingent
Unli uidated
P.o. sex 93 g Dis§med
Warrensburg, New York 12885
Basis for ttie claim: GOOC|S m
Date or dates debt was incurred 15 mg claim Subie°t t° °HSH?
0
Last 4 digits of account number __ ____ ____ ____ l;i Yes
3_§§ Nonpriority creditor’s name and mailing address _ _ _ _ , ,
As of the petition filing date, the claim is: 4’795_02
New Jersey Department of Labor Gheci< air theraple $
l:l Contingent
Unemployment insurance Division 1 Jo`hn Fith P|aza g gi';;ll:;;j;ted
Trenton, New Jei’sey 08611
Basis for the claim: See Httachmem 2
Date or dates debt was incurred _____ ___ lxs]the C;aim S“bje°t t° °ffset?
NO
Last 4 digits or account number __ ___ ___ ___ E| ties
3136 Non riorit creditor’s”n~a”me and mailin address ''''' w
jj p y g As ot the petition filing date, the claim is: $55.503_23

 

Unemp|oyment insurance Division P.O. Box15130

 

Albany, New York 12212~5130

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

Check all that apply.
m Gontingent
C] Uniiquidated
i;l Disputed

Basis for the claim:

ls the claim subject to offset?
m No
l;l Yes

 

 

 

Ol'licial Form 206E/l'-'

. Schedule Ele Creditors Who Have Unsecured C|aims

cage la of 35

 

lCase 8-19-72292-r€g DO`C 1 Filed 0'3/28/1'9 Entéred 03/28/19 17238:44

gebm, Petland Discounts, lnc.

Case number irri<nowni

 

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Oster Yorktowri Properties

 

429 Syivan Avenue

 

Engiewood C|iffs, New Jersey 07632

 

Date or dates debt was incurred

 

Last 4 digits of account number

Otficia| Form 206E/F

\;l Ves

 

jtr_nount_cf`ct_atn"i .
_ 3.8_7 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 7 103 ,I 1
' N reh . P t Check ali that appiy. $ 1 ‘
o Amencan e El Contirigent
g unliquidated
. Dis;Juted
450 North Shendan Street n Liquidated and neither contingent nor
Corcna, Catifcrnia 92880 disputed
Basis for the claim: (,`-Lc>_Qt;l,;=,__m
Date or dates debt was incurred IES|the claim Subie°t to °#Set?
NO
Last 4 digits of account number j j j j El Yes
3.88 N ' 'i d't ' d 'r da
~ onp“on y ore 1 or 5 name an mai mg a mss As of the petition tiiing date, the claim is: $12 935_20
Oheck atf that appl_i,/. '
Nosirand Pro e Owner
p ny m Contingeni
Cl unliquidated
PO BOX 76342 9 Disputed
Ba|timore, N|ary|and 21275
Basis for the claim: R€m
Date or dates debt was incurred Ethe claim subie°! to °ffset?
NO
Last 4 digits of account number m m __m m El yes
89 mm . . , m
3.j Nonpriority creditor s name and mailing address As of the patmon wing date, the claim is: 107 840-60
NY Cornmunicaiion Ctr l_P C"i@€k "=`” mar "=`PPW- $
g Contingerit
_ Unli uidated
825 Eighih Ave g Diquuted
New York, New York 10019
- Basis for the claim: Rei`lf Wm __ __
Date or dates debt was incurred mm ___m___ m lime claim S“biect w °"59*?
No
Last 4 digits of account number _ _ _ _ El Yes
3._9_q Nonpriority creditor’s name and mailing address _ _ , _ , ,
As of ti'ie petition filing date, the claim is: 51090_(]0
NYC Dept. Of Finance Check att that app!y_ $
§ Contingent
Un|iquidated
P.O. BOX 29021 m Dispu¥ed
Brooklyn, New York 11202 _
Basis for the claim: §§L'\_{|_C€S
Date or dates debt was incurred lxs]th; ciaim Subie°t to °"Set?
. o
1 Last 4 digits of account number j j j j \:l Yes
3.9_1{ Non;iriorlty creditor’s name and mailing address _ _ _ _ _ _
As of the petition tiiing date, the claim is: $32,359_33

 

Check atf that apply
L_.l Ccntingent
ij uniiqu§ciaiea
[l Disputed

Basis for the claim: _RFm

is the claim subject to offset?

X]Ni)

Schedule Ell'-': Creditors Who Have Unsecured C|aims

 

cade 19 of 36

 

"CaSe 8-19-72292-'reg DOC 1 Filed 03/28/19 Eriiered 03/28/19 17238:44

Debfor Petland Discounts, lnc.

Case number [irknowni

 

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'Am`ounl _cri claim .-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oiiiciai Form EOGE/F

3.§_3_2 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is:
0 P t Check ali that apply. $9’970'88
uf 9 3 EI Contingent
g unliquidated
Dis;:iuied
1300 EaSl Streel ill Liquidated and neither contingent nor
Fairpoi't Harbor, Ohio 44077 dispui@d
Basis for the claim: figgng m
Date or dates debt was incurred Elhe claim Subiect to °"Set?
No
Last 4 digits of account number m ___ _ ___ E Y@s
3.93 Nori riorit creditor’s name and mailin address
M p y g As ot the petition titng date, the claim is: $@,037_47
Paradigm Maiketing Erit Che°k all.thalapply`
\;l Contmgent
_ , lIl unliquidated
350 M!Chae§ Drlve n Disputed
Syosset, New York 11791
Basis for the claim: GOOdS
Date or dates debt was incurred lislthe claim Subie°t to °Hset?
No
Last 4 digits of account number j j j j |;l Ves
94 N ' `t cf`t ’ d `l' dd ''''' Mm… W”W
3"_ onpnor' y ore l or s name an mal mg a ress As of the petition filing date, the claim is: $26'255.00
Paramourit Property ngmt. Ch‘?"k 3” that €PP'Y-
E Contingerit
Uniiquidated
P.O. BOX 8685 § Disputed
Elizabeth, New Jersey 07208
Basis for the ciaim: Rent v
Date or dates debt was incurred ls the claim S“bie°t to °flset?
No
Last 4 digits of account number ____ _m_` _m_ ___ L__l Yes
3._5_3_ Nonpriority creditor's name and mailing address _ _ _ _
As of the petition filing date, the claim is: gi33,434.10
Paramount Property Mgmt. Check an mar appiy_
g Corztingem
Un|iquidated
2 Sylvan Way n Disputed
Parsippany, New Jersey 07054
Basis for the claim: Rent
Date or dates debt was incurred __m_m__ le}{he claim Subject to °ffset?
No
Last 4 digits of account number ___ ____ ____ ____ U Yes
S.Y Nonpi'iority creditor’s name and mailing address _ _ . _ _ _ lllllllllllllllllllll
. As of the petition filing date, the claim is: $2»1'235_0{)
Paramount Property l\/lgmt. Check air mar appiy_
|;l Contingenl
p_O_ Box El Un|iquidated
8685 El Disputed
Eiizabeth, New Jersey 07208
Basis for the ciaim: Renf ___
Date or dates debt was incurred lXS}lhe claim Subiect m °"Sel?
NO
Last 4 digits of account number j j j j 3 Yes

 

Schedule EIF: Creditors Who Have Unsecured C|aims

 

 

name 20 of 36

 

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|HH Additional Page

 

 

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" Case 8-19-`72292'-'reg

Petland Discounts, inc.

DOC 1 Filed'03/28/19 Eiitel’ed 03/28/19 17:38:44 "

Case number iiilmowiil

 

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority creditor’s name and mailing address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

As of the petition filing date, the claim is:

 

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Oiticial Form 2GSE/F

Pergament Nla|l Of Staten island

 

95 Froeblicb Fairn B|vd.

 

Woodbury, New York ‘l 1797

 

Date or dates debt was incurred

Last 4 digits of account number

 

_ Checl< all mar apply s271950-22
Park Tysen Assoclates LLC m Comingem
cl Unliquidated
. . El Disputed
255 Execliilve Drlve l;l l_iquidated and neither contingent nor
P|ainvlew, New York l 1803 disputed
Basis for the ciaim: gent Wm___
Date or dates debt was incurred Eihe claim Subieci i° °iisei?
No
Last 4 digits ot account number k gm m mo ft Yes
3.93 Non riorit creditor’s name and maiiin address
m p y g As of the petition filing date, the claim is: $9’959,04
Pawz Dog Boots LLC Check alllthal apply.
l;l Contlngent
n Un|iquidated
209 111;'] Street n Dispr_ited
Brook|yn, New York 11215
Basis for the claim: GCOdS
Date or dates debt was incurred Eihe claim S“bie°i i° °iisei?
No
Last 4 digits ot account number ___ __ _ _ [| yes
B.M onprionty creditor s name and mailing address As of me petition filing date, the claim is: $21 716_46
Peninsu|a Centei” LLC Gheck a” mal €='PPW-
§ Contlngent
_ Unli uidated
151 irving Place g Dis;iuled
Woodmere, New Yor|< 11598
Basis for the claim: R€ilf
Date or dates debt was incurred ___ live Ciaim S“bleci i° °ffset?
' No
Last 4 digits of account number _ _ ___ __ El res
3.§ Nanlel'ify CredifDF’S name and mailing address _ _ iiv imi‘_MWW-N“m minimum md n o mi v mm
As of the petition fliing date, the claim is: 60 187_64
Pel`ln P|ax lnc. Check all lhatapply. $ '
§ Contingeni
Un|iquidated
PO Box 844592 n Dispmed
Boston, Massacnusetts 02284
Basis for me claim:GOOdS
Date or dates debt was incurred __Www ixs]ihe claim eubie°i i° °iisei?
NO
Last 4 digits of account number j j j se l;l Yes
3.§§){ Nonpriority creditor’s name and mailing address _ _ _ _ im iiiiiiiiiiiiiiiiiiiii
_ As of the petition filing date, the claim is: $29|134_66

 

Checlr all that apply.
El Contingent
El unliquidated
l:.l Dispuied

Basis for the claim: Rent

is the claim subject to offset?
m No
\:l Yes

Schedule EIF: Creditors Who Have Unsecured C|aims

 

oace21 ot 35

 

" Case 8-19472292-reg ‘Doc 1 Filed 03/28/19 Entered 03/28`/19 17':38:44"

Demor Petiand Discounts, lnc.

Case number (iii<nowni

 

 

N I!'¥\G‘

Additionaf Page

 

 

 

 

3.5_§' Nonpriority creditor’s name and mailing address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

adam at dam

 

 

 

 

 

 

 

 

 

 

AS of the petition filing date, the claim is:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Petmatrix

 

32854 Collect'lon Cntr Dr

 

Chicago, lilinois 60693

 

Date or dates debt was incurred

Last 4 digits oi account number

 

Oiiic`ia| Form ZOSE/F

Check ali that appl'y.
El Contingent
El unliquidated
El Disputed

Basis for ti'ie ciaim: GODCIS

ls the claim subject to offset?
K] No
ill Yes

Schedule EIF: Creditors Who Have Unsecured Claims

P t l Check aft that apply. $6’960'96
9 AQ nc' l:l Contingent
ill unliquidale
l;l Disputed
P-O' Box 505258 n Liquidated and neither contingent nor
si. Lodis, Missouri 63150 disputed
Basis for ti'ie ciaim: G_Qgi;i§_
Date or dates debt was incurred |ZSlthe ciaim S“bje°t to offset?
No
Last 4 digits ot account number _ _ _ _ l;l Yeg,
Se» ' ' ' ' 'i` mudd - -
3.j Ncinpriority creditor s name and mai ing a rees AS of the petition filing date, the claim is: $6 305-41
Check ali that appl'y. ’
P@t Factow El Contingerit
o l:l Un|iquidated
845 E. i-|igl'l Street n Disputed
Nlundeiein, li|inois 60060
Basis for the claim: GGOGS
Date or dates debt was incurred ____-..m Eth: claim Subiect 10 offset?
0
Last 4 digits of account number ___ ___ __ _ l;l Ves
S ` . . . , . . 'MW'W- n v
3._ Nonpriority creditor s name and mailing address AS of me petition ming date, the claim is: 10 286-40
Pet Qwerks giant ali mar apply $ ’
Contingent
_ El unliquidated
9 Studebaker Drive ij gispu;ed
|rvine, Ca|ifornia 92618
Basis for the ciaim:GOOCiS
Date or dates debt was incurred ___________________ _ §:h: ciaim Subject to offset?
o
Last 4 digits of account number j j j j g Yes
_s "`ii$}i"'"i'i§§l'i"£}" §-i"}?;i"i;ii`~'.§§iii&"i}.aiiin address … W `""" ` ` `
§ p y e l o g As of the petition iiiing date, the claim is: $18,338_72
Peter Enterprises l_TD gear ali trial appiy_
Contingent
' L:i Unliquidated
1468 Mid|and Ave L-_i Disputed
Bronxvilie, New Yorl< 10?'08
Basis for the ciaim: §§I\E______ mmmm
Date or dates debt was incurred game ciaim Subject to offsei?
No
Last 4 digits ot account number _ _ _ _ l;l Yes
3.§ Non riorit creditor's name and mailin address
"'" p y g As of the petition filing date, the claim is: $10'551_02

 

 

pace 23 Oi §

Case 8-19-7229'2-reg "Doc 1 Filed 03/28/19 'Entered 03/28/19 1'7:38:44`

Debmr Petland Discounts, lnc.

Case numberiirknowm

 

Name

Additional Page

' tdwiitiit_ aim

 

3.§§' Nonpriority creditor’s name and maiiirig address

 

 

 

As of the petition filing date, the claim is:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pitiock Reaity Corp

 

59‘i Stewart Ave

 

Garden City, New Yorl< 11530

 

Date or dates debt was incurred

Last 4 digits of account number

 

Ol'ficial Form ZOGE/F

Cl Yes

l Ctieck ali thai appi'y. $12'523'98
Pet N SbapelPet Ventures n Comingen€
g unliquidated
. Disputed
8155 Lankershim Bin El liquidated and neither contingent nor
Nortii Ho|§ywood, Caiifornia 91605 disputed
Basis for the claim: fitzst
Date or dates debt was incurred Ethe ciaim S“biect to °ffset?
No
Last 4 digits of account number _ _ _ _ Cl Yes
.Se- Non r'or't v ` ’ m l|l dd s
3 _* p j l y creditor s name and mal mg a res As of the petition filing date, the ciaim is: $20’274_12
Pets international Lid Check a”_mar appfy'
[l Contirigent
, , Cl Un§iquidated
7215 Coi|ectlori Drive El Dispuied
Chicago, illinois 60693
Basis for the ciaim: GOOdS
Date or dates debt was incurred seem !x_§lthe claim Subie°t t° °ffset?
NO
Last 4 digits of account number _ _ _ ___ El \tes
5 !N ." d.t , ..
3____ onpriority ore i or s name and mailing address AS of the petition filing date, the claim is: $368]152_34
Pbiliips Pet Food&$upp|y Chf=*df atf that HPPW-
U Contingerit
Unli uidated
3747 Hecktown Rcad ij Disp[ined
Easton, Pennsyivania 18045
Basis for the ciaim: GOQdS
Date or dates debt was incurred mae is the ciaim subject t° °ffset?
No
Last 4 digits of account number M % j j ij Yes
3.§§ Nonprioi'ity creditor’s name and mailing address _ _ , _ _ _
As of the petition illing date, the claim is: 13_52
Pipsqueak Productions check ali mar appiy. $
g Coritingent
Un|iquidated
817 i-iancock l~ny/P.O. 1005 n Disputed
l-lonesda|e, Pennsyivania 18431 _
Basis for the claim:GOOd‘-"'
Date or dates debt was incurred lxs]the claim Subject to °;fset?
No
Last 4 digits of account number m _ _ _ Cl Yes
3.§_§ Nonpriority creditor's name and mailing address , _ _ , _ _
As of the petition titlng date, the claim is: $32|273_94

 

Check atl that apply.
Cl Ci)ntingent
L:l Un|iquldated
ill Dispeled

Basis for the ciaim: R€dl

ls the claim subiect to oifset?
X] No

 

Schedule EIF: Creditors Who Have Unsecured C|aims

 

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Case 8-19-72292-reg " DOC 1 Filed 03/28/19 `Entered 03/28/19 17:38:4`4'

Petland Discounts, lnc.

Name

Additional rage

Debtor

 

 

 

 

 

 

 

 

 

Case number (i.'i<nawni

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim
3.“3_§' Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 1 4
P P P t Check air mar appw. $ 3»03 59
revue et reducts nc. m Commgem
g Un|iquidated
Disputed
2973 Momenlum Place l;l Liquidated and neither contingent nor
Chicago, illinois 60689 disputed
Basis for the claim: M
Date or dates debt was incurred lime claim Subje°t to °lfset?
No
Last 4 digits ot account number _ _ _ _ E| \res
.Sj\ N ' ‘t d`t ’ d ‘|' dd
3 _ onpnon y ore l or s name an mal mg a regs As of the petition filing date, the claim is: $41’387'[)4
Rai h Hara Check alithatapply.
p ry ij Contingent
Cl Uniiquidated
913 Avenue K § Disputed
Brookiyn, New York 11230
Basis for the ciaim: RE!`|{
Date or dates debt was incurred ;`£_S}the claim Subje°t t° °ffsel?
No
Last 4 digits of account number _ _ _ _ n Yes
5 l . . . , . . wm
3.___ Nonpriority creditor s name and mailing address As of the petition wing date, the claim is: 64 427-32
Ra|ston Purina Company C”‘°"Ck a” 'haiap»°'ii'- $
g Contingent `
Uniiquidated
P.O. Box 502430 |;l Disputed
St. Louis, |Viissouri 63150
Basis for the ciaim: GOOdS
Date or dates debt was incurred lime claim subject t° °ffset?'
No
Last 4 digits of account number _ § ug ama |;I Yes
__,,WWW _________________________________________________ , , i
3.§§ Nonpriority creditor’s name and mailing address , , , , _ _
As of the petition titing date, the claim is: 3,1(54_00
Redbai'l`l Pel PrOdUGts li`lG. Check all that app.'y. $
§ Cont`ingent
. Untiquidated
3229 E. Spring St m Disputed
E_ong Beach, Caiifornia 90806
Basis for the claim: GOOdS
Date or dates debt Was incurred game claim Subie°t to offset?
NO
Last 4 digits of account number ___ m _____ _____ i;l Yes
3§_?| Ncinpriority creditor’s name and mailing address _ _ , _ 7 _ f n vi 7
As of the petition filing date, the claim is: $401,670_29
Ro|f C. Hagen (Usa) Corp. Ché'€k ali that apply-
E Contingent
Po Box 842125 U“"q“‘date‘i
l:.l Disguted
Boston, l`\/iassacl'iusetts 02284 §
Basis for the ciaim: GOQdS g
§ Date or dates debt was incurred m__ nn M_____ "___ lime claim Subject to offset?
-‘ No
: Last 4 digits of account number _ _ _ _ |:i Yes

Otlicia| Form 2065'|:

 

 

Schedule E)'F: Creditors Who Have Unsecured C|aims

name 24 of 36

Case 8-19-72292-reg" DOC 1 Filed 03/28/19 "Entered 03/28/19 '17:38:4`4

Debtor Petland gissel-miss lnc' Case number urimowni

Name

 

 

  

Additional Page

 
 
   

Amddnioiciaim __ ;::_1-"

   

 

 

3._§_§' Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 7
R l C . U Checir all that apply $ 1827'08
Oya aan 53 ft Contingent
§ unziquidaied
Dispuied
39099 Treasuly Cerlter ft Liquidated and neither contingent nor

 

C['ticago, illinois 60694 disputed
Basis for the claim: §§di§

ls the claim subject to oifset?

Bl\io

_“.____._._____ m Yes

 

Date or dates debt was incurred

Last 4 digits of account number

 

3.§§ Nonpriority creditor’s name and maiiing address

 

As of the petition filing date, the claim is: $30,343`60

 

 

 

S & Z Graham Pariners LLC Che‘l‘ all_lhalap'”ly'
|;l Contingent
El unliquidated
136-29 38th Avenue El Disputed

 

F|ushing, New York 11354

 

Basis for the ciaim: Rent

ls the claim subject to offset?
il No
j j ii m Yes

Date or dates debt was incurred

Last 4 digits of account number

 

Sj' N ‘ 'i d't ' d 'r dd
3'"* owners y are l or s name an mal mg a regs As of the petition fiiirig date, the claim is: $-i 41926_81

Saiem “i'rucl< leasing inc Ch€€k all fhafappiy-
L_..l Contingent

Ei u l' 'd d
9505 Avenue o ~ PO Box 369022 [;i D§;;,quli;§te

Brooktyn, New Yorl< 11236

 

 

 

 

Basis for the claim: G_Q____Od$_

Date or dates debt was incurred ls the claim S"'hiect to °Hset?

 

 

 

No
Last 4 digits of account number mm mm __m nw a n Yes
3.§_§ Nonpriorily creditor’s name and mailing address _ _ _ _ . .
As of the petition filing date, the claim is: 53¥231_73
Samuel i_. Nusbaum inc. check ali iharappiy, $
El Contingent
n Un|iquidated
230 Pe|ham Road n Disputed

 

 

` New Roche|§e, New York 10805
!` Basis for the ciaim: R@m

 

l Date or dates debt was incurred m_mm_m_mwmm__jm lime C|aim Subl'ect to °ffset?
§ No

Last 4 digits of account number __ __ __ _ Ei Yes

135-ij Nonpriority creditor's name and mailing address

 

 

As of the petition filing date, the claim is: $19,321_20

 

 

Sea Cove Equities i_i_C Ch@ck air maiapp;y_
§ Contingent
414 i\fl in Un|iquidated
a St [:l Disputed

 

Port Jeiferson, New York 11777

 

Basis for the claim: Rent

ls the claim subject to oftset?
m No
j j j j fl Yes

Date or dates debt was incurred

Last 4 digits of account number

 

 

 

Oificiai Form ZOGE/F Schedule EIF: Creditors Who Have Unsecured C|aims page§§ of §§

Case 8`-19-72'292-re`g

Debto, Pettand Discounts, lnc.

Case number iiiinuwn)

 

Name

DOC 1 Filed 03/28/19" Entered 03/28/19 17:38':'44

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wnto!elatm._ . . . i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.§_§‘ Nonpriority cmijiiliun]n name and mailing address As ot the petition filing date, the claim is:
' Sh it . t L.f l Check all that apply. $8'339'14
t",‘ @FDOll'i l 9 HSUFEHCS m Comingem
g unliquidated
_ Disputed
1225 Frallkllll Avenue U Liquidated and neither contingent nor
Garden City, New York 11530 disputed
Basis for the claim: NY and f it I iisabiiify
Date or dates debt was incurred m Ethe claim Sublecl lo °llset?
No
Last 4 digits of account number m m m ”_ |;| Yes
3.3 Non riorit cmnrliiuuin name and mailin address
”'" la y g As of the petition fiiing date, the claim is: $21’026_93
Smokehouse Dog Ti”eats Cllecl‘ all,lllalapp"»l"
ct Contlngent
l3 unliquidated
11850 She|don Street ft Dispuied
Sun Vaiiey, Ca|itornia 91502
Basis for the ciaim: GDOdS
Date or dates debt Was incurred lx-§lllle claim Suble°l t° °llset?
No
Last 4 digits of account number _ _ _ _ i;| yes
3.¢§ Nonpriorrty cu_il_iilluulu name and mailing address AS of the petition wing date, the claim is: 18 OOO_OO
Southbury Green CheCil( ailil that apply. $ l
g Contingent
Uniiquidated
PO Box 844235 n Disputed
Boslon, i\/iassachusetts 02284
Basis for the claim: litem
Date or dates debt was incurred lime clalm Subie°t l° ollset?
No
Last 4 digits of account number ____ ___ ___ ____ ft Yes §
i
3,§_§ Nonpriority ci;l:luunjmj name and maiiirig address , . . . . . l
As of the petition filing date, the claim is: $23`231_48
l SOUfhpOl'f 2013 LLC Cheok all that appfy.
l . g Contingent
1 Un|iquidated
§ 234 C|osteir Dock Road m Dispmed
§ Cioster, New .lersey 07624
§ Basis for the ciaim: R€nf
l
Date or dates debt was incurred ________ _v §tlle clall“ Sllbiecl to °llsel?
NO
Last 4 digits of account number a _W _T f i`_`| Yes
3.§j Nonpriority cujuuiiuuiu name and mailing address _ _ _ _ _ l
As of the petition filing date, the claim is: $10,529_02

Southwest Airiines Cargo

 

P.O. Box 97390

 

Daiias, Texas 75397

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

Oificia| Form 2OGE/F

Gheck all that apply.
L_..l Coritingent
ill unliquidated
m Disputed

Basis for the ciaim: GOC*dS

ls the claim subject to offset?
No
El Yes

Schedule EIF: Creditors Who Have Unsecured C|aims

 

 

pace 26 of 36

Case 8-19-72292-reg DOC 1 Filed 03/28/19` Entered 03/28/19 17:38':44

Deme Petfand Discounts, lnc.

Case number (iiiliwwni

 

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Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sun Seed |nc., \Htakraft

 

 

 

Checlc all that apply.

 

P.O. Box 33

m Coniingent
El Untiquidated
ij Disptited

 

Bowling Green] Obio 43402

 

Date or dates debt was incurred

 

Last 4 digits of account number

Otfic§a| Form ZOSE/F

Basis for the claim: L)§§

ls the ciaim subject to ottset?
m No
El Yes

Schedule ElF: Creditors Who Have Unsecured Ciaims

Amountot ctairn
3.§§‘ Nonpriority creditor's name and mailing address As of the petition fiiing date, the claim is: l
S B d Check all that apply. $126'31 8'91
pedrum ran 3 l;l Coritingent
g unliquidated
. Disputed
32854 Collectlon Ctr DN m Liquidated and neither contingent nor
Chicago, filinois 60693 dispude
Basis for the ciaim: §§des m
Date or dates debt was incurred lilth claim S“bje°l to °HSet?
No
Last 4 digits of account number _ _ _ _ |;l ‘l’es
.Se Non rior‘t cred`tor’s name and ma'l'n ddr '''''''' m
3 _ p l y l l l g a ess As of the petition filing date, the claim is: $60,743_35
stealth Acqttieiiione l_l_C C”e°“ a”_”lal "=`Pl"Y-
|;l Contlngent
|It unilquielated
15 Ocean Avenue [] D;Spmed
Brooklyn, New York 1 1225
Basis for the ciaim: R@|'i'f
Date or dates debt was incurred lime claim Subiect t° °ffset?
No
Last 4 digits of account number ____ ____ __ _ [] Yee
S 1 . . . , N` . . WW"””WWUW '''''''''''''''''''''''''
3__ Nonpriority creditor s name and mailing address As of the petition wing date, the claim is: 542 269_09
Steve Goldman Checlr all that apply. ’
g Contl'ngent
Un|iquidated
230 dave Street Cl Dlepetect
Brooi<iyn, New York 11222
Basis for the ciaim: Renf
Date or dates debt was incurred _____W”_____ __ ls the claim Subiect i° °Hset?
NO
i_ast 4 digits of account number j j j j E| Yes
3. Ncrl riorit creditor's name and mailin address w m m
§ p y g As of the petition filing date, the claim is: 14 565_00
Suef|oren LLP check ell lheiapply. 7 $ ’
a Contin eni
C] Q
Un|iquidated
19 Wes|ey Court a Disputed
Bayonne, New Jersey 07002
Basis for the claim:Rent
Date or dates debt was incurred lx$]lhe claim Subie°l to °"Sel?
No
Last 4 digits of account number _ _ _ _ m Yes
3§__§ Nonpriority creditor’s name and mailing address . . . . . .
As of the petition filing date, the claim is: $1 471057_31

 

 

page_Z_Z of __3_6_

Case`8-19-72292-`reg DOC 1 `Filed"03/28/'1'9 Entered`03/28/19 17:3`8:44

Debtoi Petland Dlscountsl lnc- Case number (iil<nuwnl

Name

  

Additiona¥ Page

 
 
 

Amount of ciaim

   

 

 

 

§' Nonpriority creditor's name and mailing address As of the petition filing date, the claim is:
. . Clrealr all that apply $8.969-80
Suner Win Enterprlses m Contmgent
ill Un|iquidated
- ij Dis uted
1819 Flushlng AVE L"J i_iq§idated and neither contingent nor
F|usl’iil'ig, NeW YOrI< i'1385 disputed

 

Basis for the ciaim: §§QQ§I§

ls the claim subject to offset?

Xi No
i¥ii ij Yes

Date or dates debt was incurred

Last 4 digits of account number

 

3.5`;9 Nonpriority creditor’s name and mailing address

 

As of the petition filing date, the claim is: $41052'05

 

 

 

T.F.H. Pubtications lnc. Che°k all.rhm apply
ij Contlngent
[l Unliquidated

P.O.Box847828 l:l Disputed

 

Dailas, Texas 75284

 

Basis for the claim: GOOUS

is the claim subject to offset?

X] No
iiii l:l Yes

Date or dates debt was incurred

Last 4 digits of account number

 

3.5 ‘ Non riorit cred‘tor’ nam and 'l' d
j p y l s e max mg ad regs As of the petition filing date, the claim is: $2 881_30

Tornlyn Products Ch€f»‘l< all that HPPW»
iii Contingent

 

 

1 E Unliquidated
P.O. Box 844112 l*l Dlepuied

Da|ias, Texas 75284

 

 

Basis for the ctairn:GOOdS

ls the claim subject to offset?
No
_ _ _ _ l:| Yes

Date or dates debt Was incurred

Last 4 digits of account number

 

3.§§ Non;ariority creditor's name and maiiing address _ _ _
As of the petition filing date, the claim is: $7’237_12

Transship Discounts Clreelr all thatapply_
i:i Coniingent
il Un§iquidated
5 Disputed

 

 

 

157-01 Roci<eway Blvd.
l Jarnal'ca, New ‘(ork 11434

 

 

Basis for the ciaim: §§st

ls the claim subject to offset?
)§ No
j j j j m Yes

Date or dates debt was incurred

Last 4 digits of account number

 

 

3.§ Nonprioi'ity creditor's name and mailing address _ . . . . .
As of the petition filing date, the claim is: $3’965_53

 

 

Tyson Fclods inc check all that app.g_/.
§ ij Coniingent
f P.O_Buxzae§s n unslqutdeted
iii D§sputed

 

NeW York, NeW Yorl< 10087

 

Basis for the ciaim: GODdS

ls the claim subiect to offset?

§No

Last 4 digit-s of account number j _" mm mm l:| Yes

Date or dates debt was incurred

 

 

 

Ofllcial Fetm 2OSE/F schedule Ein creditors who i~lave unsecured claims earle 28 at 36

Case 8-19-'72292`-`reg DOC 1 ` Filed 03/28719 Entered 03/28/19 17538:44

Demor Petland Discounts, lnc.

Case number tiilrnawn)

 

Name

Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'=' _ anitiuirret_eiaim§i:__i§'
3.§_§' Nonpriority creditor's name and mailing address As of the petition filing date, the claim is:
U ,t d P c S _ Checli all that apply. $345'14
nl e arce ervlce m Comingem
‘ g Un|iquidated "’
Disputed
P'O' Box 7247"0244 m Liquidated and neither contingent nor
Philade|;:lbia, Pennsylvania 19170 disputed
Basis for the ciaim: Se[gige_$
Date or dates debt was incurred lislme claim S“bie°t to offset?
No
Last 4 digits ct account number _ _ _ _ E| Yes
3.§;¢|[ Nonpriority creditor's name and mailing address _ _ _ , _ _
As of the petition filing date, the claim is: $23 923_85
Van Ness Plastic tV|o|d Co. Check all.malapply'
l:l Contlngent
v l“.Il unliquidated
400 Brlgbton Road El Diaputecl
C|ifton, New Jersey 07012
Basis for the claim: M§_
Date or dates debt was incurred m_m__m__ Ethe claim Subie°t to °ffset?
7 No
Last 4 digits ot account number _ _ _ _ El Yee
B.Sj' Non r'oi"t d't ’ m d 'l' dd
ma p l 1 y cm l or s na c an mal mg a mss As of the petition filing date, the claim is: 55_39
Verizon Check all that apply. $
§ Coniingent
Un|ic;ui`dated
P.O. BDX 403 m D§Spljted
Newart<, i\iew Jersey 0710‘1 _
Basis for the ciaim:S€WiCeS
Date or dates debt was incurred l""" me claim Subie°l w offset?
No
Last 4 digits of account number j j j j |;\ res
3.§§ Nonpriority creditor’s name and maiiing address . _ _ , _ _ ))))))) )W <
As of the petition filing date, the claim is: 39,@50_09
Vitakrai°t Sun Seed lnc. Cneclr all mar app.gr. $Wm
§ Contingent
Untiquidated
P.O. Box 33 n D]Sputed
Bow|ing Green, Ohio 43402
Basis for the ciaim: GOOC|S
Date or dates debt was incurred lxs]the claim S“bject t° °lfset?
No
Last 4 digits ot account number _ _ _ _ l;l YQS
3_5_jl Nonpriortty creditor’s name and mailing address _ , 7 ii mmmmw
As of the petition filing date, the claim is: 67 554_43
Wg_Bay P|aza LLC cheek all that apply $ ’
§ m Contingent
546 5th Avenue n U,"i'q”'dated
( § Disputed
New Ycirk, New Yor|< 10036
Basis for the ciaim: _Re“t
Date or dates debt was incurred lxs]lhe claim Subiect to offset?
§ No
§ Last 4 digits of account number _ _ _ _ [`,] Yes
le __ ______

 

Olficial Form 206E)'F

Schedule Ele Creditors Who Have Unsecured Ctaims

page 2_9 ct §

Case 8-19-72292"-reg DOC 1`

gamer Petland Discounts, lnc.

Fi|e'd 03/28/19 Entered 03/28/19 17:`38:44

Case numberilikndwni

 

NamB

Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

El Disputed

 

Newark, New Jersey 07188

 

Date or dates debt was incurred

 

Last 4 digits Of account number

Oilicia| Form QOSE/F

Basis for the claim: Sewices

is the claim subject to offset?
m No
l:l Yes

Schedule E!F: Creditors Who Have Unsecured C|aims

' adjudicative
3,3_§‘ Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 8 4 9 4
W § LL Check all that apply. $2 ' 8 ‘8
agner 31 C .El Contingent
g unliquidated
Disputed
P'O' Box 88479 El l_iquidated and neither contingent nor
Chicago, illinois 60680 disputed
Basis tor the claim: Qgg_ds______
Date or dates debt was incurred '§lth; claim S“bie°t t° offset?
G
Last 4 digits of account number g g ___ ___ El Yes
3 l _ . . , _ _
3.¢_ Nonpriority creditor s name and mailing address AS of me petition wing date, me claim is: $79’535-32
Waisam Sixtn Avenue Check awth apply
§ Ccntingent
3 Un|iquidated
419 Park AVE S 5 Disputed
New York, New York 10016
Basis for the claim: Rem _ ______
Date cr dates debt was incurred Eth; °|aim Subie°t t° offset?
O
Last 4 digits of account number j j j j l:l Yes
S § N ‘ -t d 1 d T dd ___________.
3'"““ onprmn y are nor 5 name an mm mg a regs As of the petition filing date, the ciaim is: $21`261_75
Whiie P|ains Rd nealiy ChE-'Cl< al mar appli-
B Contingent
Un|iquidated
1430 Broadway g Disputed
New Yorl<, New York 10018
Basis for the ciaim: Rent
Date or dates debt was incurred is the claim gubject t° °"Set?
No
Last 4 digits of account number _ _ __ __ CI Yes
3.§ Nonpriority creditor’s name and mailing address _ , , _ _ _
As of the petition filing date, the claim is: 47,952_11
Wii"ldOWS 'l'th SBll Clieck all that apply. $
§ Contingent
Un|iquidated
223 Wal§ Sfl'€‘@t n Disputed
l-luntington, New Yori< 11743 l
Basis for the claim:S'~"’l'\/'|C€lS
Date cr dates debt was incurred ____ lxs]the claim S“bject i° offset?
Nc
l.ast 4 digits of account number ___“ m _M_ ___“ n Yes
3.3 ‘ Nori riori creditor’s name and mailin address m mm d mm
;e| p tv g As of the petition filing date, the claim is: $414'22
YRC Frejght leieck all that apply
E:l Contingent
PO Box 13573 m Uni|ql.t|dated

CaSe 8-1'9-7229'2'-|’€9 DOC 1 Fi|€d 03/23/19 Entel’ed 03/28/19 17238244

Debmr Petland Discounts, lnc.

Case numberiiiknuwnl

 

NE|T|E

m tamm age

 

 

 

 

 

 

 

 

 

 

3.§§' Nonpriorlty creditor’s name and mailing address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

As of the petition fiiing date, the claim is:

 
 

Amount ot claim

 

 

 

 

 

Zoo Nled Laboratories inc

 

3650 Sacramento Road

 

Sarl i_uls Obispo, Ca|ilornia 93401

 

Date 0|‘ dates debt WBS incurred

Last 4 digits of account number

_ _ Check all that apple $41'351'49
tha Propeities LLC n Co,-,t;ngen;
§ unliquidated
Disputed
7500 FOl-“`th Avenue n Liquidated and neither contingent nor
Brook|yn, New York 11209 disputed
Basis for the ciaim: MWM
Date or dates debt was incurred lis|the claim subject to offset?
No
Last 4 digits of account number _ _ _ _ l:l Yes
.Se' Non riorit creditor’s name and mailin address
3 _ p y g As of the petition filing date, the claim is: $17,210_42

Cl'leck all that apply.
m Cont§ngent
3 Unliquidated
Ei Disputed

Basis tor the claim: GOOC\S

ls the claim subject to offset?

n No
U res

 

 

 

3 5 ' Nonpriority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Clieclr all that apply.

EI Contingent

E| unliquidated

El Dispuled

Basis for tile claim:

is the claim subject to offset?

No
El Yes

 

 

3.§§ Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits ot account number

3§_§ Nonpriority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

As of the petition tiiing date, the claim is:
Clieck all that apply.

EI Coritirigent

ill unliquidated

l;l Disputed

Basis for the claim:

ls the claim subject to offset?

X] No
El Yes

As of the petition filing date, the claim is:
Check all that apply.

EI Contingent

|;i Uniiquidated

m Disputed

Basis for the ciaim:

` ls the claim subject to offset?

XJNo

El Yus

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured C|aims

 

 

pace 3d of §

Deblor Petiand Discountsl §nc- Case numberiilknowni

 

Case 8-19-7229`2-reg DOC l Fi|‘ed 03/28/19 Entered 03/28/19 17:38:44

 

 

Name

List Others to Be Notified Ahout Unsecured C|aims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Exarnp|es of entities that may be listed are coi|ectiori agencies,
assignees of claims listed above, and attorneys for unsecured creditors
lf no others need to be notified for the debts listed in Parts 1 and 2, do not fill outer submit this page. |f additional pages are needed, copy the next page.
§ limine and milling address ` § § ' on which line in Part 1 mean 2 is me . vast islands '
§ ` ` ` . ` ` - related creditor (if any} lisfed? a¢C°l-‘m`~ mw. if
`ariy _ -

_i .
:4-1- Graubard Miiier ' Lin€' 32_

405 Lexingtcn Ave § i\loi listed Exp|aln j j j j

New York, New York, 10174
§4-2~ Hoffman Management Line 31
300 West 55th Street |;{ NO; listed Exp;ain j j j j
' NeW York, NeW York, 10019
54-3- Mi`chael J. i_endlno, Esq. Line B

P-O- BOX 142 El Ndi listed Explain j j j j

i-iarrison, New York, 10528
4-4- iii<owiiz PLi_c Use §-§m _

26 B"Oadway ij Not |isted. Exp|ain m _______ -- -_ _ --

NeW York, New Yorl<, 10004
4-5- Nickolas Gasparro, Esq. Line H

190 Mai“ S§feet a Not listed Exp|ain _ _ _ _

Hackensack, New Jersey, 07601
4-6- i_aw Oiiice of Aliison M. Furman, P.C. Line §._1_9_

260 Niadison Avenue [.'.i i\loi listed Expiain ,m., .m m W

New York, New York, 10016
4~7~ Heriz, Cherson & Rosentha|, PC Line L
§ 118'35 Queens B|Vd m Not iisted. Explain ______ ~ -~ »-- -
§ Forest Hi||s, New Yoik, 11375
§ ~ ---------------------------------------------------------------------------------------------------------------------------- ‘._L_,W.`WWW.“.,,A_.M.WL.M..~._A..W..,.WMWM §
i4-3- Beikin Burden Wenig & Goldman, i_l_P tins M §
§ 270 Niadison Avenue l;l Noi listed Explaln l ~ _ _ _
. New Yori<, New York, 10016 `
§4'9- Law Oi§ces of .Jeffrey Ecieiman Lin€ §;1.5“
§ 200 Schermerhom Streef § Not 1;$§@{§' Exp|a§n _ ____. __m. mw
§ Brookiyn, New York, 11201
§ W-., , ,.,..,.,..,,,,...,...`~..,.,`.,,-`.`~.,`.`..»-.-.-~»M ..-W.-..M-.,.-M..-.-»N.-.v,,.-.-.W.`_W.-.\.w..v,,~.WM-M`WMWMWMW~N-MW.“-.-.~».m
4.10. Anseli Grimin & Aaron PC l_ine 337
§ 365 Ri§§@ Camp Road Ei Nds listed explain s s j j §
Wool:liand Park, New Jersey, 07424
§ -1 mo ---- -------------------------------------------------------------------
§4.11. Novici<, Edelstein, Lube|l, Reisman, Wasserman & Leventhai, P.C. L`me M §
§ 945 Yonkers Avenue n Not iisted. Exp|ain ______ __ j j j g §
Yoni<ers, New York, 10704 §
§ ' ----------------------------------------------------------------------------------- _..,W. §
54_12. §
l . . i_ine U §
g lngrarn Yuzek Gainen Carro|l & Belto|otti, LLP §
§ 250 Pari< Avenue i;l Noi lisied_ Expia§n ____ j j j j 1
l
§ New voli<, New Yori<, 10177 §

Officia| Form QOGE/F Schedule ElF: Creditors Who Have Unsecured Claims pace S¢ of;§@,

Case 8-'19-722`92-reg Doc` 1 Filed 03/'2'8/19 Entered 03'/28/19 17:38:44

Debmr Petland Discounts, lnc. Case numberill»mewnl

 

Name

m Additional Page for Others to Be Notified About Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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" relaxed eredllerilieny} ileied? ' accounrhumber,
. _ ifany
435 Zinclman & Associates PE_LC L'“e 3»25_
110 East 42nd Street § Nol listed Explain W m a j
New York, New Yoik, 10017
. l
4-1-4 Sontag & Hyrnan, P.C. '-*“€ M §
165 neeiyn need El del lleled. E><pleln j j j j ‘
Ros|yn Heights, New York, 11577
4-'§_5 AAC Managemenl Corp '-`*"€ W_ §
150 E. sain sireei lIl Nei liezed. E><pleie s - j j
New York New York, 10155 g
416 IYQL@W&liti§$<)€liifesv mile M i
908 451 Avenue |Il Ndi ileled. Exprein s s j j §
Brooklyn, New Yor|<, i1232 g
417 Borah, Goidstein, Wughalter, Corredlne & Perez-l-iail, P.C. Li“€ 1131 §
800 Grand Concour$e n Not [isted. Exp|ain _“ - m “-»~ §
Bronx, New York, 10451 §
433 Sa|amon, Gruber, Blaymore & Strenger, P.C. Lin@ M §
97 POW@mWS@ Road il Nol |isted. Explain - -- _ _ §
Roslyn Heights, New York, 11577
4-~1~9 Goodman, Gai|uccio & Chessin line §-'-4-§“ §
337 Park Avenue, PO Box 2037 ft Not lis§ed_ EXp|a,-n __ ___ mm me §
Paterson, New Jersey, 07509 ;
"' l
4--2_0 Sa|amon, Gruber, Blaymore & Strenger, P.C. L`"‘€ U §
97 POWBFhOUSe Road g Not listed. Expiain j s - m §
Reelyn Heighzs, New Yerk, 11577 §
4-2_1 spizz& Ceeeer, Ll_P tide M
114 Old COU"\§W ROEC§ m Not iisted. Exp|ain -- _- _ _ §
ivlineo|a, New York, 11501
~ ...... §
422 Cullen & Dykman LLP Line §L§~L §
. §
‘ 100 Quentin Rooseve[t B|vci § NO§ listed Exp,a§n _ __ _....m me §
Gai'den City, New York 11530
§4.2¢3 .leeeph d neieie, Eso. Lir=e M
§ .
§ 50 SUmmliA\/€"ue Ei wet lleied. Explein s j j j
§ Hacl<ensack New Jei'sey, 07601
§4.2£§ CCC gi NY l_ine 3_. 59
§ PO Box 288 n l\iot §isted. Explain _________ j j j g §
§ Tonawanda, New Yorl<, 14150 §
§i-?_5 smith & Kren:z, l_LP Llne 3- 61
§ 122 535142“‘?' Stree§ § Nei lieied. Explain _ _ _ _ §
§ New York, New York, 10168 §
.......................................... …,.…M §
§4- 26 Siriiri L_esser & Bens_on, P. C. §§ § § 1309 3£ §
§ 102 mowan Lane |;i i\lol listed Exp|ain j j j j §
§ Cherry Hil|, New Liersey, 08003 §
Oiiicia§ Form 206E1'F Schedule ElF: Creditors Who Have Unsecured C|aims page§§ of §§

Case 8'-19-722`92-reg DOC 1 Filed 03/28/19 Ente`red 03/28/19"17:38:44

Peiiand Discounts, lnc.

Name

Debior

Case number lillmnwnl

Additional Page for Others to Be No!ifie~d Ahout Unsecured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

blame and m!l_ir_lg'ac_fdress bn which find m Part 1 or Far! 2_ is the Last 4 digil_s_ iii - -
§ ' refined creditor {if any) iisted? a`o`c`<_)unt ri=l.`lr`nbe"r,_
1 if any
g“ 27 Danie| Gammerman Atfornev at Law me 3161
6800 Jericho Turnpike E| mg listed Exp]am ___ __ __ ___
§ Syosset, New York,11791
§ ........
§4-- 28 Law Off ce of Kramer & Shapiro, P. C. '-in@ §e§§-
§ 80- 02 K€W GB['C}€HS ROad a Not fisted_ Exp|ain _ _ _ _
§ kew Gerclene New Yorl< l14l5
§4- 29 Gary J. Wachtej Esqulre n n n n f L‘“e 3;61_
§ 450 Seventh Avenue m Noi listed. Exp|ain _- -~ -_ -~
§ New York, New York 10123
§4'Y Novick, Edelstein, Lube|i, Reismarl. Wasserman & Leventha|, P.C. line m
§ 945 Yonkers Avenue L_...l Not listed E><plain - _ -_ -
Yol'lkers, New Yol'k,10704
143-j Jeremy Mack, Esq. :_me 3.75
§ 1950 Third Avenue n NOE |isted. Explain _ -_ _~ _
§ New York, New Yozk, 10029
;4-_ 32 Cuiler Minikee & Aelelmen LLP Li"€ 3_'@
§ 793 Third Avenue Ci Noi lieiecl. Explein m m W W
§ New York, New \’ork, 10017
3 ........ . n ~... n..,.....-..m.e.WW,_W.,,A`.,MM`~.,M.,,.AWW5
1133 Sa!amon, Gruber, Biaymore & Strenqer, P.C. me §§ll
5 97 Poweihouse Road l;] Not listed. Exp|ain ________ m m m m
l Ruslyri Heights, New York, 11577
i
§4-§5 Joseph, Terracciano & l.ynam. LLP U"@ m
z 2 ROOSeVe|t Avenue g Not listed Exp|ain _ _ _ _
Syosset, New Yori<, 11791
_‘4-_ 35 Schwartz & B|umenstein Li"e al
E 250 West 57'[[“ a Not §isted. Explain w W ~»W m
NewYork,NeWYork,10107
;4 §§ Crawford Brl`ngs|id Vander Neut LLP Line §:QZ~
§ 900 South Avenue 13 Nol listed. Exp|ain mw wm 5 - 4 w
5 New York New York,10314
4 37 Rl:lsenberg Fortuna & Laitman, LLP line M
, 666 O‘d COUmW Road m Nclt |`lszeci. Exp|ain mm -- -- - -_
§ Garden Ciiy New Vork 11530
4 33 Smlth & Kren:z LLP dee 111__01
122 East 42nd Streei |;| wm ;isted_ Explam * _ _ _ _
New York, New York,10168
4 3_9 Geiei Sevwerz& Jellinek PLLC Lln@ W
One Nor'ih Lexingiorl Avenue [;I Nel lieied_ Explein 33 j 3 v
` White Pfains, New York, 10601
1153 Rose & Rose line w
291 Broadway m N01 |isted. E)<p!airl - _ _ _

 

New Yc)rk, New Yclrk, 10007

Oiiicia| Form 206E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

 

Case 8-19-72292-reg DOC 1 Filed 03`/28/19 Entered 03/28/19`17:38:44

Petland Discounts, lnc.

Name

Debtor

Case number (uknown)

m Additional Page for Others to Be Notified Ab=out Unsecured C[aims

 

 

 

 

 

 

 

Name and mailing access on wm<_:_h ime m Part 1 ar Part 2 ss the ' - _ Last'§_¢igi§s_of_
relafed creditor (if an‘_(} kis`leti? " `z`ajc¢m;iht numb'er,
it ah"y
45 Michae| Fatsone me ills
327 East 34th Street |;l Nm 1§51€<;_ Exp;ain w _ _ _~ -
New York, New York, 10016
1452 Jack L. Giasser, P.C. me 3'_1~2-0
89-10 Sutphin Bivd __ __ _m m

m 1001 |isted. Exp|ain

 

 

Jamaica NeWYork,11435

 

 

§-4 43 S_a|amn, Gruber B|aymore 81 Strenger, P. C.

Line 3._‘12;1

 

g Not iisted. Exp|ain

 

§ 97 Powerhousé Roaci
` Ros¥yn Heights, New York,11577

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§4~@ Levy Diamonc£ Be|!o & Associates LLC Li“e §'~3~2~7

§ PO Box 352 Ei Not cisied. Explain _ _ _- ~
Mi|ford Connecticu¥, 06460 1

§4-4-5 Schwartz & B§umenstein Attc)rneys at Law 1309 M

§ 250 WSS'£ 5711'1 SU’GG'[ § [;f Not listed Exp|ain j j j j

§ New York, New York, 10107

!

§4_ 46 Piazza, D'Addario & Frumin Esqs. ime 3=~12-9

1 824 Manhattan Avenue El Not listed Explain m j j j *

§ __B_l_'ook|yn, New York, 11222

§4-£‘_.7 mm A zucker, Esq. U“@ M’

§ 613 Broadway, PO Box 95 {_“_| Not §§Sted_ Exp§ain ___ _ _ _

§ Bayonne, 1091/11 Jersey, 07002

§`4-@ Ferrante 81 Associates

Line 3_.__ 132
E! 1001 lis1ed. Expaain

 

§ 212-0541Avenue
Bayside New Yor1<,11361

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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§4-4_9 Epuack s1 sharan, LLP me §-!1£3 §
§ 15 Maiden lime L_.¥ 1001 listed Exp|al'n mw ______ j j j ¥ §
§ New York, New York, 10038 §

§ 1 1

§4-5_0 i_ine § 5
l m 1002 |isted. Exp|ain m___ -- -- -_ _ §
§4§1 Line
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Oh‘icia| Form 206EfF Schedule ElF: Creditors Who Have Unsecured C|aims page §§ 01 §§ §

`Case'8-19-72292-reg DOC 1 'Filed 03/28/19 Entered 03/28/19 17:38:44

De|:)tor Petland Discounts- lnc- Case number (rr.=mowm

Name

m To'lal Amounts of the Priorify and Nonpriority Unsecured C|aims

 

5. Add the amounts of priority and nonpriority unsecured claims.

Tctat b¥ claim amounts

 

5a. Tota! claims from Part 1 5a $28,534.68

Sb. To!a| ciaims from Part 2 5b. + $.5 ’80"”2:§_9;9;'_7_§““

5c. Tota| of Parts 1 and 2 56 $5,831,027.46 l
Lines 5a + 5b = 50. ' mm~'-~--“~m~mm~_~

 

 

 

 

 

 

Orriciez Form 206E/F schedule ElF: creditors who Have unsecured claims page 3§ of §

` Case'8-19-7"2292-reg DOC 1 " Filed 0`3/28/19 Entered'03/28/1'9 17:38:44

Attachment 1/3
Debtor: Petland Discounts, lnc. Case No:

Attachment 1
NY State Unemplyment insurance
Attachment 2
NJ Unemplyment |nsurance
Attachment 3
100
Attachment 4
101
Attachment 5
102
Attachment 6
103
Attachment 7
104
Attachment 8
105
Atta¢:hment 9
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Attachment 10
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Attachment 11
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Attachment12
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Attachment 14
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At'tachment 37
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Attachment 39
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Attachment 40
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Attachment 41
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Attachment 42
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Al'tachment 43
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Attachment 44
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Altachment 45
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Attachment 46
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Attachment 49
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Attachment 50
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Altachment 51
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Attachment 52
149

Case 8-19-72292-reg DOC 1" Filed`03/28/19 E`ntered 03/28/19 17:38:44 `

Attachment 2l3
Debtor: Petland Discounts, lnc. Case No:

Attachment 53
150
Attachment 54
151
Attachment 55

32

Case 8-19-`72292-reg ` DOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44

Attachment 3/3
Debtor: Petland Discounts, lnc. Case No:

Case 8-1'9-72292-reg ` Doc'l Filed 03/28/19 `Entered 03/28/19 17:38:44

Fill in this information to identity the case:

oebtor name Petland Discounts. lnc.

united states eenkruprcy court for the:Eastern District of New York

Case number (if known): Chapter Z

 

 

l;t cheek if this is an
amended ftiing

Officia| Form 2066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as compiete and accurate as possiblel lt more space ls needed, copy and attach the additiona! page, numbering the entries consecutivety.

 

1, Does the debtor have any executory contracts or unexpired leases?

§ No. Check this box and file this form with the court with the debtor's other schedutes. There is nothing else to report on this form.

P_q Yes. Fill in ali of the information below even if the contracts or ieases are listed on Schedu!e A/B: Assets - Rea! and Personai Property (Officia|
1 Form 206A/B).
2,_ List_eit_co_r_!tracts and unexpired isaacs

>

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State what the contract or Lease for Store #87 126-01 Hi||side Ave Associates

2.1 iease is for and the nature
of the debtor’s interest 35'11 35th AVE
State the term remaining 32 months - Long |sland city New York 11106
List the contract number of
any government contract
State what the contractor Lease for Store #’l 255 !Vla§l LLC.

2.2 lease is for and the nature
of the debtor’s interest PO Box 303
State the term remaining 19 months Emerson New Jersey 07630
List the contract number of
any government contract
State what the contract or Lease for Store #62 2960 Third Ave ngmt LLC

2.3 iease is for and the nature
of the debtor's interest 1430 Br°adway
State the term remaining 90 months NBW York New york 10018
List the contract number of
any government contract

2 4 State what the contract cr Lease for Store #13 3500 4Bth St. Owner LLC

' lease is for and the nature .

of the debtor’s interest 295 Mad's°n Ave
‘°’ta*e*“"` *°"“ “°'"‘a*"‘"g 70 m°“ths New York New York 10017
List the contract number of
any government contract
State what the contract or Lease for Store #27 365 Knickerbocker

2.5 iease is for and the nature . .
of the debtor’s interest 258'01 Hms'de Avenue
mate the term remaining 60 months Flora| Park New York 11004
List the contract number of
any government contract

 

 

 

Ofticiai Form 2066 Schedule G: Executory Contracts and Unexpired Leases page 1 of 7

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Case 8-1'|_'9-72292-|’€9' DOC 1 Fi|'e'd 03/28/19 ' Ent€i’ed 03/'2'8/19 17238244

Petland Discounts, lnc.

Name

deterrencech nnefunexpiréd_tqas_es _ _

 

 

 

Case number (irirnawn)

Additional Page if Debtor Has More Executory Contracts or Unexpired Leetses

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

' lease "
State what the contract or Lease for Store #4° 416 BBA LLC
2.§ iease is for and the nature
of the debtor’s interest 1569 Br°adWaV
State the term rematntn 99 months
9 new York New York 10036
List the contract number of
any government contract
state what the contractor Lease for 3me #117 49 Perehing Drive Li_c
21 lease is for and the nature
of the centers interest Po B°X 416241
State the term re ' ' 45 N|onths
mme Boston Massachusetts 02241
List the contract number of
any government contract
State what the contractor Lease for Store #86 7102 Kisseria Blvd A LLC
2.§ lease is for and the nature N d
of the debtor’s interest 1 ' B"°a Way
WWWWW ' ' 36 Months , ,t -
State the term '°'“ai“'"g white Pieme New york meet
List the contract number ot
any government contract
State what the contractor Lease for Store #100 778 Broad LLC
2._9 iease is for and the nature
of the debtor’s interest Po Box 8685
""" ~ - 103 Monu\e _
State the te'"` """“""’"9 Ehzebeth New Jereey arena
List the contract num ber of
any government contract
State what the contract or Lea$e for Store #4 A. Recknagel lnc.
2._1 lease is for and the nature .
of the debtor's interest 28'27 meman 5kth
m """" t n r ' - 78 months
S‘a et e e"“ 'e'“a'“'"g tong island city New York 11103
List the contract number of
any government contract
State what the contract or Lease for Store #82 AleXal'\d€l' Hidalg° inc-
2.1 iease is for and the nature
of the debtor‘s interest 135 West nnd Stre et
" M ' 90 Monthe
State the term remaining New York New york 10023
List the contract number of
any government contract
State what the contractor Lease for Store #45 At‘i‘lold P|ains Corp
2_1 lease is for and the nature
of the debtor’s interest 1 Linden mace
State the term remaining 73 M°nfh$

 

List the contract number of
any government contract

 

 

Gre at Neck New York 11021

 

 

 

Ofticiai Form 2066

Schedule G: Executory Contracts and Unexpired Leases

pace »?__ Of 7_

Case 8'-`19-72292-reg Do'c 1 Filed 03/28/19` Entered 03]28/19 17:38:44

Dobtot Pet¥and Discounts. lnc.

Name

Case number unknown

- Additional Page if Debtor Has More Executory Contracts or Unexpired Loases

 

 

 

 

 

List air contracts and anent-aired wastes :: _

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

List the contract number of
any government contract

 

 

 

 

 

 

State what the contract or Lease for Store #29 8-2’! LLC
2._13 lease is for and the nature
of the debtor's interest 118'35 Q!-'eens B°ulevard
State the term remainin 31 Months _
g Foroot Httlo Now york 11375
List the contract number of
any government contract
State what the contract or Lease for Store #92 Bawabeh Bt'others LLC
iease is for and the nature
of the debtor’s interest ` 539 Eastem Pkwy
Stat th remai i 42 Months
a e term “ “g arooklyn Now vork 11216
List the contract number of
any government contract
State what the contract or ¥"ease for Store #115 BDG Gotham Plaza LLC
2.1£» lease is for and the nature
ortho debtors interest Po B°x 2094
‘ ‘ 7 lVlonths .
state the “°'"“ 'e“‘a'"‘"g ntokovtno Now York 11802
List the contract number of
any government contract
State what the contractor Lea$e for Store #6° Berahka Manaqement
2._1 iease is for and the nature
ct the debtor’s interest 90 Box 230805
"""" 105 Morttho 7
State the term rema|nlng grook|yn New york 11223
List the contract number of
any government contract
State what the contract or mass f°' St°"e #52 Bergman & Schneider
lease is for and the nature .
of the debtors interest 680 W{Edw°°d R°ad
' ’ 45 Nlonths
State“‘e mm '°'“a‘“"‘g West Hempstoatl Now york 11552

 

 

 

State what the contract or
2.1 lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
2.1 lease is for and the nature
of the debtor‘s interest

State the term remaining

List the contract number of
any government contract

 

i..ease for Store #12

Berkowitz, Steven & Brenda

 

 

 

 

 

 

 

 

 

 

 

502 Avenue J
52 Months Brooklyn New York 11230
Lease for Store #20 BPP St Owner LLC

PO Box 371448
110 M°“ths Ptttsbttrgh Ponnsylvania 15250

 

 

 

 

 

Oft`lcia| Form 2666

Schedule G: Executory Contracts and Unexpireci Leases

page '~i_ Of _7_

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"Case 8`-19-72292-reg DOC 1 F`i|ed 03/28/19 Entered 03/28/19 17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N.~o _.mmmm moa mHoam non w _<_o:§m n m mmm_.n< umw _m_.omn<$<‘ UG§ moon zms_ <o_.w 2< 503
N.Nw _.mmmm snow w.Bam mm wm _so:§m nm_.,dm_‘ nosg:m:§ H_..Nm >F#.=.._ m:.mm.~ newman _._.___m z< H_.wum
~.N~ _.mmmm ¢o_. w»oam oopr mm _,.._o:§v. nm:"_.m_ mmamm§ _o_m~m no max woome n_m<m_m:a O_._ newmhtgmo
w.~w roman mae mdon nom mm ?._o.._§.o. Q_m_mom conoco no :.n co max mwowo zm<<m_.x 20 oqpow.momo
N.Ne _.mmwm coo_. m»o_tm owe we Z_o=§m n_on§o$.ma Em~m m:oo QE. co max mn£.wm munoz §> owwme-e~wm
N.mw _rmmmm .oo_. m.ho_tm nu.om w _So_._§m no_c_,:§m nola xm~m._" _._.O _uO max .`.mmww wm_s§oqm ?._D ?..__u Nwwwmrmmwm
~.Nm roman 3a mdon umw 0 _<_oo§m D.o.o.m m_.o:x _o_o~o _._.0 50 m mm§ mr _om:§oomm zms_ <o§ 24 Ho»mm
~.No >_m§ _.momm mdon umw mw _<_o:§m UW<< nmo.=o_ manson 223 no. emwm <m: 53 macon com N> room _m_~=& n=< z< HHEH,.w Pom
N.Nm >_m:: rmm.o.m mdon owe am _<_oo§w Um,<< nm:qm_ masson >_mc: no. emwm <o= _uo§ manor cox Nb _.o:m _m_m:a nz< z< H_.HOP-wp0m
~.Nm 223 _.mmmm mao_.m umw mm §oo§m omz>__ nm=.§” mdmd_oo >_m:: no. won <<. Nm§ wong zm<< <oaw 2< 503
~.wo 223 _.mmmm m.noam umw mm ”<_o:§m UB<< noonan 2253 323 no. 95 .,>__. ~m§ m.o\mm.n 292 <o§ z< 508
N.ww 223 roman mahon nw m _so:§m UWE no:§_ manson 223 no. mo S_.. H_....§ m.namm._n zm<< <o_.x z< 305
N.w~ >_o_.§ roman mdo~o nw m _<_oo§m um,<< no:.§_ m.Bmo= >_m:.o no. mo <,_.. §§ matan zm<< <o§ z< u_.oon_.oa
N:oow >_m:: rowan mdoam ne m §oo§m cw,<,_. nm§am_ minotn._o= >_B,B 09 mo <<. §§ macon zms. <o§ z< 505
~.we >_w_.:,_ _.mmmm wingo mm m m<_o:§w Gm,<<. mm::.o_ m$mo: >_m_,o._ no. mo E. §§ marmon zos_ <o§ z< 505
N.wm 333 _.mmmm m.§m ma 0 _$o:§o Um>>__ no=:.m” manson >_m:: no. won <<. ~m§ macon zms_ <o§ z< H000H
~.wm 223 _.mmmm m~o_.o nw m _so:§w Om,<< nm_=~:m“ manson 2an no. mo <<. §§ macon 292 <oax z< 503
~.wu >_m_...: _.mw,o.m mno~m 30 m _<_o:§w UW<< nm:o.m_ w$:o: 323 no. mo <<. §§ mn.mm» zm<< <oar z< »00§.
~.ww >_m_._.: women macon mem m _<_os§m 0@<< mm_...c.m_ manges 223 no. mo 5_.. §§ mrmm., zm<< <o§ z< 505
N.wm 233 unme mnoam E.m m .<_oo§m Um,<< nmsqm_ m$.n._o: >_o_.§ 09 mo S_.. §§ m»amm» zms_. <o§ z< 505
who >_m:.o rmmmm mao_.m opm m _so:§m om..s._ nm:qm, m.c&o: >_m_.B no. m0 <<. §§ m~ammd zms_. <o§ z< H00HEt
N.nE. >_m..§ _.mmmm mcnon umw m _So:§w Um?< nm:z.m“ wausau >_w:._._ no. mo <<. §§ m.:‘mmd zms._ <o_.x z< 505
N.o~ 233 _.mmmm maon umw m §o:§m Um,<< nm_._§_ mdmno= 223 no. mo <<. P._._§ 233 zm._< <o.\_h z< w00:.
N.ew >_m_§ _.mmmm 983 owe m §o=§.o. 0@<< nosqo_ manson >_m§ no. mo <<. §§ mdamm.n sz <o§ z< 505
who 223 romeo mdon umw m §o:§m Om,<¢_ mm:»_.m_ m$"._o: 233 09 mo <<. §§ mtamm» zms_. <o_.x z< 505
~.om >_m..§ roman mdon n~m m _<mo=§m Um>>__ nm_._d$m mdmeoo >_m§ no. mc <,__. §§ m.=mmd zms. <o_._A z< 505
mbm >_m 13 _.mmwm w~oam umw mm 2__¢_._§m U@<< nm==m_ wdo.n._os >I:._._ no. H_S. s__. Nm§ m~emm» zms_ <o§ z< 502
N.o.~ >_m:: _.mmmm m»owm nmu m §o:§w UW<< nm:qm_ m»m:o: >_E.B no. H_..$. <<. ww§ mqmm» zms__ <o§ z< 303
M.om 223 roman m»oam nww m ?._o:§m 0®<< honda mdmd._o= >_m_`:._ no. mo ..>_.. §§ mdammd zmé <o§ z< »00:
who 2me _.ommm mdon owe m Zo=§m Um,<< nm:o.m_ 2253 223 no. m0 <<. §§ mdmm~h zm<< §§ _ z< 505
N.mo 233 _.mm.o.o mdon uww w _So:§m 0@5__ nm=.:.m_ manson >_o_.B no. mo <<. §§ macon zos. <o_t_h z< 505
~.mp Em..=. _.mmmm me.o:o. new m Z_o=§m UW<< mm:=m_ 2255 >w.§ 09 mo <<. §§ macon zos._ <o§ t z< 505
~.m~ 233 ..mmmm m~o_.m non UE Zo:§m UW<< nm:§m_ m»m_=o= >_3.3 no. you 5__. Nm§ macon zm$_ <o_.r z< 503
N.mw . >_m:.o woman m»o_.m nom m §o:§m U_W<< noo»am_ m»m.n._o= 223 no. mo <<. §§ m»amm» t zms_ <o§ _ z< 505

 

 

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N.00 223 _.mmmm maoam 200 0 _$o=§m 00,<< nmsa§_ mamamos 223 no. 00 <<. §§ maBma 292 <o§ z< 505
~.00 223 5000 maowm 000 w _<_o_._§ Uw,.<< nm:a_.m_ mama._os 223 no. 00 <<. §§ ma_.mm» 292 <oa_a 22 505
000 223 _.mwwm 083 000 0 _<_os§m 502 nm:a_.w“ mamamo= 223 no. 00 <<. §§ ma:wma 292 <o§ 2< 505
0.0..2 223 _.mmwm mao:w 000 0 gos§m uw<< nm=aB_ mama._o: 223 09 00 $_. §§ maamma 292 <o§ 22 505
N.mm 223 _.mmmm mao_.m 000 0 §o:§m UW<< nm:a_‘m_ mam:os 223 no. 00 <<. §§ maqmma 292 <o§ 2< 505
~.00 223 _.mmmm maon 05 m _so=§m ow,<< nm:aaw_ mama_ou 223 no. 00 <<. §§ ma~mma 292 ,_.o§ 2< 505
M.mo 223 _..mmmm mao_.m 232 0 _<_o:§m _um..<< nmsa§" mama._o= 223 no. 00 <<. §§ ma_jmma 292 <o§ 2< 505
~.05 223 _.mmwm maoam 220 0 _<_os§m 000_< nm=a~.m_ mamawo: 223 no. 00 <,__. §§ 0292 292 <oa_A 22 505
N.mm 223 _,mmwm 033 30 0 §os§m 000_< nm=a.m_ 2253 223 09 00 5._. §§ maqmma 222 <o§ 2< 505
N.mw 223 rmmmm mao~m 05 0 _<_o:§m 0@<< nm:a_.m_ mama._o= 223 no. 00 S_. §§ maqmma 292 <o_.w 24 505
N.mh 223 _.mmmm 0a2m umw m _<E:§m Gma<< nm:a_.w_ mamamo: 223 no. 00 <<. §§ maamma 292 <o§ 2< 505
0.00 223 520 035 000 00 m<_o=§m 00,<< nmsaS_ mama_os 223 nov 52 <<. Nm§ maqmma 292 <oar 22 5005
000 223 _.mmmm maoam 200 5 _$o:§m Um;>__ nm=a_.w_ mama.”o: 223 no. 00 <2. §§ 0a_1mma 292 <o§ z< 505
000 223 _.mmwm 083 200 0 asoz§m 00,<< nm=aam_ mamamo: 223 no. 00 <<. §§ ma_.mma 292 <on» z< 505
N.mm 223 memm maon 000 0. 2._0:§.~. 0@<< nm=a$_ mama._o= 223 09 00 S__. §§ maEm.a 292 <o§ z< 505
~.00 223 0.m2m 033 000 0 §o=§m UW<< nmsa_.w_ 2223 223 no. 00 ,_<. §§ ma,,mma 202 222 2< 505
N§.o 223 _.mmmm 0ao_.m 000 02 _so:§m 00.<< nmsa§_ 050an 223 no. 00 53 §§ ma_.mma 292 <o§ z< 505
0.5 223 _rmmmm maoqm umw 0 _<_o:§m UB<< nm:aam_ wama.”o: 223 no. 00 <<. §§ ma~mma 292 <o§ 2< 505
~.0.~ 223 _.mmmm maoam 202 m §oa.a_._m 00,<< nm:aam_ mamamo= 223 no. 00 <<. §§ waqmma 292 §§ z< 505
~.qw 223 _.mmmm maon 000 0 Zo=§m 00,<< nm=a§_ 2253 223 mo. 00 <<. §§ wawmma 292 <o§ z< 505
55 223 520 maoam 505 0 _<_o=§m 00,.<< nm_._a_.m_ manson 223 no. 00 <<. §§ maamma 292 <oa_h 2< 505
N§m 223 _.m2m 033 050 0 Z_o:§m 000>__ nm=a_.m_ mama._oa._ 223 no. 00 <<. §§ maamma 292 <o§ 2< 505
~.wm 223 _.mmwm mao~m 050 0 _<_ou§m UW<< nm:aam_ mamamo: 223 no. 00 <2.. §§ maqmma 292 <o§ 2< 505
~.§. 223 _.mmmm maon 55 0 _<_¢a_§m 0002_ om=a_,m_ mawa._o= 223 no. 00 <<. §§ waamma 292 <o§ 2< 505
520 223 wmmmm mao_.m 55 5 _<mo=§ 00,<< mm_._a_.m_ 2253 223 no. 00 a>._. §§ ma:wma 292 <o§ z< 505
020 223 520 033 55 5 aso:§ 000_< nm=a$” mama_o: 223 no. 00 <<. §§ maamma 292 <o§ z< 505
~.00 223 _.mmwm 053 55 0 _<._om§m Um,<< Om:aB_ 05000 223 no. 00 <<. §§ ma_.mma 292 <o§ z< 505
0.5 223 a.mmmm maon 050 2 §oa._§m 052 nm:aE_ mama._o= 223 09 00 <<. §§ ma_.mma 292 <oa_A 2< 505
N.mm 223 5000 05_.0 050 m _$o:§m Ow,<¢. nmsqm_ mamamo: 223 09 00 5_. §§ maamma 292 <o§ z< 505
~.mw 520 22 mao_.m nw mw m<_o:§m UQ<_ mmm_a.< _._.m 000 l»..w_d_ maqmma maoo£<: z< 550
N.w_» 520 22 waoam 000 ~0 _so=§m 0222 >mmon..mamm _._.n 10 max 000 moor z=_ 22 5.§.0
N.m0 520 32 mao..m umw 20 _<_o:§m 093 om<m”c_uBm=a 50 220 mr miam 5~ vo_.a_mmmamo= 2< 534
000 593 02 maon umw 0 §o=§m Dm_no._.m<no <m=aim cum <<m<:m 220 Zm= <<m<:m 20 350
~.02 _.mma.m 02 maon 22 00 _<_o:§m 050 Um<m_ou_.:m=a no 500 m. 0§ ma_.mma m_.oo£<: 2< 5000

 

 

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CaSe 8-19-72292-reg " DOC 1_" Filed 03/28/19 'Entered 03/28/19 17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N.mm _.mmmm won mSB npow d §o:§m m_Bo=.n >Mmon.”m"m.». m _...n 3a _<_mm: mr m:#m Nuw cox Emm_.mo: z< H_.S.._d
~.mw _.mmwm S~ m~S_.m umw ww .<_03_,5 mm,= H:Hmzo_‘w §-ow wong md~mm.n m_m:n§m z< wamm
who mdon Qma._.n nmS_ mmmm H_. _so:§w man GW.B mmmm m_m:q.amm no=:mn~o~ zm >.n_m=$ m> wow»~
N.mw _.mmmm 3“ mdo_.m #:w am _So:d:m Tm:n..:m: E.N_. _._.n uaw ><mG D..EA. m:#m m ._\mm=mn_n z._ cummmfmn_.mo
N.m~ Hmmmm man m»o..m §§ mm _<_os":m m W w mc=n:._m noE ve max w:.o mmm Imqvo~ z< pwmmw
~.ww rmmmm F_. mnon 3m 3 ?._o:¢_m . monsm§ nmv.=m_ xmm#< ch wm.u. _A._=w.£o: ><m. umc mSow_<: z< :.NE
~.@h _.mm._.,m.no_1 mSE umw § ?._o=?m INEJ._. mm_us opm ><m=.._m x wBoE<: z< Swwo.£..‘,w
N.mm _.mmwm .qo_. m»o,.m now h _so:§m xm_$§_m= w no. vO max mmq :mn_hm=mmn_n z< owm¢~
N.mm _.mmmm .no_. mdo_.m umw mm _So:»_._w _B_Qm:m_ mnm..=:m _..& 53 ><m odd >BQLSM ma 309 zm<< <o;h z< Hoopm
~.mu.. _.mmmm ¢o~ mdon umw am _so=.n:m ." W m ._.m=m_.:._m: § no:m+_us_.mq _.m_._m <<m% <<__._%o_. z._ 3me
w.wm wmme .Ao~ mdo$ E.o 3 _<_os§m h << mmm=< no wm _$m&m: _.m:m. mc:m 500 zms_ §§ z< Hoowm
N.wm _.mmmm .no.. mdon §§ wm _<_os§m hmmwm< _<_m_.,mmem=H no 10 max womm :._n_@_.=_m z< wpmow.wowm
~.Hco _.mm.,..m *E m~o_.m F.~N mm n<_o:§m E_._.< m. _~._m:§m= ._.E£ mwoo zm=os_.m ><m==m mSo_A_<: z< wp~ow
~.Hop kqu m<m.$=. noian 3 §o:§m hagans no§_d_m no wax mgme _u._#mu§m_._ 1b _Hm~mo..\.wm.`.
whom memm E_. mno_.m uaw wm _So:§w x,._.... xmm_€ no. vO max wmoomw ._m:._m_nm z< HEwm
~.How Hmmmm *oq mSB wm mw §o:§m xmc*§m: _Sm=mmmm._m_: no ve max mama x_n§<.___m z< wwmom.mowo
when _.mmmm .F_. Wme umw mm §oo§m _.m mcm§m ns. xmm_»< ch hw,o~ O:Bm_.m m_<¢_. man _"_~ >m"o;m z< PHEw
whom _.mmwm 3_1 2on 55 mm §o:¢_m _.m<§mam mmm_~< 95 mm.p.`. _<_m_.m=mo mqmm~ _._o=.as__oon_ z< H§~w
whom _.mmwm *o_, mdon umw mm ?._¢ZE _.msBo_.H mmm:< no_\u meo ._.I& ><m:_._m‘ Nsa § zms_ <o:A z< 5on
N.Pow _.mmmm maj m~o_.m gov § §o:§m 2._.._. _$m_.z: mn mon 59 wao monm;o~ mqmm» zms__ <o:h z< 5th
whom _.mmmm *o~ muqu umw wm §o;§m _<_m.no:m m~o:u mv;:m:mx Hw»-ou. wong ><m==m no=mmm _uo=: z< E.wmm
whom _.mmwm .no~ m.SB umw § _so:":m _sm&o_d mnc:._mw 3a _<_m_: md mc:m NON mon._mmm_.mo: z< .»_wd_q
~‘E.o _.mmwm *o_` mdon uaw wm ?__o=§m _<_EEQ S=wmm >mwon§mm mm Tom:=ns 123 w_<a 503ch z< 5qu
N.Ew rmmmm dana muon umw wm §o=§m ”<_._,...<ms mmdm xmm#< nw ch wm Onmm= ><m=cm~ usa m_. mBQ_A_<: z< E~Nm
w..wu.~ _~_.mm~m_.m nosqmgm mdo~mm nww\ m` mm. Pw~ »m 3 _so:§m zmz=.m_w <m_`._m.£ mm <<. 103 w_m~m nn md roc._m _.sO mw..$m
~.Bw Tmm~mG no:¢.mn"m m»o$v. u~w~ mm\ mm` mw_ wm mm §osz..m zm»Em.m <m:m€ wm <<. von v_m~m or mr ro=.m ?._0 mw§m
N.P.E rmmmm .¢o_‘ mnon #E.m § §oz§m zomzm:n_ Poumn< Os_:m_, no wox §pr mm#._BoB 25 25 ~H~um-mwpw
Wme memm *oq wSS nom wm z__o=:.,m z< noBB§Hmzo: 02 :v mwm mm§ ><m. _.m<m_ m zms. <o_.x z< 5on
Wme Emwm .Aoq mSB awpa wm _So==.w Owqu <2§0<<: ?oumn._mm pmm m<_<w: ><m=cm m:m_ms_ooa Q._mm z._ oqmww
Nqu _.mmmm *o~ m.SB E_m mm §o:§.». _uE.mBo§H _u~oum_.~< z__m€.n wo max mmmm m_._~mwm§ _E odom
Pme . _.mmmm 3_. Hqu uaw am _<_on¢_m ntBo=:~ _»_.oumn< _<HB~ _uO max mmmm m=~mum? § cumon
~.Ew rmmmm *oq meon nw M_.m _<_o:§m vw~m§o::» Poww;< _sm§ _UO wax mmmm m=~m_um§ _E odom
Nch _.mmmm won m€~m wm d 2533 vqu j._.».m_., >mmoam»mm :.n ~mm mxmn_:.,<m Dz<m~ w=#m wo~ v_m§<_ms_ z< §mow-“_.qwu,
Ppr _.mvmm *o_. m§.m gm mo §o=»_.w wm=m:mc_m nw:~mq _._.n Hmw _2_=m _..._wnm S._ooa:_mqm z< E.mmm

 

 

 

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Case 8-19-72292-reg" DOC 'l' Filed 03/28/19 ” Enteréd 03/28/19 17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N.H_.NN _.mmmm dod mdodm umw wm _<_o:d:m _um_.mmd._._m:d dsm= §n mdwdmo _w_m:a wm mdomd._._n: _HQ_.B E<Q_ <_doon_chd z< d_.w....mu
N.....Nw _.mmwm dod mdodm gm wh ?._o:ddm nmdmd msdmd§._mmm §.U Hhmm _<=n=m:n_ ><m~ >_Qd wm wdo:x<m=m z< guam
Nth §m= _<__Qn§d.m d.mmmm h _<_o:d:m Ed=m< mosde m_od§_ _...n va max md pmmd.. _u._ddmvc_.m: § Pm~mo,...dmw._.`
w.wwm d.mmmm don mdodm umw mm §o:dd._w Eddon_d mmm_d< nev mmp mdm,_<mdd ><m` mm_dm H_.oo mm_.am= n.,d< z< d..._.mwo
Nme wmme dod mdo.,m #wo pm _<_ozd:w m mp w ded..m§ _umd.d:m_.m Fm dwm=~m wmd: ><mscm _"_Ed..§m z< mme
wwa 02 mooaw ._.Endo_. wmmmmm wm dso:dd_m mm_m:._ ._._,cn_d _.mmm_zm _:n mmom ><dem § 10 mox wmwo»~ mdoo_d_<: z< wp~wm
Nde 02 mooam d.dw=md. 532 wm d,_.._o_._d:m §de .T:n_d rmmm:._m 50 mmom ><m::m P vO max wmm¢- m_doz<= 2< B~wm
N.w~m _H_md_ d._.=n_d _.mmmmm § §o:d:m mm_md.= d.d_._n_d _.mmm_=m _:n mmom ><mz=m P ve max wmmo- wdoo§<= z< d»~wm
N.dwo _.mmmm dod wdodm umw mp _So=dsm mm§=m_ _.. zzmvmd__ds _=n. wmc um=.m§ xomn_. m=ddm ~.d zm<< mon:m=m z< Homom-~moo
N.Pwd_. wmmmw dod mdodm aim wm _So:d:m mmm no<m maEd.mm _.d.n §§ _<_mm: md` m:ddm won modd ._mmma..o: z< §qu
~.Pw~ _.mmmm dod mdodm adam w _<_o:d:m mocd:s:d< mdmm: vO max mhhwwm momdo: ?__> ow~mh-¢wwm
N.».u.w _.mm.~.m dod mdon umw mp _<_o:d:m mo:d_..no_.d Nuww _._.n Nw» Domdmd dead mama Qowdm_. 2d odm~.»
N.m.wb _.mmwm dod mdodm umw mm ?._od._d_._m mdmm_dr >B=d.dmddo_..m _._.n wm Onmm= ><m==m\ Nd& md m_.co_d_<: z< P.»_N~m
,~.Pwm rmmmm dod mdodm umw do “<_o:dwm mdm<m Qo_n_.=m: ~wc §§ mddmmd mdoo_d_<= z< :,-~
N.vwm 5me dod mdodm umw N _so:d_.m mcmzodm= _._._u dm <<mm_m< no:_.d wm<o:_._m zh 953
..~.Hw..d _.mmmm dod mdodm umw mm dso:d:m <¢_N.mm< Em~m _._.n mbm mds ><m:_._m` dmdd_ mead zmé <o_._A z... woowm
~.wwm _.mmmm dod mdodm umw m gonde <<m_mm§ m._xd: ><m==m hew §§ ><m m~ Hmdv m_oo_. zm€ <owr z< 505
Nme nou< ?.__mnd._m:m _.mmmm up _<_o:d:m xm_.ox noduo§ddo: , 10 max qummm v_._=mqm€:._m v> pmpm~.d..mmm
N.§o _.mmmm dod mdodm umw ...`m z__c=d:m N_dm Po_um&mm :.n umoo 355 ><m=cm mdoo_d_<z z< ww~om

 

 

 

Case 8-19-72292-r€g DO'C`J_ Filed 03'/28/19' Entefed 03/28/19'1723&44

Fill in this information to identify the case:

 

D@momame Petland Discounts, lnc.

Uniled States Bankruptc:y Court for the:EEleElTl DlS'[l’le Df NEW YOl'k

Case number (|f known).'

 

B Check if this is en
amended filing

Officiai Form 206l-l
Schedule H: Codebtors

Be as compfete and accurate as possible. if more space is needed, copy the Additional Page, numbering the entries consecutivelyl Attach
the Additional Page to this page.

 

12/15

 

 

 

 

 

 

 

 

 

 

 
  
   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Does the debtor have any codebtors?
§ No. Check this box and submit this form to the court Wlth the debtor's other schedulesl Nothing else needs fo be reported on this form.
il Yes
2. in Coiumn 1, iist as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, xemm:imnoet? ip. include all guarantors and co-obligors. ln Column 2, identin the creditor to whom the debt is owed and each
schedule on which the creditor is listed |f the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
z n dame Name izz?i;c;:i;{schedwes
2_1 Neii Padron 8 Burnham L.ane DQ|CO_LSVCO g g
Stree' Vehture a E"F
K| G
DlX HlllS NeW YO!'k 1?746 See Attachment 1
City State Z|P Code
2.2
El D
Street - """""" "_ ij E,r|:
EJ G
City State Z|P Code
2.3
EJ D
Slreet m E/F:
E] G
W_ m Cily ,,,,,,,,,,,,,,, 5 late ,,,,,,,,,,,,,,,,, Z|P COde k d g w
2.4
E| D
Street cl E/[:
El G
_ ____m m nn City State ZiP Code y nm _M_ W
2.5
E| D
Str€@\ mmmmmm""_ n E.{F
ll G
City rState 7 7 Z|P Code
2.6
ill D
Street m ij E/F
ill G
City State ZiP Code
Officia| Form ZGGH Schedule H: Codebtors page 1 of 1__

 

 

lCaSe 8-19-72292-reg DOC 1 Filed 0'3/28/1'9 Enlered 03/28/19 17238:44

Attachment
Debtor: Petland Discounts, lnc. Case No:

Attachment1
3500 4Bth St. Owner LLC, Schedule G
418 BBA LLC, Schedule G
Cheisea London Co LLC, Schedule G
Gotharn Capitel Rea|ty E.L¢.'$r Schedule G
J W Realty Co, Schedule G

"Case 8-19-72292-'reg DOC 1 F.i|ed 03/28/19

      
     
 
 

Fill in this information to identify the case:

Debtorname Petland Discounts, lnc.

united states saskwpccy com for ths:Eastern District of New York

Case number (lf known):

 

Officiai Form 206Surn

 

Elii€red 03/28/19 17:38:44

EJ check innis is an
amended filing

Summary of Assets and liabilities for Non-!ndividuals 12115

m Summary of Assots

 

1. Schedule A/B: Assets-Reai and Personal Property (Ofiiciel Form ZOBAIB)

 

 

 

 

 

 

 

 

 

 

 

1a Reat property: 00
Copy line 88 from Schedule A/El .......................................................................................................................................... $o'
1b, Tota| personal property: $ 6 057 239_44
Copy line 91Afrom Schedule A/B ........................................................................................................................................
tc. Total of afl property: 7 $6 057 239_44
Copy line 92 from Schedule A/B ..........................................................................................................................................
Summary of Liabilities
2. Schedule D: Creditors Who Hold Ciaims Secured by Property (Official Form ZGSD) o 00 v
Copy the totai dollar amount listed in Column A, Amount of claim, at the bottom ot page 1 of Schedule D ............................ $ `
3. Scheduie E/F: Creditors Who Have Unsecured Ciaims (Official Form 206E/F)
3a Totai claim amounts of priority unsecured claims: $ 28’534-68

Copy the total claims from Partt from line 6a of Schedule E/F ......................................

3b. Totai amount of claims of non-priority amount of unsecured claims:

Copy the total ofthe amount of claims from Part 2 from line 6b of Schedule E/F ..........

4. Totai liabilities ........................................................................................................................

Lines2 + 3a + 3b

................................................... $ 5’831|027_46

 

 

 

 

.¢. $5,802,492.73

 

 

 

 

thcial Form ZOSSum Summary of Assets and Llabi|ities for dion-individuals page 1

" CaSe 8-19¥72292-r€g 'DOC l Filed 03/28/19 Eiitei’ed 03/28/19 17':38:44"

Fill in this information to identify the case:

 

center name Pet!and Discounts, lnc.

 

united states eeni<rup:cy conn for ine-_ Eastern District of New York

 

1.

Case number (if known):

 

Ei Cneci< if rnie as en
amended filing

Official Form 207
Statement of Financial Affairs for Non-lndividua|s Filing for Bankruptcy wis

 

The debtor must answer every question. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

1` Gross revenue from business

 

EI |\Eone

tdentify tire beginntngand ending states of the debtors nscsi year, emich Sonrces of revenue

may be a calendar year .; :.E' ‘ C.heclt alt that apply
Ft‘om the beginning Of the ` Operating a business
fiscat year to filing date: Frorn mmi/2019 to Filing date [;| Other $9.863.762-00

lumberva w
For rior ear: From mmi/2013 to 1231/2018 Operatinga business
p y utu /DD /YYYY MM .' DD .'YYYY n Othe{ $M
For the ear before that: From mmi/2017 to 12/3?"2017 Operating a business
y iviNi .' DD .' YYYY MM/ DD/Yvw n Other $551827»940-00

2. Non-business revenue

include revenue regardless cf Whether that revenue is taxable Non~business income may inc§ude interest, dividends, money collected
from iawsuits, and royalties i_ist each source and the gross revenue for each separately Do hot include revenue listed in line 1.

 

 

 

 

El None
Description of sources of revenue Gros's revenue from each
` source
{before deductions and
exciusions)
From the beginning of the
fiscal year to filing date: From to Fiiing date $_
Miu moiva
For prior year: From to
Mrvi .' DD /YYVY MM i DD .'YYYY 3
For the year before that: From to
MM/ DD .' vaY utu roDiYYYv $

 

 

 

 

Officiai Form 207 Statement of Financiai Affairs for Non~individuals Fi|ing for Bankrl.xptcy page 1

Case 8-19-72292-reg "Doc 1 Filed 03/2'8/19 Entered 03/28/19 17:38:44'

Debtor Petland DlSCGUHtS, E|"lC- Case number (irimawni

Name

m List Certain Transfers Made Be'fore Fi|ing for Bankruptcy

 

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers_inciuding expense reimbursements-to any creditof, other than regular employee compensationl Within 90
days before ti§ing this case unless the aggregate value of all property transferred to that creditor is iess than $6,425. (This amount may be
adjusted on 4.'01/19 and every 3 years after that With respect to cases filed on or after the date of adjustment.)

 

 

 

 

 

 

 

 

 

 

l:.l None

creditors name amf address oates ' Tctai amodnt_ or voice '_Reasons for payment or danaher
3.1.

3500 481h St Owner LLC $65,367,35 El Secured debt

Creditors name |;l Unsecured loan repayments

296 l\/lad:son Avenue

street cl Suppliers or vendors

m Services

New York NY 10017

city state ZiP Code OiherREnf
3.2.

355 Crool<ed Hill Road LLC $52,250_00 l:l secured debt

Credimr'$ name n Unsecured loan repayments

8 Burnham L.ane

street n Supplters or vendors

o s it NY 11 46 a Sewices

ix i s 7
city state ziP code other Rem
See Attachment 1

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursementsl made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or forthe benefit of the insider is less than
$6,425. (This amount may be adjusted on 4/01/19 and every 3 years afterthat With respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. insiders include officers, directors and anyone in control of a corporate debtor and their relatives;
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).

l;l None

tnsider‘s name and address Dates Totat amount er value Reasons for payment or transfer
11.11 `
Neii Padron $370,888_32 interest on Personal Line of Credit used by

 

lnsider's name

8 Burrlham tone 06/11/18 debtor and ocher's car payments

 

 

Street

 

 

Dix l-lills NY 11746
City State ZiP Code

 

Relationshi`p 10 debtor

 

4.2.
Lisa Sanders $7,641.00 Car Payments

lnsider's name

67 Buttonwood Drive 06/11/18

 

Street

 

 

Dix Hiils NY 11746

Cily State ZiP Code

 

Reiationship to debtor
Daugbter of sole shareholder

 

 

See Attachment 2

Official Form 207 Statement of Financial Affairs for dion-individuals Fi|ing for Bankruptcy page 2

 

Case 8-19-72292-reg " Doc 1 Filed 03/28/19 `Entered 03/28/19 1'7:38:4`4l

oebtor Petland Discounts, lnc. , ` Case number aims

Name

 

 

5. Repossessions, foreclosures, and returns
List all property of the debtorthat was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosurel or returned to the selier. Do not include properly listed in line 6.

 

 

 

 

 

 

w None

Creditor’s name and address ' _ '- _' Descripr of the property Date Value of property
5.1.

$

Creditors name

Sireet

City State ZiP Code
5.1.

$

 

Creditor's name

 

 

St€eet

 

 

 

City State ZiP Code

6. Setoffs

List any creditor, including a bank or financial institution. that within 90 days before fi§ing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt

None

Creditor’s name and address :' ':': ::. - j' Z'E§ j - :'Des'crip'tidne¥th:e`action credido'rtioo&k- Date` action was Amount
. . .. . : ' . ::‘:..:. : . .. :'. .. . . akers

 

Creditor’s name

 

 

Street

 

Last 4 digits of account number: XXXX- _

 

city state ziP code

m Lega! Actions or Assignments

 

?. Legal actions, administrative proceedings court actions, executions, attachments, or governmental audits
List the legal actions, proceedingsl investigatic)l'!s‘>l arli)itrafii:)risl mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity-within ‘l year before filing this case.

 

 

 

 

 

 

 

 

 

 

 

El None
Case title Nature of case Cou:t or agency’s name and address Status of case
7'1‘ See Attachment 5 See Attachment 3 See Attachment 4 Pendin§
Name , , m On appeal
465 Dr. l\/lartin l_uther King Blvd
Case number Street g Concluded
6379-19 Newar|< NJ 07102
Ciiy State Z|P Code
Case title . Court or agency’s name and address Pending
7`2` See Attachment 6 See Attachment 7 See Attachment 8 L:l On appea;
Name
case number - vii szingston St. m C°"C'“ded
Street
0585587
Bfoc§<iyn NY 1 1201
City State Z|P Code

 

m§ssvatf,ashmease..,.,.,....h...-.\.~..

O’riiciai Form 207 Statement of Financial Affairs for Non-|ndividuais Filing for Bankruptcy page 3

 

Case 8-1`9-72292-reg" Doc 1 Filed 03/28/19 "Entered 03/`28/19'17:38:4'4

Debtor Pefiand DiSCOLtr`itS, lnC. Case number (iri¢nown)
Name

 

 

B. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the ‘§26 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 'l year before filing this case.

N_O“¢i
____¢`Sf¢efié

    

 

 

 

 

 

 

 

 

 

$
Custodian's name v . . . -
Case title Court name and address -- _-
Street 7
Name
Case number
city state ziP code ' f Si,eet
Date of order or assignment
Ciiy State zlP code

 

   

f Certain Gifts and Charitable Contributions

 

9. List att gifts or charitabie contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

None

  

Description of the gifts or contributions Dates given ' Vaiiie ' ' '

9.1. _ $

Recipient's name

 

 

 

Stree¥

 

 

C§ty State ZlP Code

seamenth éei`at`idriship`w debtor

 

 

9-2- Recipient's name

 

 

St reet

 

 

City State Z|P Code

Reci'p‘rent’e retationship to debtor

Certain Losses

10. Al| losses from fire, theft, or other casualty within 1 year before filing this case.
None

Uescription of the propettylost and how the loss Amount of payments received for the toes Date of loss Va!ue of property
occurred

 

if you have received payments to cover the ioss, for '°5!
example from insurance government compensation, or
tott liebilii:y, iist the total received

List unpaid ctaims on Official Form tOGAfB (Scnedufa A/B.'
Assets h Fteei end Personai'Property).

 

 

 

Official Form 207 Statement of Financial Affairs for don-individuals Fi|ing for Bankruptcy page 4

 

Case 8-`19-72292-reg` Doc 1 Fi`|ed 03/28/19 " Entered 03/28/19'17:38:'4`4

Deblor Pe§€lnd DiSCOUHTS, i|"|C- Case number(ir.¢mawn)

N ame

m Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor Within 'l year before

the filing of this case to another person or entity, including attorneys. that the debtor consulted about debt consotidation or restructuring
seeking bankruptcy relief, or filing a bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C] None
Who mspat_\ci_ dr who received the transfer? if not money, describe any property transfetr`eti_::*::“_ .' f z £_.'ia_tge_s - Totai amount or-
11 1 Kane Kessler, P.C.
" z MW $MO
_“_‘_‘*¢'¢S*"_ _
666 Third Avenue
Sireet
New York NY 10017
Cityl State ZlP Code
j alien pf misses address
rko|odnev@kanekess|er.com
Whomade tha`pejymenl, if not debtor?
-_t_eii-ie was page pr ana received the transfer? ir not _r_ngn_ey, assume any prape'ny naas_rejrijea_ _ 1 : z j _ § f- . f oerejsj;f. 5 _ rates amount er
:.._: .. . . . .. ' ..:': . value
11.2.
w $
Adclress
Sll'&el
(L`ityl State Z|P Code

Emait or wehsita address

 

Who made the payment, if not debtor?

 

12. Seif-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor Within 10 years before the filing of this case to

a self-settted trust or simitar device.
Do not include transfers already listed on this statement

 

m None
Name of trust or device Describe any property transferred Bates transfers Total amount or
were made value
$
Trustee

 

 

 

 

Official Form 207 Statement of Financia| Affairs for dion-individuals Flling for Bankruptcy page 5

Case 8`-19-72'292-re`g Doc 1 Filed 03/28/19" Entered 03/28/19 17:38`:'44

Debtor Petl&l’id DiSCOUHtS, |nC. Case number ur»mown)

Name

 

13. Transfers not already listed on this statement
List any transfers of money or other property_by sale, tradel or any other means-»-made by the debtor or a person acting on behalf of the debtor
Within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs
include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement

m None

Uate transfer fetat_ amount or`-

Who received tra nsfer?
' was made vatue

 

m peter J Co§§iq|io 2000 Ford van March 22 2019 $2,500.00

 

 

Address

219 Newark Street
Slreet

 

i_indenhurst NY 11717
City State ZlP Code

Retationship te debtor

Ernplovee

Who received vsnsfer?` _ . " - 2003 GMC Cargo Van, 2015 Jeep Pairiot, March 22. 2019 $11,073.00

 

13_2_ PANY 2007 cadmac sex

 

Address
130 Caro§ine B|vd.

Street

 

 

Farm§ngda|e NY 11735
Cily State ZiP Code
Reiationship to debtor

Son-in-|aw of late owner

Previous Locations

 

 

14. Previous addresses
List ali previous addresses used by the debtor Within 3 years before filing this case and the dates the addresses Were used.

m Does not apply

 

 

 

 

 

 

 

 

Addr-ess Dates of occupancy
14.1. 1618 K§ngs l-lighway From 03/01)'2016 TO 01/25/2019
Street
Brooklyn NY 1 1229
City State ZlP Code
142 132 Nassau Street From 03/01/2016 TO 031'02/2019
Street
New Yor$< NY 10038
Cifv stare ZiP oon See Attachment 11
lhAMWhMMWMWWWWWWWWMWWAWWMWW
Official Form 207 ` Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy page 6

Case 8-19-7'2292-reg Doc 1 Filed 0'3/28/19` Entered 03/28/19 17:38':44

Debior Petland DiSCOUi"ltS, inC. Case number uiknawn)
Name

Healthcare Bankrup¢cies

15. Hea|thcare bankruptcies

 

 

ls the debtor primarily engaged in offering services and facilities for:
_ diagnosing or treating injury, deformity. or disease, or
a providing any surgical, psychiatric, drug treatment, or obstetric care?

No. eo to Pan 9.
a Yes. Fi|t in the information below.

t’-'ae`Hit`y nar`na_ai'ict add ` ` n ` :` Nature of the business cigarettes1 instructing type of services'the_

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

debtor provides
15.1.
Facility name
guest Location where patient records am maintained iii different §romrgci_iiry- '- H_ jaju :i'r`=._~'c,-'§:_¢ds'&e';'n?
address}. ifelectronic` identify any service provides - - ` .. `
Check all that apply.'
.ciry see zlP code 13 Electronica|ly
i;l Paper
F?°iiit¥ W"-t'§‘:"d address ` " Na'¢ure afthe business operation ineh:ding ttips ofservtces'thé` n " ' '
-' - debtorprov?des ' '.
15.2.
Facility name
met mason where patient records are stemmed fir altered rrain.raaiii_y Has§r§:réasws segr?_`
eddress) if elledmnic, identify any service gravider, ' ' - - -
Check ali that apply.‘
City State ZiP Code ij EleCirOrliCaliy
i;l Paper

Personally identifiable lnformation

 

16. Does the debtor coliect and retain personally identifiable information of customers?

No.
a Yes. State the nature of the information collected and retained

 

Does the debtor have a privacy policy about that inform-ation?

a No
a Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ER|SA, 401(k), 403(b) or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

ft No. eo to Part 10.
551 Yes‘ Does the debtor serve as plan administrator'?

C} No. soto san 10.

Yes. rail irrbeiow:
Name of plan Employer identification nwnber of the ptan
Petland Discounts, |nc, 401K Profit Sharing P|an ' E|N: 1 l _ 2 1 0 1 4 8 7

 

Has the plan been terminated?

n No
[Xl Yes

 

 

 

Official Form 207 Statement of Financial Affairs for Norl-individua|s Fi|ing for Bankruptcy page 7

Case `8-19-72292-reg Doc 1 `Filed 03/28/19 Entered 03/28/19 17:38:44

Debtor Petland Discounts, lnc.

Case number (rr»mowni

 

NE|'|`iE

 

 

 

moved, or transferred?

18. Closed financial accounts
Within 1 year before filing this case, Were any financial accounts or instruments heid in the debtors name, or for the debtor’s benetit, closed, so|d.

Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

inciude checking, savings, money market, or other financial accounts; certificates of deposit and shares in banks credit unions.
brokerage bouses, cooperatives associationsl and other financial institutions

 

 

 

 

 

 

 

 

 

19. Safe deposit boxes

None
Firtanciat institution name and address Last-td_igits of account ` ' ' . vaca account was Last detainee
` ` ` number ` ctcsed, soid, moved, before crossing or
cr transferred transfer
15_1_ XXXX_ a Checking $
N
ama a Savings
Street g ii.ioney market
§ Brokerage
oily state ziP code a Other
1s.2. )(XXX_ § C?‘B°km§ w 3
w
ama § Savings
Street g Money market
n Brot»<erage
ciiy sets zlP code n Other

List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have Within 1 year before filing this case

 

 

 

 

 

 

 

 

20. Off-premises storage

None
Depository institution name and address Names of anyone with access to _st :: §. fiescriptton of the contents :g;;:::::,;
\;l No
Name cl Yes
Street
Addre_ss
Cit\,l State Z|F Code

 

 

List any property kept in storage units or Warehouses Within 1 year before fiiing this oase. Do not include facilities that are in a part of a building in
which the debtor does business

 

 

 

 

 

 

 

Officiai Form 207

None
Faciiity name and address Names of anyone with access wit ' Descriptiou of the contents ;;?;:§:E:,;

E] No
i:l Yes

Name

Streei

Address
City State ZiP Code

 

 

 

Statement of Financia| Affairs for Non-|ndividuais Filing for Barikruptcy page 8

 

 

Case 8-19'-'72292'-'|’€9 DOC 1 ' Filed 03/28/19 Entered 03/28/19 17538:44

Debtor Peti¢':lnd DiSCOUl`itS. lt"lC. Case number (irknowni

Name

m Property the Debtor Holds or Contro|s That the Dehtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. include any property borrowed from. being stored for, Or held in

trust Do not list leased or rented property_

None

 

 

 

 

 

 

owner.s name and address l__o_c`ation cf the property Description et the property Vatue
$

Name

Street

City State Z|F Code

Part 12: Details About Environmental lnformation

For the purpose of Part 12, the following definitions apply:

m Envr'ronmentai' law means any statute or governmental regulation that concerns potlution, contamination or hazardous material,
regardless of the medium affected (air, land, water, or any other medium)

s Site means any location, facility, or property, including disposal sites, that the debtor now ownsl o}:)eratesl or utilizes cr that the debtor
forrneriy owned, operated, or utilized

95 Hazardous materfaf means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarty harmful substance

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in anyjudicial or administrative proceeding under any environmental law? lnctude settlements and orders

 

 

 

 

 

 

 

 

No
m Yes. Provide details be§ow.
case title n z ' Courto`r_ agency name and address stature drive case Stswe of case
a Pend§ng
Case number ` `_ Name m On appeal
guest U Conciuded
City State ZiP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental an?

No l
cl Yes. Provide details below.

 

 

 

 

 

 

 

Site name and address Governmentat unit name and address Enviranrnentat iaw, if known hale of notice
Name Name
Street Street
City State ZiP Code Cily State Z$F Code

 

Officiat Form 207 Statement of Financial Affairs for Non-lndividuais Fifing for Bankruptcy page 9

 

Debtor

Case 8-19-7229`2`-reg DOC 1` Fi|e'd 03/28/19 Entered 03/28/19 17:'38:44

Petland Discounts lnc.

NEmE

Cese number (i!kmwn;

 

 

25.1.

25.2.

S_?te name erie address -

24. Has the debtor notified any governmental unit of any release of hazardous material?
No
E Yes. Prov§c|e details below

Govemmerrtaf unit name and address

Env§l'(ll’lm€n£ai faW, if RI'!G'WH

lists of series

 

 

 

 

 

 

Name Name
Street Street
City State Z|P Code City State ZlP Cocle

w None

Busioess asme dod address

: Part 13: § petails About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, memberl or otherwise a person in control within 6 years before filing this case

lnciude this information even if already listed in the Schedules.

Descs/ibe the nature of the business

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employer identification number _ . .
90 not include Soc`cel Security` number or l'i'iN.

ElN: _____

Name Bates detainees existed
Sl¥eel
From To
city Sta\e zzP crude
Bu's'mess name and address Describe the nature of the business Employe¢ identification number
Do not include Socia£ Seoun`ty number or leN.
ElN:__-___________i
Name Dal:es business existed
Slreef
From To
City State ZlF Code
Business name end address Describe the nature of the business Employer identification number
Do not include Social Security member or Hth
EEN: _____ ____ w ____ ____ _____ _____ F is
Name
Dates business existed
Stree£
Frorn T0
City State ZlP Code
Statement of Financial Affairs for lion-individuals Filing for Bankruptcy page 10

Official Form 207

 

Case 8-19-72292-reg DOC 1 Fi|'ed 03/28/19 Entered 03/28/19 17:38:44

Debtur Petl&nd DiSCOL,tl‘i'[S, lnC. Case number (irknawn)

Name

 

264 Books, records, and financial statements
zsa. List atl accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

a None

Name and address Daies of service

zsa_q_ A|eza Cgry From 03/01)'2017 To 03."27)'2019
Name

355 Crooked l-lit| Road

Street

 

Brentwood NY 1 1717
city State ziP code

Name and address Dates of service

Frorn To
26a.2‘ ___""”

 

Nai‘l'le

 

Street

 

 

City State Z|P Code

zsb. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
statement within 2 years before filing this case.

g None

name ass address ' _ oates or service

zeb.i. Kirshehbaum & Urban LLP me WYW TO {MNQ
Name
'l'en Banl< Street
Street

 

White P|ains NY 10606

Ciiy State y Z|P Code

Name and address Dates of service

From To
261).2. _

 

Name

 

Street

 

 

City State Z| P CodE

260. List atl firms or individuals who were in possession of the debtor’s books of account and records when this case is tited.

|;l None

if any books of account and records are

NE|
me and HddeSS unavailath, explain why

zec.»z. Pet§and Discounts, inc.

 

 

 

 

 

 

 

Name

355 Crooked l-li|| Road

Streel

Brentwood NY 11717

City State Z|P Code

 

 

 

Official Form 207 Statement of Financial Affairs for Non-lnciividuals Filing for Bankruptcy page 11

Debtor

Case 8-'19-722`92-reg Doc"l Filed 03/28/19 Entered 03/28/19`1`7:38:44

Pet§and Discounts, lnc.

NE|T|E

Case number (irimown)

 

26c.2.

26€|.2.

266.2.

.No

Name and address

if any hooks of account end records are
unavaiiabte, explain why

 

 

Name

 

 

Street

 

 

 

C§ty State

g None

Name and address

Cool< Nlaran and Assocates

 

 

 

 

Name

461 Pantigo Road

Street

East Hampton NY
city see

Name and address

 

Name

 

Street

 

 

City State

27. inventories
Have any inventories of the debtor's property been taken Within 2 years before fi§ing this oase?

Ei Yes. Give the details about tt'ie two most recent inventoriesl

Name of the person who supervised the taking of the inventory

26cl. List all financial institutions creditors, and other parties, including mercantile and trade agencies to whom the debtor issued a financial statement
within 2 years before filing this case.

The dollar-amount and basis {cost, marke!, or
other basis`) of each inventory

 

 

Name and address of the person who has possession of inventory records

 

 

 

 

 

 

 

 

27.1.
Name
Street
C.ilyl State
Officiai Form 207 Statement of Financial Affairs for Non-|ndividuals Fiiing for Bankruptcy page 12

 

Case 8419-72`292-reg DOC 1 Filed 03`/`28/19 Entered 03/28/19"17:38:44

 

 

 

Debtor Pet§and Discounts, lnc. Case number(nwwn
NEITlE
Name ol_' tire person who supervised tile taking ct the inventory Date of.. the doii_ar amount and basis (cosl, market or
' . . inventory other basis) of each inventory
$

 

 

Name and address of the person who has possession of inventory records

27.2.

 

Name

 

Slreet

 

 

Cityl State ZiP Code

28. List the debtor’s ofticers, directors, managing members, general partners, members in controi, controlling shareholders, or other
peopie in control of the debtor at the time of the filing of this case.

Position and nature of any interest % of inleres_t, if any

 

 

 

Name Address

Joan Padron 8 Bumham Lane, Dix Hi||e, New Yor§< 11746 Director -

Amy Eisenberg See Attachme nt 12 Director -

i_isa Sanders See Attachme nt 13 Director -

Estate of Neil Padrc)n See Attachment 14 Sharehoider - Sherehotder 100.0000

 

s l

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?
m No
Yes. identify beiowi

 

 

 

Name Address Pasition and nature of 'Pefi__o:d during which
any interest position `or interest was
held `
Ne§| Padron 8 Burnham Drive, Dix HiEls, NeW York 11746 See Attachment 15 FromSee 16TDSee 17
. . ' From To
. , ' From To
~ From To

11

 

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation draws,
bonuses, |oa-ns, credits on loansl stock redemptions and options exercised'?

El No -
Yes. identify below

 

 

 

 

 

Name and address of recipient Amount of money or notes Reason for
description and value of providing the value
property

30.1. Lisa Sanders 133,950.00 SH|@[¥

Name

67 Buttonwood Drive

Streel

Dix Hi|ls NY 11746

Cily State Z|P Code

Relationstup to debtor

 

See 18

 

Official Form 207 Statement of Financial Affairs for Non-lndividua|s Fiiing for Bankruptcy page 13

 

Case 8-19-72292-reg DOC 1 Filed 03/28/19 Entered 03/28/19`17:38:44

Debror Petland DiSCOul'ltS, |rlC. Case number (irknawn)

Name

 

blame and address of recipient 139 200 00 355-lia
’ ' __r-;

 

Bruce Sanders
Name

67 Buttonwod Drive
Slreef

 

Dix H§||s NY 11746
Ciiy State ZIP Code

Refationship to debtor See 19

 

See Attachment 20

31 Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
No
Ci Yes. identify below

Name of the parent corporation Empfoyer identification number of the parent
_ corporation

E|NZ -

 

32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

No
3 Yes. identify below.

Name of'tita pension fund n n f": Emp$oyer identification number of the pension fund
E|NZ -

 

Signature and Deciaration

 

 

WARNENG »» Bankruptcy fraud is a serious crime. l`vlaking a false statement concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both_
18 U.S.C.§§152,1341,1519,and 3571.

| have examined the information in this Statement ofFl'nancl'al Affal'rs and any attachments and have a reasonable belief that the
information is true and correct

| declare under penalty of perjury that the foregoing is true and correct

Executed on
Ni|\li IDD lYYYY

x crimes name Rose Consigiio

Signature of individual Signing Oh behalf of the debtor

 

Posltlcm or relationship lo deblor E)<ecutice \Ace President

Are additional pages to Statement of Financial Affa.irs for Non-lndivl‘duais Filing for Bankruptcy (Official Form 207) attached?

No
m Yes

 

 

 

Official Form 207 Statement of Financial At'fairs for Non-individuais Fi|ing for Bankruptcy page 14

 

`Case'8-19-72292-reg DOC 1 'Filed 03/28/19 Entered 03/28/19 17:38:44

Attachment (1/14)
Debtor: Petland Discounts, lnc. Case No:

Attachment1 Additional Paymerlts or Transfers to Creditors:
Creditor's Name: 416 BBA LLC
Creditor‘s Address: 1560 Broadway, New York, New York 10036
Date of Payments or Transfers: January 2, 2019
Total Amount or Value: $37,028.21
Reasons for Payment or Transfer: Rent

Creditor's Name: 5-D Tropical lnc.

Creditor's Address: 6597 lab Head Road, Piarit City, F|orida 33565
Date of Payments or Transfers: January 2, 2019

Total Amount or Value: $1 3,435.54

Reasons for Payment or Transfer: Supp|iers or vendors

Creditors Name: American Express

Creditor's Address: P.O. Box 1270, Newark, New Jersey 07101
Date of Payrnents or Transfers: January 2, 2019

Totai Amount or Value: $108,781.19

Reasons for Payment or Transfer: Supp|lers or vendors

Creditors Name: Aqua-ThailBumrorlg

Creditors Address: 313 Ladprao 23 - Ladprao Road, Jatujak, Bangkok, Thai!and 10900
Date of Payments or Transfers: January 2, 2019

Tota| Amount or Value: $26,235.06 .

Reasons for Payment or Transfer: Suppliers or vendors

Creditor‘s Name: BP Business So|utions

Creditor`s Address: P.O. Box 70995, Charlotte, North Carolina 28272
Date of Payments or Transfers: January 2, 2019

Totai Amount or Vaiue: $7,704.61

Reasorls for Payment or Transfer: Supp|iers or vendors

Creditor's Name: Broadview Networks

Creditoz’s Address: P.O. Box 70268, Philadelphia, Pennsy|vania 19176
Date of Payments or Transfers: January 2, 2019

Total Amount or Value: $16,329.77

Reasons for Payment or Transfer: Suppliers or vendors

Creditors Name: Cablevision Lightpath inc

Creditor's Address: P.O. Box 360111, Pittsburgh, Pennsy|vania 15251
Date of Payments or Trarisfers: January 2, 2019

Totai Amount or Value: $7,267.00

Reasons for Payment or Transfer: Suppliers or vendors

Creditor’s Name: Che|sea London Co. LLC

Creditor's Address: P.O. Box 62020, Newark, New Jersey 07101
Date of Payments or Transfers: January 9, 2019

Tota| Amount or Value: $95,899.36

Reasons for Paymerlt or Transfer: Rent

Creditor's Name: C|earbrook
Creditor's Adc£ress: 15 Greene Street, Bayshore, New \'ork 11706
Date of Payments or Transfers: January 9, 2019

` Case 8-19-72292-reg DOC 1 " Filed 03/28/19 Entered'03/28/1`9 17:38:44

Attachment (2/14)
Debtor: Petland Discounts, lnc. Case No:

Total Amount or Value: $1 0,004.36
Reasoris for Paymerlt or Transfer: Suppliers or vendors

Creditor‘s Name: Coid Care Mechanical

Creditor's Adciress: 15 Hendrie Lane, Green|awn, New York 11740
Date of Payments or Transfers: January 10, 2019

Totat Amount or Value: $10,070.74

Reasons for Payment or Transfer: Suppiiers or vendors

Creditor’s Name: Con Edison

Creditor's Adctress: P.O. Box 1702, New York, New ¥ork 10116
Date of Payrnents_or Transfers: January 8, 2019

Totat Amount or Value: $251,035.90

Reasons for Payment or Trarisfer: Suppiiers or vendors

Creditor's Name: Cook Maran & Associates

Creditor's Adctress: 461 Pantigo Road, East Harnpton, New York 11937
Date of Payments or Transfers: January 15, 2019

Totat Amount or Value: $77,308.08

Reasorls for Payment or Transfer: Seivioes

Creditor's Name: D & W Cntri Sta Aian'n Co

Creditors Adclress: 4818 Van Dam Street, Long island City, New York 11101
Date of Paymerits or Transfers: January 8, 2019

TotaE Amount or Value: $13,268.99

Reasons for Paymerit or Transfer: Suppliers or vendors

Creditors Name: Delco-Levco Venture

Creditor's Address: One Wayrle Hi||s Nlal|, Wayne, New Jersey 07470
Date of Payments or Transfers: January 17, 2019

Tota[ Amount or Value: $28,656.30

Reasons for Payment or Transfer: Rent

Creditors Name: Ecl Parker's Tropicai Fish

Creditor's Address: P.O. Box 7055, Sun City, Fiorida 33586
Date of Payrrients or Transfers: February 5, 2019 _

Tota| Amount or Value: $27,472.27

Reasons for Payrnent or Transfer: Supp|iers or vendors

Creditor's Name: Emblem Hea|th Services

Creditor's Addres`s: P.O. Box 6245, Church St Station, New York, New ¥ork10249
Date of Payments or Transfers: .January 8, 2019

Totai Amount or Value: $208,271.88

Reasons for Payment or Transfer: Services

Creditor's Name: Garderi Tropica| Fish

Creditor's Address: 20 Se|etar West Firmway 2, Singapore, Repubtic 798099
Date of Payments or Transfers: January 8, 2019

Totai Amount or Value: $21,203.40

Reasons for Payment. or Transfer: Suppliers or vendors

Creditor's Name: Gotham Capita| Realty LLC

Case 8-19-`7`2292-reg DOC 1" Filed'03/28/19 Entered'03/281`19 17:38:44 `

Attachment (3/14)
Debtor: Petland Discounts, lnc. Case No:

Creditor's Address: 383 Kingston Avenue, Brool<lyn, New York 1 1213
Date of Payments or Transfers: January 23, 2019

Totet Amount or Vaiue: $56,718.36

Reasoris for Paymerlt or Transfer: Rent

Creditor‘s Name: Great Ki||s Extem'linating

Creditor's Address: 20-24 36th Street, Astoria, New York 11105
Date of Payrnents or Transfers: February 5, 2019

Total Amount or Vafue: $11,794.74

Reasons for Payment or Transfer: Suppiiers or vendors

Creditor‘s Name: Greeriies

Creditor's Address: 1550 West Nlcewen Drive, Frank|in, Tennessee 37067
Date of Payments or Transfers: January 10, 2019

Totat Amount or Value: $28,472.73

Reasons for Payment or Transfer: Suppiiers or vendors

Creditors Name: Guardiarl

Creditor‘s Address: P.O. Box 324404, Phi|ade|phia, Pen_nsy|vania 19182
Date of Payments or Transfers: January 16, 2019

Tota! Amount or Vatue: 914,874.73

Reasons for Payment or Transfer: Services

Creditors Name: Happy Howie's

Creditor's Address: 15510 Da|e Street, Detroit, Michigan 48223
Date of Payments or Transfers: January 11, 2019

Total Amount or Va¥ue: $10,212.90

Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Hazorea Aquatics

Creditoz”s Address: 3658100, Kibbutz, israel

Date of Payments or Transfers: January 2, 2019

Tota| Amount or Value: $11,775.00

Reasons for Payment or Transfer: Supp|iers or vendors

Creditors Name: J W Reaity Co.

Creditor's Address: 15 Niaideri Lane, New ‘(ork, New York 10038
Date of Payments or Transfers: February 4, 2019

Total Amount or Value: $55,941,09

Reasons for Paymerlt or Transfer: Rent

Creditor's Name: Kane Kess|er, P.C.

Creditor‘s Address: 666 Third Ave, New York, New York 10017
Date of Payments or Transfers: January 14, 2019

Totai Amount or Value: $60,600.24

Reasons for Payment or Transfer: Services

Creditor's Name: Kirshenbaum & Urban LLP

Creditor`s Address: Ten Bank Street, White Plains, New York10606
Date of Payments or Transfers: February 1, 2019

Tota| Amount or Value: $15,400.00

Reasons for Paymenf or Transfer: Services

Case 8-19472292-reg DOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44

Attachment (4/14)
Debtor: Petland Discounts, lnc. Case No:

Creditor's Name: Lewis Jay Shron

Creditor's Address: 1 Horizon Road, Fort Lee, New Jersey 07024
Date of Payments or Transfers: January 23, 2019

Total Amount or Value: $7,500.00

Reasons for Payrnent or Transfer: Servioes

Creditor‘s Name: Long leland Aquatics lt

Creditor's Address: 160 N|arine Street, Farmingdale, New York 11735
Date of Payrnents or Transfers: January 28, 2019

Totai Amount or Value: $8,404.12

Reasons for Payment or Transfer: Supp|iers or vendors

Creditor's Name: illlitofsky, Shapiro, Nevel|e & Hazen LLP
Creditor's Address: 152 Madison Ave, New York, New ¥ork 10016
Date of Payrrients or Transters: January 16, 2019

Totat Amount or Value: $40,461.25

Reasons for Payment or 'f'ransfer: Services

Creditor's Name: Nationa| Grid

Creditor's Address: P.O. Box 11791, Newark, New Jersey 07101
Date of Payrnents or Transfers: January 31, 2019

Total Amount or Vaiue: $41,670.83

Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Newrnans Fish Food lnc.

Creditor's Address: 44 E|izabeth Street, Hackensack, New Jersey 07601
Date of Payrnents or Transfers: February 5, 2019

Tota[ Amount or Vaiue: $221,458.73

Reasons for Payment or Transfer: Suppiiers or vendors

Creditor's Name: Oase North America

Creditor's Achress: 1727 O|d Okeechobee Rd, West Palm Beach, Florida 33409
Date of payments or Transfers: January 23, 2019

Tota| Amount or Value: $6,444.08

Reesons for Payment or Transfer: Supp|iers or vendors

Creditor's Name: Olsen Bird Farm

Creditor's Address: 1613 Woodcrest, Corsicana, Texas 75110
Date of Payments or Transfers: January 30, 2019

Tota| Amount or Value: $12,354.72

Reasons for Payment or Transfer: Supp|iers or vendors

Creditor‘s Name: P.C. Richard & Son

Creditor‘s Address: 150 Price Parkway, Fanningda|e, New York 11735
Date of Payrnents or Transfers: January 21 , 2019

Totai Amount or Value: $9,281 .63

Reasons for Payment or Transfer: Suppiiers or vendors

Creditor's Name: Park Tysen Associates LLC
Creditor's Address: 255 Executive Drivel Piainview, New York 11803
Date of Payments or Transfers: Janl.tary 9, 2019

Case 8-1'9-72292-reg ' DOC"J_ Fi|éd 03/28/19 Entered 03/28/19 17238:44

Attachment (5/14)
Debtor: Petland Discounts, lnc. Case No:

Total Amount or Value: $1 3,1 34.23
Reasons for Paymeret or Transfer: Rent

Creditors Name: Pet‘N ShapefPet Ventures

Creditors Address: 8155 Lankershim B|vd, North Ho|lywood, Ca|ifornia 91605
Date of Payments or Transfers: February 18, 2019

Totai Amount or Value: $21,165.12

Reasons for Payrrlent or Transfer: Supp|iers or vendors

Creditor‘s Name: Pooi Fish Distributors

Creditor’s Address: P.O. Box 800, Lonoke, Arkansas 72086
Date of Payments or Transfers: January 18, 2019

Totai Amount or Value: $35,225,40

Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: PSEG

Creditors Address: P.O. Box 14444, New Brunswick, New Jersey 08906
Date ot Payments or Transfers: January 7, 2019

Totai Amount or Value: $34,853.78

Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: PSEG Long leland

Creditor's Address: P.O. Box 9039, Hicksville, New ¥ork 11802
Date of Payments or Transfers: January 2, 2019

Totai Amount or Vaiue: $37,934.41

Reasons for Payrnent or Transfer: Supp!iers or vendors

Creditors Name: PSEGLI

Creditors Address: P.O. Box 888, Hicksvi|ie, New ¥ork 11802
Date of Payments or Transfers: January 29, 2019

Tota| Amount or VaELle: $19,550.33

Reasons for Payrnent or Transfer: Supp|iers or vendors

Creditor's Name: Ra|ston Purina Company

Creditor's Address: P.O. Box 502430, St. Louis, Nlissouri 63150
Date of Payments or Transfers: February 5, 2019

Totai Amount or Value: $35,103.15

Reasons for Payment or Transfer: Suppliers or vendors

Creditor‘s Name: Rena|i Reaity Group 3 LLC

Creditor's Address: 150 East 58th S-t, New ¥ork, New ¥ork 10155
Date of Payments or Transfers: Jariuary 22, 2019

Totat Amount or Value: $22,708,55

Reasons for Paymerit or Transfer: Rent

Creditors Name: Rutan Pon industries lnc

Creditor‘s Address: 39 Siding P|ace, Mahwah, New Jersey 07430
Date of Payrnents or Transfers: January 28, 2019

Tota| Amount or Vafue: $15,620.46

Reasons for Payment or Transfer: Suppiiers or vendors

Creditor's Name: Safe & Sound Armed

Case 8¥19-72292-reg DOC 1 Fi|€d 03/28/19' Entered 03/28/19 17238244

Attachment (6/14)
Debtor: Petland Discounts, lnc. Case No:

Creditor's Address: P.O. Box 1463, Bayvi|le, New York 11709
Date of Payments or Transfers: January 7, 2019

Tota! Amount or Value: $9,534.95

Reasons for Payment or Transfer: Suppliers or vendors

Creditor‘s Name: Salem Truck Leasing lnc

Creditor's Address: 9505 Avenue D - PO Box 369022, Brooklyn, New York 11236
Date of Payments or Transfers: January 22, 2019

Tota| Amount or Value: $54,697.13

Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Sarnuei L. Nusbaum lnc.

Creditor’s Address: 230 Peil'iarn Road, New Roohe||e, New York 10805
Date of Payments or Transfers: January 15, 2019

Totai Amount or Value: $15,247.76

Reasons for Payment or Transfer: Rerlt

Creditors Name: San Francisco Bay Brands

Creditor‘s Address: 8239 Enterprise Drive, Newark, California 94560
Date of Payments or Transfers: February 13, 2019

Total Amount or Vaiue: $23,31 8.58

Reasons for Payment or Transfer: Supp|iers or vendors

Creditor's Name: Shelterpoint Life ins Co.

Creditor‘s Address: 1225 Frarikliri Ave, Garden City, New York 11530
Date of Payments or Transfers: January 10, 2019

Totai_Amount or Value: $7,582.09

Reasons for Payment or Transfer: Services

Creditor's Name: The Cincinatti lns. Co

Creditors Address: P.O. Box 14560, Cincinatti, Ohio 45250
Date of Payments or Transfers: January 11, 2019

Tota| Amount or Value: $46,860.00

Reasons for Payrnent or Transfer: Services

Creditor's Name: Tower Paper Co.

Creditor's Address: 1216 Brunswick Avenue, Far Rockaway, New York 11691
Date of Payments or Transfers: February 6, 2019 '

Tota| Amount or Value: $9,082.28

Reasons for Payment or Transfer: Supp|iers or vendors

Creditor‘s Name: Universal Al|ied Servioes

Creditor‘s Address: 135 Ho||iris Larie, East lslip, New York 11730
Date of Payments or Transfers: January 28, 2019

Totai Amount or Value: $7,577.61

Reasons for Payment or Trarlsfer: Supp|iers or vendors

Creditor‘s Name: Universal Environmental

Creditor‘s Address: P.O. Box 346, Carle P|ace, New York 11514
Date of Payrrients or Transfers: January 18, 2019

Totai Amount or Vafue: $67,294.82

Reasons for Payment or Transfer: Supp|iers or vendors

Case 8'-19-72292-reg DOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44

Attachment (7/14)
Debtor: Petland Discounts, lnc. Case No:

Reasons for Payment or Transfer: Supp|iers or vendors

Creditors Name: Windows That Sel!

Creditor's Address: 223 Wa|| Street, Hunting!on, New York 11743
Date of Payrnents or Transfers: February 4, 2019

Tota| Amount or Value: $12,940.18

Reasons for Payment or Transfer: Supp|iers or vendors

Creditor‘s Name: Zupreem

Creditor‘s Address: P.O. Box 879045, Kansas City, Missot.l ri 641 87
Date of Payments or Transfers: January 9, 2019

Tota| Amount or Value: $8,218.48

Reasons for Payment or Transfer: Supp|iers or vendors

Attachment 2 Additional Payments or Transfers to lnsiders:
insider‘s Neme: Bruce Sanders
insider's Address: 67 Buttonwood Drive, Dix Hil|s, New York 11746
Reiationship to Debtor: Son-in law of sole shareholder
Date of Payments or Transfers: $12,941.21
Reasons for Payrnerlt or Transfer: Expense reimbursements

lnsider‘s Name: Amy Eisenberg

insider's Address: 29 Shoreham Drive W., Dix Hi|ls, New Vork 11746
Reiationship to Debtor:

Date of Payrnents or Transfers: $7,650.00

Reasons for Payment or Transfer: Car Payments

lnsider's Name: 3500 4Bth Street Owner LLC

lnsider’s Address: 295 Madison Avenue, New York, New York 10017
Relationship to Debtor: Ofticer

Date of Payments or Transfers:

Reasons for Payrnent or Transfer: Store rent guranteed by Nei| Padron

insider's Name: Gotham Capita| Rea|ty LL.C

lnsidele Address: 383 Kingston Avenue, Brooklyn, New York11213
Reiationstiip to Debtor: Officer

Date of Payments or Transfers:

Reasons for Payment or Transfer: Store rent guaranteed by Neil Padron

lnsider‘s Name: 416 BBA LLC

insider's Address: 1560 Broadway, New York, New York 10036
Re|ations?iip to Debtor: Officer

Date of Payments or Transfers:

Reasons for Payment or Transfer; Store rent guaranteed by Neil Padron

insider‘s Name: Ceisea Loncfon Co LLC

insider's Address: P.O. Box 62020, Newark, New Jersey 07101
Re|ationstiip to Debtor: Officer

Date of Payments or Transfers:

Reasorls for Payment or Transfer: Store rent guaranteed by Nei| Padron

lnsiders Name: De|co-i_evco Venture

»"Case 8'-19-72292-reg DOC 1 Filed 03/28/19 Entered 03/28/19 17:38:44

Attachrnent (8!14)
Debtor: Petland Discounts, inc. Case No:

insiders Address: Orie Wayne Hiiis lvia|i, Wayne, New Jersey 07470
Relationship to Debtor: Of&cer

Date of Payrrlents or Transfers:

Reasoris for Payment or Transfer: Store rent guaranteed by Nei| Padron

insiders Name: JW Reaity Co

Ensider's Address: 15 Maiden Lane, New ¥ork, New York 10038
Re|ationship to Debtor: Oiticer

Date of Payments or Transfers:

Reasons for Payment or Transfer: Store rent guaranteed by Nei| Padrori

lnsider's Name: Rena|i Reaity Group 3 LLC

insiders Address: 150 East 58th Street, New york, New York 10155
Reiationship to Debtor: Officer

Date of Payments or Transfers:

Reasons for Payment or Transfer: Store rent guarantee by Neii Padron

Atta¢:hment 3
Civil Action Surnmons - Land|ord!`|'enant
Attachment 4
Superior Court of New Jersey Special Civil Part, Tenancy Division - Essex County
Attachment 5
778 Broad, LLC vs. Petland Discou rits lnc.
Attachment 6
365 Knickerbocker Associates, LLC vs. Petland Discounts, lnc., "John Doe“ and "Jane Doe" and "XYZ Corporation
Attachment 7
Hoidover Notioe of Petition [Commerical}
Attachn'lerlt 8
Civit Court of the City of New York - County of Kings
Attachment 9
Case Titfe: 71 -02 Kissena Blvd A LLC vs. Petland Discounts, lnc.
Case Number: 055901
Nature of Case: Notice of Petition Commerciai - Non-Payment
Court or Agency’s Name Civii Court of the Cii:y of New York - County of Queens
Creditor’s Address: 89~17 Sutphin Bivd, Jamaica, New ¥ork 11435
Status of Case: Pending

Case Titie: Arnold P|ains Corp. vs. Petland Discounts, lnc.

Case Number: 900350{19

Nature of Case: Notice of Petition Non-Payment Commercial

Court or Agency’s Name Civil Court of the City of New York, County of Bronx: Non-Housing Part
Creditor’s Address: 851 Grand Concourse, Bronx, New York 10451

Status of Case: Pending

Case Titie: 1321 LLC, vs. Petland Discounts, inc and "XYZ Corp."

Case Number: 054189

Nature of Case: Notice of Petition of Non-Payment

Court or Agency’s Name Civif Court ofthe City of New York, County of Queens: Non-Housing Part 52
Creditor’s Address: 89-17 Sutphin B|vd, Jamaica, New ‘(ork 11435

Status of Case: Pending

Case Titie: Ceritra| Har|em P|aza Commercial Unit LLC vs. Petland Discount lnc.

" Case`8-19-72292-r`eg DOC 1 'i:i|ed 03/28/19 Entered 03/28/19 17:38:44

Attachment (9/14)
Debtor: Petland Discounts, lnc. Case No:

Case Number: 054403!19

Nature of Case: Notice of Petition Non-Payment Business

Court or Agency's Name Civil Court of the City of New \’ork, County of New York: Housing Part
Creditor’s Address: 111 Centre St, New York, New Yor|< 10013

Status of Case: Pending

Case Tit|e: CS Reaity Associates LLC vs. Petland Discounts, lnc.

Case Number: 900358!2019

Nature of Case: Notice of Petition Commerciai Non-Payment

Court or Agency’s Name Supreme Court of the City of New York, County of the Bronx: Non-Housing Part 52
Creditor’s Address: 851 Grand Concourse, Bronx, New York 10451

Status of Case: Pending

Case Titie: DCM Reaity LLC vs. Petland Discounts, inc.

Case Number: 57174)‘19

Natore of Case: Notice of Petition Non-Payment Business

Court or Agency’s Name Civil Court of the City of New York, County of Kings
Creditor’s Address: 141 Livingston St, Brooklyn, New York 11201

Status of Case: Pending

Case Titte: De|co Deveiopment Company of Port Washington, LP vs. Petland Discounts, lnc.

Case Number: LT-001089-19

Nature of Case: Notice of Petition (Non-Payment)

Court or Agency’s Name District Court of the State of New ¥ork, County of Nassau: Landfordi'fenant Part
Creditor’s Address: 99 N|ain St, Hempstead, New York 11550

Status of Case: Pending

Case Titte: EBCO Deve|opment vs. Petland Discounts, inc.

Case Number: 1656-19

Nature of Case: Summons - Nonpayrnent

Court or Agency's Name Superior Court of New Jersey Law Division, Specia| Civil Pait, Passaic County
Creditor’s Address: 77 Han'liiton St, Paterson, New Jersey 07505

Status of Case: Pencling

Case Titie: Edwin Diaz vs. Petland Discounts

Case Number: 1;18~CV»07906

Nature of Case: C|ass Action

Couxt or Agency’s Name United States District Court, Southern District of New York
Creditor’s Address: 500 Peari Street, New York, New York 10007

Status of Case: Pending

Case Titie: Eimont Associates vs. Petland Discounts, im:.

Case Number: 001091-19

Nature of Case: Notice of Petition (Non-Payment)

Court or Agericy’s Name District Court of the State of New Vork, County of Nassau: Landiordi'i‘enant Part
Creditor’s Address: 99 Main St, Hempstead, New \'ork 11550

Status of Case: Pending

Case Titie: First Rea[ Estate investment Trust of NJ vs. Petland Discounts, inc T/A Pettand

Case Number: 1539-19

Nature of Case: Civii Action Summons - Landiordi'i'enant

Court or Agency’s Name Superior Court of New Jersey Laliv Division, Speciai Civif Part, Bergen County

Case'8-19-72292-`reg 'Doc 1 ` Filed 03/28/19 E'ntered`03/28/19 17:38:44"

Attachment (10/14)
Debtor: Petland Discounts, inc. Case No:

Creditor’s Address: 10 iii'iain St, Haokensack, New Jersey 07601
Status of Case: Pending

Case Titie: imperial Steriing LTD vs. Petland Discounts, Enc. and "XYZ Corp."

Case Number: 054468!19

Nature of Case: Notice of Petition Noi‘l- -Payment Business

Court or Agency’ s Name Civil Court of the City of New York, County of Queens: Con'imercial Part 52
Creditor’ s Address: 89-17 Sutphin Bivd, Jamaica, New York11435

Status of Case: Pending

Case Tit|e: J&S Te|ferman NJ LLC vs. Petland Discounts, lnc.

Case Number: L-800-19

Nature of Case: Civil Action Summons

Court or Agenoy’$ Name Superior Court of New Jersey, Hudson County
Creditor’s Address: P.O. Box 971, Trenton, New Jersey 08625

Status of Case: Penc|ing

Case Titte: KIK Associates vs. Petland Discou nts, lnc.

Case Number: 900400

Nature of Case: Notice of Petition Commerciai Non-Payment

Court or Agency’s Name Civil Court of the City of New ‘(ork, County of Bronx
Creditor’s Address: 851 Grand Concourse, Bronx, New York 10451

Status of Case: Pending

Case Titie: Lenrrioit Rea!ty Corporation vs. Petland Discounts, lnc.

Case Number: 19N055004

Nature of Case: Notice of Petition of Non-Payment

Court or Agency's Name Civil Court of the City of New York, County of New ‘{ork: Non-irfousing Part 52
Creditor’s Address: 111 Centre St, New York, New ¥ork 10013

Status of Case: Pending

Case Titie: Medford Equities LLC vs. Petland Discounts, lnc.

Case Number: LT~64519E5R

Nature of Case: Notice of Petition (Non-Payment)

Court or Agency’s Name Sixth (6th) District Court of the State of New York, County of Suffotk: Lanci|ordi'i`enant Part
Creditor’s Address: 150 West iliiain St, Patchogue, New ¥ork 11772

Status of Case: Pending

Case Titie: Middie Vii|age Associates, LLC, vs. Petland Discounts, inc., "XYZ Corporation", "John Doe" and "Jane Doe"
Case Number: 054951

Nature of Case: Notice of Petition Non~Payment Commercia|

Court or Agency’s Name Civil Court of the City of New ¥ork, County of Queens: Corrlmercial Part 52

Creditor’s Address: 89~17 Sutphin Btvd, Jarrlaica, New York 11435

Status of Case: Pending

Case Tit|e: New York Communications Center Assooiates, L.P., vs. Petland Discounts lnc.
Case Number: 55570/19

Nature of Case: Notice of Petition Non-Payment (Commercia|)

Court or Agency’s Name Civil Court of the City of New York, County of New York
Creditor’s Address: 111 Centre St, New York, New York 10013

Status of Case: Pendirig

 

Case 8-19-72292-reg ` DOC 1" Filed 03/28/19 Entered 03/28/19 17238:44

Attachment (11/14)
Debtor: Petland Discounts, inc. Case No:

Case Titte: Peninsuia Center LLC vs. Petland Discounts, lnc.

Case Number: L`i'-001287-19

Nature of Case: Notice of Petition Non-Payment

Court or Agency’s Name District Court of the County of Nassau First District, Hempstead Part
Creditor’s Address: 99 Nlain St, Hempstead, New York 11559

Status of Case: Pending

Case Titie: Pergarnent il!ia|i of Staten isiand, LLC vs. Petland Discounts, lnc. and "X¥Z Corp."

Case Number: 05059!19

Natl.tre of Case: Notice of Petition Non-Payment Business

Court or Agency’s Name Civil Court of the City of New York, County of Richrnond: Commerciai Part 52
Creditor’s Address: 927 Castieton Ave, Staten islanct, New York 10310

Status of Case: Pending

Case Titie: Peter Enterprises, LTD vs. Petland Discou nts, lnc.

Case Number: 664-19

Nature of Case: Notice of Petition Non-Payment

Court or Agency’s Name City of New Rocheiie, County of Westctiester, State of New York
Creditor’s Address: 475 Nori'.h Avenuel New Rochei|e, New ¥ork 10801

Status of Case: Pending

Case `t`it[e: Pitrock Rea|ty Corp., vs. Petland Discounts, lnc. and "ABC Corp."

Case Number: 056986]2019

Nature of Case: Commerciai Notice of Petition of Nonpayment

Court or Agency’s Name Civil Court ofthe City of New York, County of Kings: Non-Housing Part
Creditor’s Address: 141 Livingston St, Brooklyn, New York 11201

Statl.is of Case: pending

Case Titie: PP Orange, LLC vs. Petland Discounts inc

Case Number: 7451-19

Nature of Case: Civil Action Sl.tmmons - Landiordfi'enant

Court or Agency’s Name Superior Court of New Jersey Speciai Civil Part, Tenancy Division: Essex County
Creditor’s Address: 465 Dr. Niartin Luther King Bivd, Newark, New Jersey 07102

Status of Case: Pending

Case Tit|e: S & ZGraham Partners LLC vs. Petland Discounts lnc.

Case Number: 059128!2019

Nature of Case: Notice of Petition Comrrierciai Non-Payrrlent

Court or Agency’s Name Civil Court of the City of New ¥ork, County of Kings: Non Housing Part
Creditor’s Address: 141 Livingston St, Brookiyn, New York 11201

Status of Case: Pending

Case Tit[e: Samuei L.. Nusbaum inc., vs. A!i Pet Distributors inc and Petiand Discounts !nc and XYZ Corp
Case Number: 52638/19

Nature of Case: Notice of Petition Business Nonpayment

Court or Agency’s Name Civil Court of the City of New Vork, County of Queens: Housing Part

Creditor‘s Address: 89~17 Sutphin Bivd, Jamaica, New York 11435

Status of Case: Pending

Case Ti'tie: See Cove Equities, LLC vs. Petland Discounts, lnc.
Case Number: LT001090~19
Nature of Case: Notice of Petition (Non-Payment)

Case 8-19-7229`2-reg " DOC 1` Filed 03/28/19 "Entere`d 03/28/19 17:38:4'4

Attachmen`t (12/14)
Debtor: Petland Discounts, inc. Case No:

Court or Agency's Name District Court of the State of New York, County of Nassau: Landtord!`|'enant Part
Creditor’s Address: 99 Main St, Hempstead, New York 11550
Status of Case: Pending

Case Tit|e: Steven Goldmanrvs. Petland Discounts, inc.

Case Number: 059466]19

Nature of Case: Notice of Petition Non~Payment Comrnerciai

Court or Agency’s Name Civii Court of the City of New York, County ot Kings: Housing Part 52
Creditor’s Address: 141 Livingston St, Brookiyn, New York 11201

Status of Case: Pending

Case Titie: SueFioRen, LLP vs. Petland Discounts, lnc.

Case Number: 2168-19

Nature of Case: Civil Action Summons - Landiordiienant

Court or Agency’s Name Superior Court of New Jersey, County of Hudsorl
Creditor‘s Address: 595 Newark Ave, Jersey City, New Jersey 07306
Status of Case: Pending

Case Titie: Twensev Realty Co, lnc. dib/a Twensev Reaity Corp vs. Petland Discounts, inc. dib/a Petland
Case Number: 056091[19

Nature of Case: Notice of Petition Commerciai Non-Payment

Court or Agency’s Name Civil Court of the City of New York, County of New York: Non-Housing Part 52
Creditor‘s Address: 111 Centre St, New York, New York 10013

Status of Case: Pending

Case Title: The Fair interiors, lnc. vs. Petland Discounts, lnc. and "XYZ Corp."

Case Number: 54496/19

Natnre of Case: Notice of Petition Nonpayment-Commerciai

Court or Agency’s Name Civil Court of the City of New York, County of Queens: Cornrnercia| Part 52
Creditor’s Address: 89-17 Sutphin Bivd, Jamaica, New York 11435

Status of Case: Pending

Case Title: Wa|sam Sixth Avenue Company LLC vs. Ai|-Pet Distributors, lnc. and Fetiand Discounts, lnc.
Case Number: 053037!19

Nature of Case: Business Notice of Petition Non-Payment Business

Court or Agerioy’s Name Civii Court of the City of New York, County of New vork

Creditor’s Address: 111 Centre St, New York, New York10013

Status of Case: Pending

Attachment 10
danuary 25, 2019 and Nfarch 15, 2019

Attachment 11 Additional Previol.is Addresses:
Transferee Address: 304 East 86th Street, New York, New York 10028
Dates of Occupancy: From Niarch 1, 2016 to Niaroh 18, 2016
Transferee Address: 34-60 48th Street, Long isiand City, New York 11101
Dates of Occupancy: From March 1, 2016 to Wiarch 1, 2019
Transferee Address: 2046 Rockaway Parkway, Brookiyri, New York 11236
Dates of Ocoupanoy: From March 1, 2016 to August 3, 2018
Transferee Address: 72 Wii|oughby Street, Brooi<iynl New York 11201
Dates of Occupancy: From Niarch 1, 2016 to liiiarch 8, 2019
Transferee Address: Rt 440 & Kei|ogg Street, Jersey City, New Jersey 07305
Dates of Occupancy: From iiiiarch 1, 2016 to liiiarch 15, 2019

Case 8-f|_9-72292-reg7 DOC'Z'|_ Filed 03/28/19 " Entered 03/28/19 17238:44

Attachment (13/14)
Debtor: Petland Discounts, lnc. Case No:

Dates of Occupancy: From March 1, 2016 to March 15, 2019
`i`ransferee Address: 1206 Deer Park Avenue, North Babyion, New York 11703
Dates of Occupancy: From March 1, 2016 to January 6, 2017
Trar\sferee Address: 25 Westchester Sq, Bronx, New York 10461
Dates of Occupancy: From March 1, 2016 to March 7, 2019
'i'ransferee Address: 999 iiifontauk Highway, Shiriey, New ¥ork 11967
Dates of Occupancy: From March 1, 2016 to March 18, 2019
Transferee Address: 416 Brighton Beach, Brookiyrl, New York 11235
Dates of Occupancy: From March 1, 2016 to March 9, 2019
Transferee Address: 700 Broadway STE 36, Westwood, New Jersey 07675
Dates of Occupanoy: From March 1, 2016 to March 11, 2019
Transferee Address: 6600 18th Avenue, Brookiyn, New ¥ork 11204
Dates of Occupancy: From March 1, 2016 to February 15, 2019
Transferee Address: 3466B Jerorne Ave, Bromc, New ‘{ork 10467
Dates of O¢:oupency: From March 1, 2016 to February 22, 2019
Transferee Address: 1495A Forest Ave, Staten island, New York 10302
Dates of Occupancy: From March 1, 2016 to March 9, 2018
Trar\sferee Address: 30~11 Stratton Street, Fiushing, New York 11354
Dates of Occuparicy: From March 1, 2016 to August 9, 2018
Transferee Address: 499-41 West Sunrise Highway, Patchogue, New York 11772
Dates of Oocupancy: From March 1, 2016 to September1, 2017
Trarisferee Address: 1099 Oid Country Road, Riverhead, New York 11901
Dates of Occupancy: From March 1, 2016 to Aprii 29, 2016
Transferee Address: 8101 Tonneiie Ave, North Bergen, New Jersey 07047
Dates of Occupancy: From March 1, 2016 to May 20, 2016
Transferee Address: 5704 Avenue Li, Brookiyn, New York11234
Dates of Occupancy: From March 1, 2016 to January 18, 2019
Transteree Address: 312 West 23rd Street, New Vork, New York10011
Dates of Occupancy: From March 1, 2016 to March 16, 2019
Transferee Address: 477 Great Neck Road, Great Neck, New York 11021
Dates of Occupancy: From March 1, 2016 to Ju|y 28, 2017
Transferee Address: 6410 Amboy Road, Staten isiand, New York 10309
Dates of Occupancy: From March 1, 2016 to October 21, 2016
Transferee Address: 10-18 Broadway, Thornwood, New York 10594
Dates of Occupancy: From March 1 , 2016 to May 20, 2016
Transferee Address: 337 Downing Drive, Yorktown Heights, New York 10598
Dates ot Occupanoy: From March 1 , 2016 to August 31, 2018
Trarlsferee Address: 533 Broaciway, Bayonne, New Jersey 07002
Dates of Occupancy: From March 1, 2016 to March 11, 2019
Attachment 12
29 Shoreham Drive W., Dix Hii|s, New York 11746
Attachment 13
67 Buttonwood Drive, Dix Hi|is, New ¥ork 11746
Attachment14
cio Joan Padron, 8 Burnham Lane, Dix Hiiis, New york 11746
Attachrnerit 15
President, Director - 1005 shareholder
Attachment 16
inception
Attachrnent 17
January 14, 2019
Attachment 18

 

 

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Attachment (14/14)
Debtor: Petland Discounts, inc. Case No:

3!30!18-3!27!19
Attachment 19
3130/18»3!27!19
Attaohment 20 Additional Payments, Distributions, or Withdrawais to inside-rsc
Recipient Name: Amy Eisenberg
Address: 29 Shoreham Drive W., Dix Hiiis, New \'ork 11746
Amount of Money or Description and Vaiue of Property: $108,000.00
Dates: 3130/18-3/27/19
Reason: Sa|ary

 

"Case 8-19-72292-reg Doc 1 Filed 03/28/19 Entered 03/28/19 17:3'8:44

B2030 (Form 2030) (12/15)

Unitcd States Banl<ruptcy Court

EASTERN DlSTRlCT OF NEW YORK

I“ re Petland Discounts, inc.
Case No.
Debtor Chaptcr 7
DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
l. Pursuarit to ii U .S.C. § 329(a) and ch. Bankr. P. 2016(b), I certify that l am the attorney for the above
named dcbtor(s) and that compensation paid to me within one year before the filing ofthc petition in

bankruptcy, or agreed to bc paid to me, for services rendered or to be rendered on behalf of the dcbtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:

For legal scrvices, I have agreed to accept .............................. $50,335.00
Prior to the filing of this statementl have received . ....................... $50,335.00
Balancc Duc ...................................................... $0,00

2. Thc source cf the compensation paid to mc was:

Debtol' l:l Other (specify)
3. Thc source of compensation to be paid to me is:
iii Debtor l:l Other (speclfy)
4. l have not agreed to share the abovc»disclosed compensation with any other person unless they are

members and associates of my law firm.

l:i I have agreed to share the above-disclosed compensation with a other person or persons who arc not
members or associates of my law firm. A copy of the agreement, together with a list ofthe names ofthe
people sharing in the compensation, is attached

5. lin return for the above-disclosed fee, l have agreed to render legal service for all aspects ofthe bankruptcy
case, including:

a. Anaiysis of thc debtor' s financial situation, and rendering advice to the debtor in determining whether to
file a petition in bankruptcy;

b. Prcparation and filing of any pctition, schodules, statements of affairs and plan which may be required;

c. Reprcscntation of the debtor at the meeting of creditors and confirmation hcaring, and any adjourned
hearings thereof;

" Case 8-19-72292`-reg DOC 1 Filed`03/28/19 Entered 03/28/19 17':38:44 "

32030 mann 2030) (12/15)

d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement with the debtor(s), the above~disclosed fee does not include the following services:

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to
me for representation of the debtor(s) in this bankruptcy proceeding

 

March 28, 2019 isobe rt Koloclney
Date ngnature of/i tierney

Kane Kess|er, P.C.
Name of law firm

 

 

 

Case 8-19`-72292-reg 'Doc 1 Filed 03/28/19 Entered 03/28/19 17:38:44"

Fill in this information te identity the case and this ii'ling:

center Name F’etiand Discounts inc
United States B.ankrupu:y Court for the_' MHM_____

Case number (if known

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors rees

 

An individual who is authorized to acton behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date, Bankruptcy Ru|es 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 ,
1519, and 3571.

- Dec!aration and signature

l am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another §ndiv§duai serving as a representative of the debtor in this caae.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

w Schedule A/B.' Assets~Heal and Personai Property (Officiai Form 206A/B)

E

Schedule D: Creditors Who Have Ciar'ms Secured by Property (O§iicia| Form 2069)

53

Schedule E/F: Creditors Who Have Unsecured Clai'ms (Officia| Form ZOGEIF)

Schedule G: Executory Coniracfs and Unexpr'red Leases (Ofliciai Form QOBG)

§§

Schedule H.' Codebtors (Oificia| Form EOGH)
A Summary of Assers and Liablh'ties for Non-lndivr'duals (Otficia| Form 206-Sumrnary)

Am ended Schedule

Chaprer 11 or Chapier 9 Cases: List of Creditors Who Have the 20 Largesi‘ Unsecured Giar'ms and Are Not insiders (Oft'ic§al Form 204)

lillng

Other document that requires a declaration

 

f deciare under penalty of perjury that the foregoing is true and correct

 

Executed on §3;1'28/2019 x§iRose Consiglio
|\it|vi f DD f Y\'YV Signaiure of individual signing on behalf ot debtor

Rose Consinlio
Prinled name

Executice Vice President
Position or relationship lo debtor

Official Form 5202 Dec|aration Under Penalty of Perjury for Non-!ndividual Debtors

Case 8-19-72292-reg "Doc 1 Fi|e`d 03/28/19 Entered 03/28/19 17:38:44l

UNITED STATES BANKRUPTCY COURT
Eastern District of New York

in re:

Case No. BKY
Petland Discounts, Inc.,
Debtor(s) Chapter 7 Case

STATEMENT REGARDING AUTHORITY T(} SIGN AND FILE PETlTION

I, Rose Consiglio, declare under penalty of perjury that I am the Executice Vice President
of Petland Discounts, lnc., a corporation and that on the following resolution Was duly adopted
by the of this corporation:

\Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

Be It Therefore Resolved, that Rose Consiglio, Executice Vice President of this
corporation, is authorized and directed to execute and deliver all documents necessary to perfect
the filing of a chapter 7 voluntary bankruptcy case on behalf of the corporation; and

Be lt Further Resolved, that Rose Consiglio, Executice Vice President of this corporation,
is authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation,
and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case; and

Be lt Further Resolved, that Rose Consiglio, Executice Vice President of this corporation,
is authorized and directed to employ Robert Kolodney, attorney and the law firm of Kane Kessier,
P.C. to represent the corporation in such bankruptcy case.\

 

Executed on: March 28, 2019 Signed: s/Rose Consiglio

 

 

Rose Consiglio 219 Newark Street,
Lindenhurst, NY 11757 (Name and Address of
Subscrr'ber)

 

 

 

Case 8-1'9-72292-reg¢" Doc 1 Filed 03/28/19 vEntered 03/28/19 17:38:4'4

126-01 Hillside Ave Associates
35-11 35th Ave
Long leland City,NY 11106

137-9 West 72nd LLC
135 West 72nd Street
New York,NY 10023

1-800 NY Bulbs
47 Halstead Ave
Harrison,NY 10528

255 Mall LLC.
PO Box 303
Emerson,NJ 07630

2960 Third Ave Mgmt LLC
1430 Broadway
New York,NY 10018

3500 48th St. Owner LLC
295 Madison Ave
rNew York,NY 10017

365 Knickerbocker
258”01 Hillside Avenue
Floral Park,NY 1100€

416 BBA LLC
1560 Broadway
New York,NY 10036

Case 8-`19-72292-regj7 Doc 1 Filed 03/28/19" Entered 03/28/19 17:38:`44

49 Pershing Drive LLC
PO Box 416241
Boston,MA 02241

7102 Kissena Blvd A LLC
1 N. Broadway
White PlainS,NY 10601

778 Broad LLC
PO BOX 8685
Elizabeth,NJ 07208

A. Recknagel lnc.
28-27 Steinway Street
Long ISland City,NY 11103

AAC Management Corp
150 E. 58th Street
New York,NY 10155

Alexander Hidalgo Inc.
135 West 72nd Street
New York,NY 10023

All Glass Aquarium Co. Inc.
14278 Collections Cntr Dr
Chicago,IL 60693

Ansell Grimm & Aaron PC
365 Rifle Camp Road
Woodland Park,NJ 07424

Arch InSurance Group
2345 Grand Blvd.
Kansas City,MO 64108

Case 8'-19-72292-re'g Doc 1 Filed 03/28/19'l Entered 03/28/19 17:38':'44

Arnold Plains Corp
l Linden Place
Great Neck,NY 11021

B-Zl LLC
118-35 Queens Boulevard
Forest HillS,NY 11375

Bawabeh Brothers LLC
539 Eastern Pkwy
Brooklyn,NY 11216

BDG Gotham Plaza LLC
PO Box 2004
Hicksville,NY 11802

Belkin Burden Wenig & Goldman, LLP
270 Madison Avenue
New York,NY 10016

Berahka Management
PO Box 230805
Brooklyn,NY 11223

Berakha Manaqement
PO Box 230805
Brooklyn,NY 11223

Bergman & Schneider
680 Wildwood Road
West Hempstead,NY 11552

Berkowitz, Steven & Brenda
502 Avenue J
Brooklyn,NY 11230

Case 8-19-72292-reg Doc 1 Filed 0'3/28/19 Entered 03/28/19 17:38`:44

Best Pet Supplies Inc
104-20 Dunkirk Street
Jamaica,NY 11412

Blue Ribbon Pet Products
1545 B Oceen Ave
Bohemia,NY 11716

Borah, Goldstein, Wughalter, Corredine &
800 Grand Concourse
Bronx,NY 10451

BPP St Owner LLC
PO Box 371448
Pittsburgh,PA 15250

Broadview Networks
P.O. Box 70268
Philadelphia,PA 19176

C S Realty
291 Broadway
New York,NY 10007

Carolina Prime
P.O. Box 733909
DallaS,TX 75373

CCC Of NY
PO Box 288
Tonawanda,NY 14150

Center Continental
71-25 Austin Street
Forest Hills,NY 11375

Case'8-19-72292-r'eg Docl l|:i|ecl‘03/28/19

Central Harlem Plaza
PO Box 944164
Cleveland,OH 44194

Chelsee London Co LLC
PO Box 62020
Newark,NJ 07101

Churoh & Dwight
P.O. Box 95055
Chicago,IL 60694

City of Newark
P.O. Box 70501
Newark,NJ 07101

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Clocktower Plaza Shop Cntr

PO Box 844235
Boston,MA 02284

Clocktower Plaza Shop Ctr

PO Box 844235
Boston,MA 02284

Clorox Sales Company
P.O. Box 951015
DallaS,TX 75395

Coastal Pet Products
P.O. Box 901304
Cleveland,OH 44190

Columbia Park Retail LLC

PO Box 75922
Baltimore,MD 21275

Case 8-19¥722921teg DOC 1 ' Filed 03/28]19 Entered 03/28/19 17538:44

Connecticut Department cf Labor
Unemployment Insurance Disvision
200 Folly Brook Blvd.
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CrOSS Bronx Plaza LLC
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New York,NY 10155

Cross Bronx Plaza LLC
150 E 58th St
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708 Third Avenue
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D&W Cental Station Alarm Co.
147 W. 25th Street
New York,NY 10001

D&W Central Station Alarm Co.
4818 Van Dem Street
Long leland City,NY 11101

Case 8-19-72292`-reg Doc 1` Filed 03/28/19 Entered 03/28/19 17'§38:44

D&W Central Station Alarm Co.
147 W. 25th Street
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D&W Central Station Alarm Co.
50 W..17th Street
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DCM Realty LLC
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Decatur Associates LLC
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Delco Development
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DelcO-Levco Venture
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Case 8-19-72292-reg Doc 1 Filed 03/28/19 Entered 03/28/19 1`7:38:44

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Ethical-Spot Brand
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Bloomfield,NJ 07003

Fair Interiors
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Glendale,NY 11385

Fauna Food Corporation
50-10 Kneeland Street
Elmhurst,NY 11373

Ferrante & Associates
212“05 41 Avenue
Bayside,NY 11361

First Data
5565 Glenridge Connector NE
Atlanta,GA 30342

Case 8-19-7229'2-reg Doc`1 Filed 03/28/19 Entered 03/28/19 17:38:44

Four Paws Products, Ltd.
62552 Collections Ctr Dr
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Francmen 1127 LLC
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Teaneck,NJ 07666

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Garden Tropical Fish
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Case 8-19-72292-reg DOC 1 Filed 03/28/19 Entered 03/28/1917:38:44

Greenies
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Hill's Pet Nutrition Inc
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Hoffman Management
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New York,NY 10019

Case 8-19-72292-reg DOC 1 'Filed 03/28/19 Entered 03/28/19`17:38:44

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_Brooklyn,NY 11234

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Imperial Sterling Ltd
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` Case 8-19-72292-reg Doc 1 Filed 03/28/19 Entered"03/28/19 17:38:44

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Case 8-19-`72292-reg Doc 1" Filed'03/28/19 Entered 03/28/19 17:38:44 `

Kaytee Products
7215 Collection Drive
Chicaqo,IL 60693

Kent Pet Group
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Chiceqo,IL 60673

Kiop Mill Basin LP
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Kong Company
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Golden,CO 80403

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Case 8-19`-72292-reg lDOC 1 Filed`03/28/19 Entered 03/28/19 17:38:447

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New York,NY 10463

MAJ
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Old Bethpaqe,NY 11804

Mattone Group Springnex
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College Point,NY 11356

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Pt Jefferson,NY 11777

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Case 8-19-72292-reg ` Doc '1 Filed 03/28/19 Entered 03/2`8/19 17:38:44

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Nature's Variety
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St. LouiS,MO 63146

NEPCO
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Warrensburg,NY 12885

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Unemployment Insurance Division
1 John Fitch Plaza

Trenton,NJ 08611

New Jersey UEZ Tax
P.O. Box 270
Trenton,NJ 08646-0270

New York State Department of Labor
Unemployment Insurance Division
P.O. Box 15130

Albany,NY 12212-5130

Case 8-19-72292-reg ` Doc'1 Filed 03/28/19 ` Entered 03/28/19 17:38:4`4

New York State Sales Tax
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Corona,CA 92880

Nostrand Property Owner
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Novick, Edelstein, Lubell, Reisman, Wass
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Yonkers,NY 10704

NY Communication Ctr LP
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New York,NY 10019

NYC Dept. Of Finance
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Brooklyn,NY 11202

Oster Yorktown Properties
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Enqlewood CliffS,NJ 07632

Our Pets
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Fairport Harbor,OH 44077

Case 8-1`9-72292-regl Doc 1 Filed 03/28/19 ` Entered 03/28/19 17:38:44

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Paramount Property Mgmt.
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255 Executive Drive
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Pawz Doq Boote LLC
209 llth Street
Brooklyn,NY 11215

Peninsula Center LLC
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Woodmere,NY 11598

Penn Plax lnc.
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Pergament Mall of Staten leland
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Woodbury,NY 11797

Case 8¥19-72292-reg DO'C 1 Fi|€d 013/28/19l Entered 03'/28/19 17238:44

Pergament Mall Of Staten leland
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Woodbury,NY 11797

Pet Ag lnc.
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Pet Factory
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Pet Qwerks
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Peter Enterprises LTD
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Pet'N Shape/Pet Ventures
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North Hollywood,CA 91605

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Chicago,lL 60693

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'Case 8-'19-72292-re`g Doc 1 Filed 03/28/19 Entered 03/28/19 17:38:44

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Brooklyn,NY 11230

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' Case 8-19-72292-reg DOC 1 'Filed 03/28/19 Entered 03/28/19 17:38:44

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Salem Truck Leaeing lnc
9505 Avenue D ~ PO Box 369022
Brooklyn,NY 11236

Salem Truck Leasing lnc
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Case'8-19-72292-`reg 'Doc 1 "Filed 03/28/`19 Entered`03/28/19 17:38:44"

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Smokehouse Dog Treats
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Case 8-19-72292-reg ‘ Doc 1` Filed 03/28/19

Southbury Green
PO Box 844235
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Soutnport 2013 LLC
234 Closter Dock Road
Closter,NJ 07624

Entered 03/28/19 17238:44

Southwest Airlines Cargo

P.O. Box 97390
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Spectrum Brands

32854 Collection Ctr Drv

Chicego,IL 60693

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Steve Goldman
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Suefloren LLP
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Sun Seed lnc., Vitakraft

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CaSe 8-19-72292-|’€9" DOC 1 Filed 03/28/19 ' Entered 03/28/19 1'7:38:44

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P.O. Box 847828
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Tomlyn Products
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Traneship Discounts
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Tysen Foods lnc
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Van Nese Plastic Mold Co.
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Verizon
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Case 8-19-72292-|’€§]7 DOC'1 Filed 03/28/19 " Enteréd 03/28/19 17238:44

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YRC Freight
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Zingman & Associates PLLC
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Zita Properties LLC
7500 Fourth Avenue
Brooklyn,NY 11209

Case 8-19-72292-reg DOC"l Filed 03/28/19" Entered 03/28/19'172382`44

200 Med Laboratories lnc:
3650 Sacramento Roacl
San Luis ObiSpO,CA 93401

Case 8-19-72292-r€g DOC 1 Filed 03/28/19 Entered 03/28/19 17238:44

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:
Petland Discounts, lnc. Case NG.

Chapter'/

Debter(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

The undersigned debtor(s) or attorney for the debtor(s) hereby verit`les that
the creditor matrix/ list of creditors submitted herein is true and correct to the best of his or her
knowledge

Datedi March 28, 2019

isose Consigiio

Debtor

 

 

Joint Debtor

isobert Ko|odney
Attorney for Debtor

 

USBC~44 Rev. 311 7105

 

"CaSe 8-19-72292-'|‘€9 DOC 1 Filed 03/28/19 Entered 03/28/19 17238:44

UNITED STATES BANKRUPTCY COURT
EASTERN oisrRicT oF NEW YoRK

 

in Re: Case i\lo.

Petland Discounts, lnc.

Debtor(s)

 

DECLARAT[ON RE: ELECTRONIC FILlNG OF
PET|T[ON, SCHEDULES & STATEMENTS

PART l - DECLARAT|ON OF PETlTlONER

l (WE) Petland Discounts, lnc. , the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that l signed these
documents prior to electronic ti|ing. l consent to my attorney sending my petition, statements and schedules to the United States
Bankreptcy Court l understand that this DECLARAT|ON RE: EE_ECTRONlC Fil_|NG is to be executed at the First lilieeting of Creditors
and filed with the Trustee. l understand that failure to file the signed and dated original of this DECLARAT|ON may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. i (we) further declare under penalty of perjury that l (we) signed the
original Statement of Social Security Number (s), (Olncial Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of lilleeting of Creditors to be accurate

El if petitioner is'an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: l am
aware that l may proceed under chapter 7, 11, 12 or 13 of Title 11, i.lnited States Code. understand the relief available under each
chapter, and choose to proceed under this chapter. l request relief in accordance with tile chapter speci&ed in this petition l (WE)
and, the undersigned debtor(s),7 hereby declare under penalty of perjury that the information provided in the electronically died
petition, statements and schedules is true and correct

iii lt petitioner is a corporation or partnership: l declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correctl and that | have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition

l:i if petitioner files an application to pay filing fees in installments: i certify that l completed an application to pay the filing fee

in installments l am aware that it the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, ii dismissed | may not receive a discharge of my debts

Dated; March 28, 2019

S`lgned: §[Bg§e Consigfio
(Applicant) (Jolnt Applicant)

 

PART ll - DECLARAT|ON OF ATTORNEY

l declare under penalty of perjury that the debtor(s) signed the petition, schedules statements, etc., including the
Statement ct Social Security Number(s) (OtHcial Form 821) before i electronically transmitted the petition, schedulesl and statements to
the United States Banl<ruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Socia| Security number into the Court’s electronic records if an individuall i
further declare that l have informed the petitioner (if an individual) that the or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Tit|e 11, United States Code, and have explained the relieic available under each chapter. This declaration is based on the information
of which | have knowledge `

Dated: ng_rch 2§l 2019 Attorney for Debtor(s) isobert Ko|odnev
Address of Attorney 666 't'hird Avenue
New York, New York 10017-4041

Rev. 12/1."15

 

